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MAY 23 2003

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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

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IN RE: INITIAL PUBLIC OFFERING MDL DOCKET NO.
SECURITIES LITIGATION :

Xx

MOTION BY THE INITIAL PUBLIC OFFERING SECURITIES LITIGATION
LEAD PLAINTIFFS TO TRANSFER FOR COORDINATED OR
CONSOLIDATED PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407 >

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coordinated actions comprising the Jnitial Public Offering Securities Litigation EMC 92588 o5
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(S.D.N.Y.) (the "IPO Securities Litigation"). Movants respectfully move the Panel for an Grder,
pursuant to 28 U.S.C. § 1407, transferring an action pending in the United States District Court
for the Southern District of Florida (the "Florida Action") to the Southern District of New York,
and specifically to the Honorable Shira A. Scheindlin, United States District Judge for the
Southern District of New York, for coordinated or consolidated pretrial proceedings with the 309
related actions pending there which involve questions of fact and law common to the Florida
Action. In support of such transfer, and as set forth in greater detail in the accompanying

Memorandum of Law, Movants state as follows:

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1. During the late 1990s into 2000, several hundred high technology and Internet-
related companies raised capital by selling ownership of their companies to the public through
initial public offerings and secondary offerings (collectively, “IPOs”). The IPOs were structured
and implemented, in large part, in New York City where the investment banks, underwriters of
the IPOs, maintain offices. Beginning in January 2001, well over 1100 complaints that allege
federal securities law violations arising from improper conduct in connection with the IPOs of
certain of those issuers (the "IPO Actions") were filed in, or transferred to, the United States
District Court for the Southern District of New York against three types of defendants: (1) the
underwriters of the IPO; (2) “issuers” or the companies that issued the stock in the IPOs, and (3)
the company's directors and officers (or, the "individual defendants"). In those IPO Actions,
plaintiffs have sued, in total: fifty-five underwriters - including Credit Suisse First Boston Corp.
("CSFB"), who is the primary defendant in the Florida Action; 309 issuers - including
Commerce One, the issuer of the shares purchased by Plaintiff Liu (as well as Robert W.
Tenney, who has filed a motion to be lead plaintiff); and hundreds of individual defendants.

2. To efficiently and effectively manage these more than 1100 IPO Actions, the
Souther District of New York, Assignment Committee, directed the transfer of all IPO Actions
to Judge Scheindlin for "coordination and decision of pretrial motions, discovery and related
matters other than trial." Subsequently, Judge Scheindlin further consolidated the IPO Actions
by issuer, resulting in 309 consolidated cases coordinated for pretrial litigation in the above-
captioned IPO Securities Litigation.

3. Several substantive proceedings have taken place, including the filing, briefing of
and oral argument on motions to dismiss, which Judge Scheindlin, in a 238-page Decision and

Order dated February 19, 2003, [Jn re Initial Public Offering Securities Litigation, 241 F. Supp.

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2d 281, (S.D.N.Y. 2003)], denied the underwriter defendants’ motion to dismiss in almost every
regard, and left them defendants in all 309 actions. D iscovery is well underway and tens of
thousands of pages of internal underwriter documents have already been reviewed and as many
as tens of millions of pages of further documents from underwriter defendants are expected to be
produced in the coming months.

4, On February 28, 2003, the Florida Action was filed in the Southern District of
Florida, asserting claims against IPO Securities Litigation defendant CSFB, certain of its related
entities, 50 issuers (37 of which are IPO Securities Litigation defendants) and several of their
individual defendants (68 of which are IPO Securities Litigation defendants). In each of the 37
cases where the same issuer is named, the alleged class period overlaps substantially and the case
alleges misrepresentations in the identical IPO re gistration statements.

5. This motion seeks the transfer of the Florida Action to the Southern District of
New York. In accordance with J.P.M.L. Rule 7.2(a)(ii), a schedule listing the Florida Action for
which transfer is sought, as well as the 309 consolidated cases comprising the IPO Securities
Litigation is annexed hereto as Exhibit A.

6. Because the IPO Securities Litigation and the Florida Action are based upon
certain similar factual issues, coordinated or consolidated pretrial proceedings in one judicial
district are necessary. Absent transfer, the parties and courts will face the burden and expense
of:

(a) needless duplicative discovery and discovery disputes;
(b) inconsistent pretrial rulings on substantive matters, including motions for
summary judgment; and

(c) requiring defendants to litigate the same issues in two different judicial

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districts on different schedules.

7. Transfer of the Florida Action to the Southern District of New York will best
serve the convenience of the parties and witnesses and promote the just and efficient conduct of
the actions. New York is the most appropriate venue because, among other things:

(a) Many other IPO-related actions as well as the governmental and
regulatory investigations are currently proceeding in the Southern District of New York. These
proceedings include those brought by: (1) the Securities and Exchange Commission; (2) New
York State Attorney General Eliot Spitzer; (3) the Office of the United States Attorney (for the
Southern District of New York); (4) the Office of the District Attorney, New York County; and
(5) the NASD and New York Stock Exchange;

(b) CSFB is the principal corporate defendant whose U.S. corporate
headquarters are located at 11 Madison Avenue in New York City;

(c) Many of the defendant investment banks which underwrote the securities
offerings at issue are headquartered, or maintain offices, in New York and have been providing
discovery, including document production and proffering witnesses for depositions; and

(d) Each of the law firms on the IPO Plaintiffs’ Executive Committee is either
located in New York City or is within close proximity to New York City. In addition, many of
the law firms representing defendants in the IPO Securities Litigation, including counsel to
CSFB (Wilmer Cutler & Pickering), are located in New York City.

WHEREFORE, Movants respectfully request an Order:

(i) Transferring the Florida Action to the Southern District of New York for
coordinated or consolidated pretrial proceedings with the IPO Securities Litigation; and

(ii) For such other and further relief as the Panel may deem just and proper.

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Dated: May , 2003

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JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION

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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

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IN RE: INITIAL PUBLIC OFFERING MDL DOCKET NO.
SECURITIES LITIGATION :

X

MEMORANDUM OF LAW IN SUPPORT OF THE MOTION BY THE
INITIAL PUBLIC OFFERING SECURITIES LITIGATION LEAD

PLAINTIFFS TO TRANSFER FOR COORDINATED OR CONSOLIDATED. ___ -.

PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407 = im

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coordinated actions comprising the Initial Public Offering Securities Litigation, 2 21: "MIC BAS a

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(S.D.N.Y.) (the "IPO Securities Litigation").' Movants respectfully submit this Tigmorajum at
law in support of their motion pursuant to 28 U.S.C. § 1407 to transfer an action vending in the
Southern District of Florida (the "Florida Action")’ to the Southern District of New York, and

specifically to the Honorable Shira A. Scheindlin, United States District Judge for the Southern

' A schedule of the IPO Securities Litigation lead plaintiffs is annexed hereto as Exhibit A.

2 The Florida Action is styled Liu v. Credit Suisse First Boston Corp., et al., No. 03-20459 (S.D. Fla.)
(Martinez, J.). A copy of the Liu Complaint is annexed hereto as Exhibit B

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District of New York, for coordinated or consolidated pretrial proceedings with the 309 related
actions’ pending there where each involve questions of fact and law common if not identical to
the Florida Action.

PRELIMINARY STATEMENT

During the late 1990s into 2000, several hundred high technology and Internet-related
companies raised capital by selling ownership of their companies to the public through initial
public offerings and secondary offerings (collectively, “TPOs”). The IPOs were structured and
implemented, in large part, in New York City where the investment banks, underwriters of the
IPOs, maintain offices. Beginning in January 2001, well over 1100 complaints that allege
federal securities law violations arising from improper conduct in connection with the IPOs of
certain of those issuers (the "IPO Actions") were filed in, or transferred to, the United States
District Court for the Southern District of New York.

The IPO Actions assert claims against three sets of defendants: (1) underwriters of the
IPO(s); (2) “issuers” or the companies that issued stock in the IPO(s); and (3) “individual
defendants”, or directors and officers of the issuers. In the IPO Actions, hundreds of plaintiffs
asserted claims against more than fifty underwriters, including Credit Suisse First Boston Corp.
("CSFB"), the primary defendant in the Florida Action; more than three hundred issuers; and
hundreds of individual defendants.

To efficiently and effectively manage these more than 1100 IPO Actions, the Southern
District of New York Assignment Committee, directed the transfer of all IPO Actions to Judge

Scheindlin for "coordination and decision of pretrial motions, discovery and related matters other

3 A Schedule of all Actions, including the 309 IPO Securities Litigation actions as well as the Florida
Action, is annexed to the Motion by the Initial Public Offering Securities Litigation Lead Plaintiffs to
Transfer For Coordinated as Consolidated Pretrial Proceedings Pursuant to 28 U.S.C. § 1407.

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than trial." See August 9, 2001 Order, In re Initial Public Offering Sec. Litig., 21 MC 924
Subsequently, Judge Scheindlin further consolidated the IPO Actions by issuer, resulting in 309
consolidated cases coordinated for pretrial litigation in the above-captioned IPO Securities
Litigation.”

The IPO Securities Litigation has been actively litigated. Several substantive
proceedings have taken place, including the filing, briefing of and oral argument on motions to
dismiss, which Judge Scheindlin, in a 238-page Decision and Order dated February 19, 2003, [Jn
re Initial Public Offering Securities Litigation, 241 F. Supp. 2d 281, (S.D.N.Y. 2003)], denied
the underwriter defendants’ motion to dismiss in almost every regard, and left them defendants in
all 309 actions. Judge Scheindlin's rulings garnered considerable media attention, including
reports in The New York Times and The Wall Street Journal. The Decision and Order has also
been published on several internet websites, including LEXIS [2003 U.S. Dist. LEXIS 2373].

Discovery proceedings are presently active. To date, tens of thousands of pages of
internal underwriter documents have already been reviewed and as many as tens of millions of
pages of further documents from underwriter defendants are expected to be produced in the
coming months. In addition, plaintiffs have noticed depositions for May 2003, with the first

depositions - of defendant CSFB - to take place in New York City.

4 The August 9 Order is annexed hereto as Exhibit C.

> In addition, several federal and state antitrust actions or claims arising out of the same circumstances
were filed. The Assignment Committee of the Southern District of New York transferred all IPO antitrust
claims to the Honorable William H. Pauley II, by transferring actions or severing antitrust claims brought
together with the securities cases. These were consolidated by Judge Pauley as the Jn re Initial Public
Offering Antitrust Litigation, 01 CV 2014 (WHP) (the "IPO Antitrust Litigation"). The IPO Antitrust
Litigation names underwriters as defendants, including CSFB. The wrongful conduct alleged covers all
companies taken public from 1998 through 2000, including each named in the Florida Action. A copy of
the IPO Antitrust Litigation Consolidated Amended Class Action Complaint is annexed hereto as

Exhibit D.

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On February 28, 2003, nine days after the issuance of Judge Scheindlin's February 19,
2003, Decision and Order sustaining the Amended Complaints, the Florida Action filed was on
behalf of plaintiff Amy Liu, arising out of facts and circumstances similar, if not identical, to
those of the IPO Securities Litigation. Named as defendants in the Florida Action are CSFB,
certain of CSFB’s related entities, fifty issuers (thirty-seven of the fifty issuer defendants in the
Florida Action are issuer defendants in the IPO Securities Litigation)® and several of their
officers and directors (of the thirty-seven issuer defendants which are also IPO Securities
Litigation defendants, sixty-eight of seventy-four of the respective individual defendants named
in the Florida Action are also IPO Securities Litigation defendants).’

I. THE FLORIDA ACTION SHOULD BE TRANSFERRED TO THE UNITED
STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW YORK

Thus, as more fully set forth below, transfer of the Florida Action to the United States
District Court for the Southern District of New York is warranted for at least four reasons:
A. The IPO Securities Litigation and the Florida Action involve

common questions of fact and law and arise out of many of
the same transactions and occurrences

The IPO Securities Litigation and the Florida Action unquestionably involve common
questions of fact and law and arise out of many of the same transactions and occurrences.
Indeed, in the Florida Action, thirty-seven of the fifty issuer defendants, and their respective
IPOs and the aftermarket trading of those issuer defendants’ securities, are covered by

allegations in the IPO Securities Litigation. In each of the 37 cases where the same issuer is

© Of the issuers who are not IPO Securities Litigation defendants, 10 of their offerings are covered by the
IPO Antitrust Litigation.

7 The IPO Antitrust Litigation, deals with securities and class members who are covered by those actions,
and asserts claims for the losses under similar, if not identical, theories of liability.

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named, the alleged class period overlaps substantially and the case alleges misrepresentations in
the identical IPO registration statements. Generally, plaintiffs in the IPO Securities Litigation
and the Florida Action each allege that underwriter defendants and issuer defendants misused the
respective underwriters’ research analysts to inflate and manipulate the price of the issuer's
securities in the aftermarket. The complaints sustained by Judge Scheindlin, however, alleged a
broad scheme with great particularity. The IPO Securities Litigation and the Florida Action both
allege common motives including, inter alia, that: (1) underwriters were motivated to engage in
the alleged fraud to promote themselves to existing clients and to other prospective issuers with
an intent to obtain future investment banking engagements; and (2) the issuers and individual
defendants were motivated to commit the alleged fraud to raise capital, to use their stock as
currency for mergers and acquisitions, and for extraordinary gain.

B. The IPO Securities Litigation and Florida Action seek
to represent the same or overlapping putative classes

The IPO Securities Litigation and the Florida Action both seek to represent classes of
investors which are overlapping, if not identical, and include the same class members and class
periods. In the IPO Securities Litigation, pursuant to the provisions of the PSLRA, the movants
have been appointed as lead plaintiffs to prosecute the claims relating to the securities of 37
issuers which overlap with the Florida Action.

C. Transfer of the Florida Action will prevent duplication

of effort, preclude the risk of inconsistent rulings and
promote efficient use of judicial resources

Transfer of the Florida Action to the Southern District of New York will advance the just
and efficient conduct of the IPO Securities Litigation by avoiding duplicative pretrial motion
practice and inconsistent pretrial rulings, avoiding duplicative discovery and conserving the
resources of the parties and the judiciary. It will clearly promote judicial efficiency. Absent

transfer, District Judges 1,500 miles apart necessarily will have to become acquainted with the

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same underlying factual issues and will have to oversee similar discovery and administrative
disputes and determine similar pretrial motions.

D. The Southern District of New York is the more convenient forum

Transfer of the Florida Action to the Southern District of New York will best serve the
convenience of the parties, witnesses and counsel. The offices of the investment banks are
largely located in New York City. The executive offices of CSFB is in New York City. The
government and regulatory investigators are largely out of New York City. The lawyers
representing the parties in the IPO Litigation are largely located in New York City.

FACTUAL BACKGROUND

The IPO Securities Litigation arises from the worst economic scandal since the 1920s and
1930s. Fortunes were made for Wall Street insiders while devastating losses were inflicted on
small, individual investors. From January 1998 to December 2000, several hundred high
technology and Internet-related companies raised capital by selling ownership of their companies
to the public. Prior to going public, each company hired a group of investment banks to
underwrite their IPO. Typically, the underwriters received a percentage of the gross proceeds as
compensation for their services, and the Issuers received the remaining capital.

Plaintiffs who purchased stock in the aftermarket for 309 of these high-technology and
Internet-related stocks allege, inter alia, that the underwriters and issuers engaged a massive
market fraud and manipulation. Judge Scheindlin summarized the heart of the IPO Securities
Litigation as follows:

These cases allege a vast scheme to defraud the investing public.
The scheme -- characterized by Tie-in Agreements, Undisclosed
Compensation, and analyst conflicts, and concealed by
misrepresentations and omissions -- was aimed at fraudulently
driving up the price of stock in hundreds of companies in the
immediate aftermarket of their initial public offerings ("IPOs").
Plaintiffs allege that investment banks routinely required

substantial investors to participate in the scheme in order to receive
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allotments of these valuable IPOs. The companies going public and
their officers profited handsomely by taking advantage of the
inflated value of the stock to raise capital, enter into mergers and
acquisitions, or sell their individual holdings at enormous gains.
The investment banks profited by receiving kickbacks from the
investors who received the IPO allocations. To hide the scheme
from the investing public, the investment banks, companies, and
officers violated the securities Jaws by making misleading
statements in offering documents and by manipulating the market.
Thousands of ordinary investors, who are Plaintiffs in these cases,
allege that the value of their holdings plummeted as a result of this
unlawful conduct.

In re Initial Pub. Offering Sec. Litig., 241 F. Supp. 2d at 293.

Similarly, the Florida Action alleges that CSFB and each Issuer that it took public
defrauded the market for IPO Securities. See Florida Action Cplt. § 90. As with the IPO
Securities Litigation, the Florida Action alleges that CSFB used its research analysts in all stages
of the IPO process to lure potential clients to its IPO practice. Florida Action Cplt. { 100. In
connection therewith, the Florida Action similarly alleges that each Issuer had a direct financial
interest in influencing the stock price because a higher stock price for the Issuer would be
advantageous in seeking merger and acquisition opportunities with other companies (see Florida
Action Cplt. ¢ 124).

Accordingly, for the reasons set forth herein, transfer of the Florida Action to the
Southern District of New York for consolidation or coordination with the IPO Securities
Litigation is warranted.

ARGUMENT

THE FLORIDA ACTION SHOULD BE TRANSFERRED TO THE
SOUTHERN DISTRICT OF NEW YORK

The Multidistrict Litigation Act, 28 U.S.C. § 1407, sets forth three requirements for
transfer. The transfer must: (i) involve actions having one or more common questions of fact;

(ii) further the "just and efficient conduct" of the actions; and (iii) promote "the convenience of

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parties and witnesses." 28 U.S.C. § 1407(a). All three criteria weigh heavily in favor of
transferring the Florida Action to the Southern District of New York and to Judge Scheindlin for
all pretrial purposes.

I. THE IPO SECURITIES LITIGATION AND THE
FLORIDA ACTION INVOLVE COMMON QUESTIONS OF FACT

The Florida Action, like one of the many facets of the IPO Securities Litigation, is based
upon allegations that CSFB (a central IPO Securities Litigation defendant) engaged in fraud and
manipulated the market in IPO securities. Both the Florida Action and the IPO Securities
Litigation also allege that the Issuer Defendants and the respective individual defendants were
motivated to commit securities fraud for several reasons including, inter alia, the use of stock as
currency for future mergers and acquisitions and personal wealth, respectively.

This Panel consistently has held that securities fraud actions based upon substantially the
same alleged underlying facts and circumstances are sufficient to warrant transfer pursuant to

Section 1407(a). See, e.g., In re Phar-Mor, Inc. Sec. Litig., No. 959, 1994 WL 41830 (J.P.M.L.

Jan. 31, 1994), transferred to In re Phar-Mor, Inc. Sec. Litig., 164 B.R. 903 (W.D. Pa. 1994); In

re Computervision Corp. Sec. Litig., 814 F. Supp. 85, 86 (J.P.M.L. 1993); In re Omnitrition Int'l,

Inc. Sec. Litig., No. 965, 1993 WL 52634 (J.P.M.L. Feb. 22, 1993); In re Alert Income Partners

Sec. Litig., 788 F. Supp. 1230, 1231 (J.P.M.L. 1992); In re Southeast Hotel Props. Ltd. P'ship

Investor Litig., 796 F. Supp. 538, 539 (J.P.M.L. 1992) (all transferring securities cases for

consolidation or coordination).

In addition, transfer is appropriate because the relevant actions are class actions.
Centralization will "prevent inconsistent pretrial rulings" - not only as to overlapping discovery
disputes, but "especially with respect to overlapping class certification requests." In re Rio Hair

Naturalizer Prods. Liab. Litig., 904 F. Supp. 1407, 1408 (J.P.M.L. 1995). "[C]lass certification

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questions ... amplify[y] the need to have a single judge oversee the class action issues in these

... actions to avoid duplicative efforts and inconsistent rulings in this area." In re Cuisinart Food

Processor Antitrust Litig., 506 F. Supp. 651, 655 (J.P.M.L. 1981). In securities cases, moreover,

the Panel has consistently recognized that the potential for overlapping or conflicting class

certification rulings militate heavily in favor of a Section 1407 transfer. E.g., In re Resource

Exploration, Inc., Sec. Litig., 483 F. Supp. 817, 821 (J.P.M.L. 1980); In re LTV Corp. Sec.

Litig., 470 F. Supp. 859, 862 (J.P.M.L. 1979); In re Food Fair Sec. Litig., 465 F. Supp. 1301,

1305 (J.P.M.L. 1979).

Finally, that the Florida Action raises claims against additional defendants should not
alter the Panel's analysis because common questions of fact exist and both the IPO Securities
Litigation and the Florida Action involve claims arising from CSFB's alleged manipulation of

the market for IPO securities. See, e.g., In re Salomon Bros. Treasury Sec. Litig., 796 F. Supp.

1537, 1538 (J.P.MLL. 1992) (transferring action with common factual issues despite recognizing
that "[I]egal theories ... vary among the actions, with some actions raising claims not common to
all actions").

Il. TRANSFER OF THE FLORIDA ACTION TO NEW YORK IS NECESSARY TO
PROMOTE THE JUST AND EFFICIENT CONDUCT OF THE ACTIONS

Where, as here, numerous actions are pending that present common issues of fact,
transfer pursuant to Section 1407 is not just warranted, it is "necessary in order to eliminate
duplicative discovery, prevent inconsistent pretrial rulings, and conserve the resources of the

parties, their counsel and the judiciary." In re Cygnus Telecomms. Tech., LLC, Patent Litig.,

177 F. Supp. 2d 1375, 1376 (J.P.M.L. 2001) (emphasis added).

A. Transfer Will Conserve the Resources of the Parties and the Judiciary

Transferring the Florida Action to the Southern District of New York will conserve the

resources of the parties and the judiciary. Absent transfer, the many parties will be forced

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simultaneously to litigate the same issues in separate judicial districts, resulting in a significant
increase in burden and expense. Moreover, repetitive - and potentially conflicting -
adjudications concerning similar disputes and pretrial motions would constitute a waste of
judicial resources, particularly when a straightforward transfer can prevent such waste.

B. Transfer Will Avoid Inconsistent Pretrial Rulings

In addition to multiple, potentially inconsistent discovery rulings, there exists a very real
possibility of conflicting substantive decisions being entered in the IPO Securities Litigation and
the Florida Action. As the Panel is well aware, securities fraud litigation largely turns on the
outcome of pretrial motions going to the legal sufficiency of the pleadings or for summary
judgment at the close of discovery. Absent transfer and consolidation or coordination, the
burden to the parties and courts of this motion practice is amplified, and the possibility of

inconsistent rulings manifest. See, e.g., In re Cygnus Telecomms., 177 F. Supp. 2d at 1376

(among other reasons, centralization is necessary to prevent inconsistent pretrial rulings); In re

Transocean Tender Offer Sec. Litig., 415 F. Supp. 382, 384 (J.P.M.L. 1976) ("[T]he likelihood

of motions for partial dismissal and summary judgment in all three actions grounded at least in
part on [a common issue] makes Section 1407 treatment additionally necessary to prevent
conflicting pretrial rulings and conserve judicial effort.").

C. Transfer Will Avoid Duplicated Discovery

Discovery has commenced in the IPO Securities Litigation. Hundreds of Thousands of
pages of documents have already produced by the defendants and are in the process of review.
Before the end of the year it is anticipated that 10-million pages will be produced. Depositions
are scheduled to begin in May. Discovery proceedings of Plaintiffs have also commenced.

Because much of the discovery from CSFB and the overlapping Issuers would be similar
in the IPO Securities Litigation already covers the allegations in the Florida Action, the Florida

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Action should be transferred to avoid subjecting all of the defendants to overlapping discovery in

similar actions pending in multiple forums. See, e.g., In re Regents of Univ. of Cal., 964 F.2d

1128, 1135-36 (Fed. Cir. 1992) (upholding decision of Panel to transfer for consolidated or

coordinated pretrial proceedings where, among other things, Panel relied on need for depositions

common to all actions); In re Gen. Tire & Rubber Co. Sec. Litig., 429 F. Supp. 1032, 1034
(J.P.M.L. 1977) (placing actions "under the control of a single judge" in order to "ensure that

duplicative discovery on the complex factual questions will be prevented” and "eliminat[e] the

possibility of conflicting pretrial rulings"); In re Equity Funding Corp. of Am. Sec. Litig., 375 F.
Supp. 1378, 1384 (J.P.M.L. 1974) ("We know that proof in [securities fraud] litigation of this
kind consists primarily of documents and depositions.").

Moreover, duplicative discovery will inevitably lead to duplicative discovery disputes,
again multiplying the parties’ (and the courts') burden and expense in conducting the litigation
and creating the specter of inconsistent discovery rulings.

Il. © TRANSFER TO NEW YORK WILL SERVE THE
CONVENIENCE OF THE PARTIES AND WITNESSES

Transfer of the Florida Action to the Southern District of New York also will best serve
the convenience of the parties and witnesses:
A. Many other IPO-related actions as well as the governmental and regulatory
proceedings are currently proceeding in the New York City. These proceedings
include those brought by: (1) the Securities and Exchange Commission; (2) New

York State Attorney General Eliot Spitzer; (3) the Office of the United States

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Attorney (for the Southern District of New York); (4) the Office of the District
Attorney, New York County; and (5) the NASD and New York Stock Exchange.*

B. New York City was the center of activity where the investment banking firms are
based as part of "Wall Street" and is also where the investment banking firms will
be providing discovery, including document production and proffering witnesses
for depositions.

C. CSFB is the principal corporate defendant whose U.S. corporate headquarters are
located at 11 Madison Avenue in New York City.

D. Most of the law firms representing defendants in the IPO Litigation, including
counsel to CSFB (Wilmer Cutler & Pickering), are located in New York. Each of
the law firms on the IPO Plaintiffs’ Executive Committee are either located in
New York or are within close proximity.

Indeed, this Panel has consistently recognized that the most appropriate transferee district

for class action securities litigation is generally the district in which the principal corporate
defendant's headquarters is located because "many relevant witnesses and documents can be

expected to be found there." In re Medical Resources, Inc., Sec. Litig., No. 1247, 1998 U.S.

Dist. LEXIS 15832, at *4 (J.P.M.L. Oct. 7, 1998); see also In re Fine Host Corp. Sec. Litig., No.

1241, 1998 U.S. Dist. LEXIS 12332, at *3-*4 (J.P.M.L. Aug. 7, 1998); In re Rational Software

Corp. Sec. Litig., No. 1224, 1998 U.S. Dist. LEXIS 5078, at *2 (J.P.M.L. Apr. 8, 1998); In re

Summit Tech., Inc. Sec. Litig., No. 1195, 1997 U.S. Dist. LEXIS 15778, at *2-*3 (J.P.M.L. Oct.

9, 1997); In re Computervision Corp. Sec. Litig., 814 F. Supp. 85, 86 (J.P.M.L. 1993).

8 For example, on April 23, 2003, the U.S. Attorney for the Southern District of New York arrested and
charged Frank P. Quattrone, a former technology investment banker at CSFB, with obstruction of justice
and tampering with witnesses in connection with these proceedings.

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For these reasons, transfer of the Florida Action to the Southern District of New York is

appropriate. See In re Wash. Pub. Power Supply Sys. Sec. Litig., 568 F. Supp. 1250, 1251-52

(J.P.M.L. 1983) (transferring action to district with strongest relationship to litigation); see also

In re Baldwin-United Corp. Litig., 581 F. Supp. 739, 741 (J.P.M.L. 1984) (transferring actions to

forum where first-filed and most advanced actions were pending).

Because the Florida Action is based upon facts common to the IPO Litigation, and
because transfer to New York for consolidation and coordination will clearly serve the
convenience of the parties and witnesses and promote the just and efficient conduct of the
litigation, the instant motion should be granted.

CONCLUSION

For all of the foregoing reasons, the Movants respectfully request that the Panel grant
their Motion to Transfer and issue an Order transferring the Florida Action to the Southern
District of New York for coordinated and consolidated pretrial proceedings with the IPO

Litigation.

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Dated: May , 2003

WOLF HALDENSTEIN ADLER
FREEMAN & HERZ LLP

By: Laas

<Dametitkrasner (DK-6381)
Fred Taylor Isquith (FI-6782)
Thomas H. Burt (TB-7601)
Gustavo Bruckner (GB-7701)
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MILBERG WEISS BERSHAD HYNES
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Ariana J. Tadler (AJT-0452)
Peter G.A. Safirstein (PS-6176)

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LIFSHITZ, LLP

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10 East 40" Street

New York, NY 10016

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STULL STULL & BRODY

By: + )
Ae Brody he :

Aaron Brody (AB-5850)
6 East 45" Street
New York, NY 10017
(212) 687-7230

SIROTA & SIROTA LLP

Moe AS, nleD

Howard Sirota (HBS-5925)
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Saul Roffe (SR-2108)
John P. Smyth (JPS-3206)
Halona N. Patrick (HNP-5803)
110 Wall Street, 21° Floor
New York, NY 10005
(212) 425-9055

Plaintiff’s Executive Committee

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JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION

MAY 23 2003

Exhibit A

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UDICIAL PANEL ON
MULTIDISTRICT LITIGATION

MAY 23 2003

FILED
CLERK'S OFFICE

SCHEDULE OF ACTIONS

Amy Liu, Plaintiff, vs. Credit Suisse First Boston Corporation; Credit Suisse First Boston,
Incorporated; Credit Suisse First Boston-USA; Credit Suisse First Boston; Credit Suisse Group;
Frank Quattrone; George Boutros; William Brady; John M. Hennessy; Allen D. Wheat; Richard
Thornburg; Charles Ward; David A. Denunzio; Edward Nadel; John Hodge; Jack Tejavanija;
Airspan Networks, Inc.; Eric D. Stonestrom; Joseph J. Caffarelli; At Road, Inc.; Krish Panu;
Thomas C. Hoster; Occam Networks Inc. (formerly “Accelerated Networks, Inc.”); Suresh
Nihalani; Frederic T. Boyer; Avantgo, Inc.; Richard Owen; David B. Cooper, Jr.; Autoweb.com,
Inc. (AUTOBYTEL, real party in interest); Dean A. Debiase; Samuel M. Hedgpeth III; BSquare
Corp.; William T. Baxter; Brian V. Turner; Blue Coat Systems, Inc. (formerly “Cacheflow,
Inc.”); Brian M. Nesmith; Michael J. Johnson; Clarent Corp.Verso Technologies, Inc., real party
in interest); Jerry Shaw-Yau Chang; Richard J. Heaps; Commerce One, Inc.; Mark B. Hoffman;
Peter F. Pervere; Corillian Corp.; Ted F. Spooner; Steven Sipowicz; Centillium
Communications, Inc.; Faraj Aalaei; John W. Luhtala; Digital Impact, Inc.; William C. Park;
David Oppenheimer; E Machines, Inc.; Stephen A. Dukker; Steven H. Miller; Efficient
Networks, Inc.; Mark A. Floyd; Jill S. Manning; Epiphany, Inc.; Roberg S. Siboni; Kevin J.
Yeaman; Evolve Software, Inc; John P. Bantleman; Douglas S. Sinclair; Handspring, Inc.;
Donna L. Dubinsky; Bernard J. Whitney; Improvenet, Inc.; Ronald B. Cooper; Richard G.
Reece; Internap Network Services Corp.; Anthony C. Naughtin; Paul E. McBride; Informatica
Corp.; Gaurav S. Dhillon; Craig L. Klosterman; Iprint Technologies, Inc. (formerly
“Imprint.com”; Madetoorder.com, Inc., real party in interest); Royal P. Farros; James P.
McCormick; Intraware, Inc.; Peter H. Jackson; Donald M. Freed; Intertrust Technologies Corp.;
Victor Shear; Erwin N. Lenowitz; Interwoven, Inc.; Martin Brauns; David M. Allen; Luminent,
Inc.; William R. Spivey; Eric Blanchno; Lante Corp. (SBI and Company, real party in interest);
C. Rudy Puryear; Brian Henry; VA Software Corporation (formerly “Va Linux Systems”); Larry
M. Augustin; Todd B. Schull; Lightspan Partnership, Inc.; John T. Kernan; Kathleen R.
McElwee; MCDATA Corporation; John F. McDonnell; Dee J. Perry; Multilink Technology
Corp.; Richard N. Nottenbug; Eric M. Pillmore; MP3.COM (Vivendi Universal Net USA Group,
Inc. real party in interest); Michael L. Robertson; Paul LH. Ouyang; Numerical Technologies,
Inc.; Y.C. (Buno) Pati; Richard Mora; New Focus, Inc.; Kenneth E. Westrick; William L. Potts,
Jr.; Novatel Wireless, Inc.; John Major; Melvin Flowers; Onvia.com, Inc.; Glenn S. Ballman;
Mark T. Calvert; Onyx Software Corp.; Brent R. Frei; Sarwat H. Ramadan; Razorfish, Inc. (SBI
and Company, real party in interest); Jeffrey A. Dachis; Susan Black; Retek, Inc.; John
Buchanan; Gregory A. Effertz; Pinnacor, Inc. (formerly “Screamingmedia, Inc.”); Kevin C.

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Clark; David M. Obstler; Silicon Image, Inc.; David D. Lee; Daniel K. Atler; Selectica, Inc.;
Rajen Jaswa; Stephen Bennion; Simplex Solutions, Inc. (Cadence Design Systems, Inc., real
party in interest); Penelope A. Herscher; Luis P. Buhler; Supportsoft, Inc. (formerly
“Support.com”); Radha R. Basu; Brian M. Beattie; Tanning Technology Corp.; Larry G.
Tanning; Henry F. Skelsey; Tickets.com, Inc.; W. Thomas Gimple; John M. Markovich;
Tumbleweed Communications Corp.; Jeffrey C. Smith; Joseph C. Consul; Triton Network
Systems, Inc.; Howard Speaks; Kenneth R. Vines; Viant Corp. (Divine, Inc., real party in
interest); Robert L. Gett; M. Dwayne Nesmith; Vitria Technology, Inc.; Jomei Chang; Paul
Auvil; Globespanvirata, Inc. (formerly “Virata Corp.”); Charles Cotton, Andre Vought,
DEFENDANTS. Pending in the United States District Court, Southern District of Florida, 03-
20459, before Judge Jose Martinez.

The following 309 actions are all pending before Judge Shira A. Scheindlin in the United States
District Court for the Southern District of New York and coordinated as In re Initial Public
Offering Sec. Litig., 21 MC 92 (SAS):

In re VA Linux Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 0242 (SAS) (MGC)
PLAINTIFFS

Anita Budich; Michael Chase; William Curtwright, Ellis Enterprises; Flagler Drive Corp.; Spiros
and Mary Jane Gianos; Michael Green; Martin Gubernick; Jon Halseth; Mark W. Herson;
Abraham Kassin; Linda Kava; Evelyn Long; Alexader Makaron; Steve Mazzo; Oba McMillan;
Plilip Pifko; Vladamir Shumaster; Amita Singhal; Robert Tuttle; Scott Wattenbarger; Zagoda
AG.

DEFENDANTS
Credit Suisse First Boston; VA Linux

In re Priceline.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 2261 (SAS) (LTS)
PLAINTIFFS

Radiant Advisers, LLC; Buddy & Eileen Dukeman; Shaker Halab; Richard Hirsch; David W.
Hook; Suan Hook; IPS GMBH]; J ordan Lifshitz; Dan Swindler

DEFENDANTS

Allen & Co. Incorporated; Bancboston Robertson Stephens, Inc.; Credit Suisse First Boston
Corp.; Donaldson Lufkin & Jenrette Securities Corp.; Goldman Sachs & Co.; Merrill, Lynch,
Pierce, Fenner & Smith Inc.; Morgan Stanley Dean Witter & Co. Inc.; Robertson Stephens, Inc.;
Salomon Smith Barney, Inc.; Priceline.com, Inc.

Inre Ariba, Inc. Initial Public Offering Sec. Litig., 01 Civ. 2359 (SAS) (JSM)

PLAINTIFFS

Awayes Abdelgaffer ; Claude Amsellem, Richard Baker; Patricia Baldwin; Gene Dolzhansky;
Frank D. Gruttadauria ; Joel Hochhauser; Phyllis Hochstein; Michael Hutchins; H. Wayne Jones;
Steve Korman ; Steven Kollander; Glenn Luksik; Thomas McMackin; Sam Monderer; Michael

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Parker; Mordechai Pollack; Kenneth Shives; Rosemarie Stumpf

DEFENDANTS
Deutsche Banc Alex. Brown; Merrill Lynch Pierce Fenner & Smith, Morgan Stanley; Morgan
Stanley Dean Witter; Ariba; Keith J. Kinsey

In re Calico Commerce, Inc. Initial Public Offering Sec. Litig., 01 Civ. 2601 (SAS) (NRB)
PLAINTIFFS

Dane Chin; Blime Feldheim; Cynthia Yuen Lai Hui; Marshall Hui; Robert Fievisohn ; Jtwros;
Henry Mayer; Raymond Rapaglia ; Raponi Drywall & Plastering, Inc. ; Gregory Rigby; SDR
Investors - Simon Roffe-President; Alan Sher ; George Soulintzis; Paul Statham; Joseph
Spinden; Allen Sumner; Lothar Trumpp; Zvi Weinreb; Denice Choy-Yuen

DEFENDANTS

BancBoston Robertson Stephens; Credit Suisse First Boston; Goldman Sachs; JP Morgan;
Merrill Lynch Pierce Fenner & Smith; Calico Commerce; Arthur F. Knapp; Bernard J. Lacroute,
Alan P. Naumann; William G. Paseman; William D. Unger

In re PlanetRX.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 2621 (SAS) (AKH)
PLAINTIFFS

Orest Balaban; Anthony Crescenzo; Craig A. Euritt; Bruce Gavin; Dean E. Hart; Burton and
Michelle Levine; Dennis Mollgaard; Phu Nguyen; Idarto and Sherry Tanumihardjo,; Thomas
Tierney; SDR Investors LP by Simon Rolfe President; Shah Temory; Richard Ray and Pamela
K. Trujillo

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Bear Stearns & Co., Inc.; Credit Suisse First Boston
Corp.; Hambrecht & Quist, LLC; JP Morgan Securities Inc., as Successor-in-Interest to H&Q;
Lehman Brothers; Merrill Lynch, Pierce, Fenner & Smith, Inc.; Morgan Stanley Dean Witter &
Co., Inc.; Robertson Stephens, Inc.; Salomon Smith Barney, Inc.; The Goldman Sachs Group,
Inc.; William Blair & Company; Planetrx.com, Inc.; David M. Beirne; Christos M. Cotsakos;
Michael Moritz; William Razzouk; Steve Valenzuela

In re Red Hat, Inc. Initial Public Offering Sec. Litig., 01 Civ. 2712 (SAS) (LTS)

PLAINTIFFS

John Balisy; Larry Barnes; Robert Berkowitz; Adele Brody; Philip W. Calvert; Francine Ceasar;
Ann R. Champion; John C. Clark, Barbara Eiseman; Gwen Jordan; Abraham S. Kassin; Saul
Kassin; Leaseway Inc.; Rajesh Patel; Joseph & Janet Schacherer; David J. Steinberg & Challa B.
Steinberg

DEFENDANTS

Credit Suisse First Boston Corporation; Goldman, Sachs & Company; Hambrecht & Quist; JP
Morgan Securities Inc.; Merrill Lynch, Pierce, Fenner & Smith Incorporated; The Goldman
Sachs Group, Inc.; Thomas Weisel Partners LLC; Red Hat, Inc.; Frank Batten, Jr.; Mare Ewing;
Manoj K. George; David G. Shumannfang; Matthew J. Szulik, Robert F. Young

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In re B2B Internet HOLDRS Initial Public Offering Sec. Litig., 01 Civ. 2858 (SAS) (GEL)
PLAINTIFFS

Aaron Fleck & Associates ; AFA Management Partners, LP ; Coast Investments ; Catu Limited;
Claude Amsellem; David Bellville; David Bornstein ; Michael Egan; The Theresa T. Fadem
Trust , Bruce A. Fadem; Stephan Fiske ; Dore Felder IRA; Paul Guez; Mary Beth Hamil ;
Leonard Handler; Paul Hoffman ; Alton Howard ; Mario Alexis Joseph; Stanley M. Klein;
Valerie Kofsky ; Daniel Kucera; James P. and Carol Larkin; William W. Mann; Fara Manshadi ;
Seymour and Susan Mansfield and Trust ; Steven Myers ; Tia Ying Mo; Jeffrey Mosczy; Lou
Ann Murphy ; Binh Q. Nguyen; Barry Plotkin ; Hui Min Qu ; Carol Raisefeld; Mark Rubin ;
Pradeep Sirvastava ; Duan Wen Tan; Fenyong Tan; Robert Thomas ; Terry Van Der Tuck ;
Micheal Weiss ; Christopher Williamson; Michael Weiss ; Chavy Weisz; Bert Zauderer

DEFENDANTS

Bancboston Robertson, Stephens; Credit Suisse First Boston, Goldman Sachs; Lehman Brothers;
Merrill Lynch; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley Dean Witter; Salomon
Smith Barney; Ahmass L. Fakahany; E. Stanley O’Neal; George A. Schieren; Julian Brodsky,
William W. Buckley, III; Michael Forgash; Kenneth A. Fox; David Gathman; Thomas Gerrity;
Scott Gould; Robert E. Keith, Jr.; John L. Steffens

In re Marketwatch.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 3225 (SAS) (LLS)
PLAINTIFFS

Nicholas and Bettie Anderson; Laurence Bonilla; William Denson; Jeff Eltinge; Denis Fazioli,
Heidi Hertz; Gary Kogan; B. W. Magid; Major W. Sherwin; Murray L. Waldon; Phillip Walsky

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Bear, Stearns & Co., Inc.; Credit Suisse First Boston
Corporation; Merrill Lynch, Pierce, Fenner & Smith, Incorporated; Morgan Stanley Dean Witter
& Co., Incorporated; Robertson Stephens, Inc.; Salomon Smith Barney, Inc.; The Goldman
Sachs Group, Inc.; Marketwatch.com, Inc.

In re NetZero, Inc. Initial Public Offering Sec. Litig., 01 Civ. 3358 (SAS) (WHP)

PLAINTIFFS

Audrey Bernstein; Jodi Bernstein; Ivan Doner; Duane J. Dwyer; Thomas Edwards; Lawrence W.
Fagan, Sr.; Lawrence W. Fagan, Sr. and Ann P. Fagan - TTEES of the Fagan Trust ; DTD -
6/16/86; Harry Greenbaum; Batya Grubin; David Langer; Judy M. Langer; Roderick Lau;
Eugene J. Marcotte; Maria & Taniel Nishanian; Darnell Peterson; Radiant Advisers, LLC;
Jimmie P. Sheffield; Linda A. Sanders; Jason Williams

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Robertson Stephens, Inc.; Salomon Smith Barney, Inc.;
The Goldman Sachs Group, Inc.; Netzero, Inc.; United Online, as Successor-in-Interest to
Netzero, Inc.

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In re Autoweb.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 3360 (SAS) (GBD)
PLAINTIFFS

Richard Anderson ; James S. Ashburn; Estelle Augustine; Anupkumar Bhasin ; Joe Braswell ;
Irving S. & Judith Braun; Anita S. Budich ; Don K Burris ; Buddy and Eileen Dukeman ; Manuel
G. Fernandez; Thomas Fields; Abraham Garfinkel; Robert Grovich ; Antoine El-Hayek;
Raymond Lance Huffman ; Bruce J. Jiorle; Susan Katz; Glenn Kerr; Roderick Lau ; Raymond
Litwin; Michael McKay; N. Jerry Palumberi; Demetrios Petratos; Hedi Reihl ; Mark Schlnick,
Rachel Schwartz ; Kenneth Shives ; Dorothy M. Stariha; Heinz Wahl ; Anthony Voto ; Bert
Zauderer; Deming Zhous

DEFENDANTS
BancBoston Robertson Stephens; Credit Suisse First Boston, Morgan Stanley Dean Witter;
Salomon Smith Barney; Autoweb.com, Inc.

In re Avici Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 3363 (SAS) (CSH)
PLAINTIFFS

Richard Anderson ; Estelle L. Augustine; Anupkumar Bhasin ; Anita Budich ; Don K. Burris ;
Joe Braswell; Buddy and Eileen Dukeman; Haichal Esther; Paul Felzen as Trustee of the Louise
Laskin 1991 Revocable Trust u/t/d October 24 1991; Dr. Steven M. Green; Robert Grovich;
Nicholas Hareson; Dr. Maureen M.Hayes; Raymond Huffman; Eugene Lefkowitz; Albert Lewis;
J and V Charitable Remainder Trust (Albert Lewis); Bruce Jiorle; Glenn Kerr; Perng Lee; Xin
Zhi Lin; John Mammen; Avi Mandel; Robert Minai; Kenneth H. Moeslein; Ian Murray, Tammy
L. Pelissier; Demetrious Petratos; Hans Reihl; Susan Katz, Roderick Lau; Raymond Litwin;
Rachel Schwartz; Mark Sculnick; Kenneth Shives; Chaile B. Steinberg; David J. Steinberg;
David Turner; Tamarack I, L.P.; Anthony Voto; Heinz Wahl; Deming Zhous; Bert Zauderer

DEFENDANTS
Lehman Brothers; Morgan Stanley; Morgan Stanley Dean Witter; Avici Systems

In re Ventro Corp. Initial Public Offering Sec. Litig., 01 Civ. 3450 (SAS) (BSJ)
PLAINTIFFS

Andrew Albstein; Abraham Kassin; Pond Equities; BancBoston Robertson Stephens; Morgan
Stanley Dean Witter; Ventro,; Brook H. Byers; Jonathan D. Callaghan; J errold B. Harris;

S. Joshua Lewis; David P. Perry; John A. Pritzker; L. John Wilkerson

DEFENDANTS
BancBoston Robertson Stephens; Morgan Stanley Dean Witter; Ventro Corporation

In re Marimba, Inc. Initial Public Offering Sec. Litig., 01 Civ. 3483 (SAS) (RWS)
PLAINTIFFS

Neil R. Berger ; Colbert Birnet; Clay Demattei; Leroy and Mary Demuth; Ngoc T. Hoang;
Vernon Easley; Philip Gluckman; Michael Kaylor; J ohn Lasota ; Jesse Mendez; Robert Ponce;
Steven Skoll; David and Chaile Steinberg; Daryl Wynne; Ron Volpe; Anthony Voto

DEFENDANTS

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Bear Stearns & Co. Inc.; Credit Suisse First Boston Corporation; Morgan Stanley & Co.,
Incorporated; Marimba, Inc.

In re Digimarc Corp. Initial Public Offering Sec. Litig., 01 Civ. 3792 (SAS) (JGK)
PLAINTIFFS

Richard Anderson; Estelle Augustine; Anupkumar Bhasin; Joe Braswell; Anita Budich; Don
Burris; William Coates; Brian Felgoise; Buddy Dukeman; Eileen Dukeman; Robert Grovich;
Raymond lance Huffman; Bruce J iorle; Morris Kassin; Susan Katz, Glenn Kerr; Marcia Last;
Roderick Lau; Raymond Litwin; Demetrios Petras; Wallace Petsch; Hans Reihl; Kenneth Shives;
Mark Schulnick; Rachel Schwartz; Anthony Voto; Heinz Wahl; Emmett H. Zahn; Bert Zauderer;
Deming Zhous

DEFENDANTS
BancBoston Robertson Stephens; Digimarc Corporation

In re Corvis Corp. Initial Public Offering Sec. Litig., 01 Civ. 3857 (SAS) (JSM)

PLAINTIFFS

Richard Anderson ; Estelle L. Augustine ; Harry Binder Profit Sharing Trust dated 12/30/88;
Saswata Basu; Anupkumar Bhasin ; Arlene Blau; Joe Braswell; Anita Buditch ; Don K Burris;
Moises Chocron; Buddy and Eileen Dukeman; Julia Eastland; Patrick Elliot ; Ignacio Fanco ;
Fairland Management; Paul Felzen; (Trustee - Louise Laskin 1991 Revocable Trust); Arnold
Foote; Leland Galt; Sherwood Goozee; Robert Grovich ; Lance Huff; Raymond Lance Huffman;
Bruce Jiorle; George Joseph Jr.; Susan Katz; Glenn Kerr; Daniel Kucera; Roderick Lau;
Raymond Litwin; Avi Mandel, S. Perry Penland as Trustee of the Penland & Penland Profit
Sharing Trust U/A 12/10/70; PRFT Partners; Demetrios Petratos; Tracy Price; Hans Reihl; Sean
Rooney; David Ross; Rachel Schwartz; Mark Sculnick ; Kenneth Shives; Edward E. Trotter;
Anthony Voto; Heinz Wahl; Donald Wallace; Bert Zauderer; Deming Zhous

DEFENDANTS

Banc of America Securities; Bancboston Robertson Stephens; Bear Sterns; Credit Suisse First
Boston; FleetBoston Robertson Stephens, Lehman Brothers; Merrill Lynch Pierce Fenner &
Smith; Corvis Corp.

In re Multex.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 3910 (SAS) (BSJ)
PLAINTIFFS

Raymond B. Dooley; Ellis Invetment Ltd.; Ellen Evans; Boris Kalandar; Rachel Schwartz; SDR
Investors (by Simon Roffe President of SDR Fund Management Inc.)

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Goldman Sachs & Co.; Merrill Lynch, Pierce, Fenner &
Smith, Incorporated; Salomon Smith Barney, Inc.; Robertson Stephens, Inc.; The Goldman
Sachs Group, Inc.; Multex.com, Inc.

In re Internet Capital Group, Inc. Initial Public Offering Sec. Litig., 01 Civ. 3975 (SAS) (DLC)
PLAINTIFFS

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AFA Management Partners, LP; Aaron Fleck & Assoc.; David Bornstein; Catu Limited; Coast
Investments; Paul Guez; Mary Beth Hamil; Paul M. Hoffman; Alton H. Howard; Morris Kassin;
Valerie Kofsky; Daniel Kucera; Seymour and Susan Mansfield; Seymour Mansfield as Trustee
for Albert and Anne Mansfield Grandchildren’s Trust for Alexis Mansfield; Fara Manshadi;
Steven G. Meyers; Lou Ann Murphy; Binh Q. Nguyen, Edward O'Brien; Barry Plotkin; Carol
Raisefeld; Lawrence Raisefeld ; Lawrence Raisefeld Trust; Michael G. Ryan; Pradeep
Srivastava; Robert Thomas; Chavy Weisz

DEFENDANTS
BancBoston Robertson Stephens; FleetBoston Robertson Stephens; Goldman Sachs; Lehman
Brothers; Merrill Lynch Pierce Fenner & Smith; Internet Capital Group, Inc.

In re Doubleclick, Inc. Initial Public Offering Sec. Litig., 01 Civ. 3980 (SAS) (DC)
PLAINTIFFS

Radiant Advisers, LLC; Jonathan Ames; Michael A. Benevento, Jeffrey Braverman; Adele
Brody; Thomas Chipain; Dash Limited; Christopher Dougherty; Babara Eiseman, Benjamin
Furman; John Hodgson; Val Kay; Steven Kollander; Mead Ann Krim; Ruth M. Lockard; David
J. Moody; Mahin S. Moshayekh; Binh O. Nguyen; Dane Scott Nuanes; Shelomoh and Sabeheh
Sameyaii; Mousa M. Shunnarah; Steven J. Stranteri; Calvin Tszeng; Philip Warner

DEFENDANTS
B.T. Alex. Brown; Donaldson Lufkin & Jenrette; Goldman Sachs; Merrill Lynch; Merrill Lynch
Pierce Fenner & Smith; Morgan Stanley Dean Witter; Salomon Smith Barney, Doubleclick

In re Liberate Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 4147 (SAS) (MBM)
PLAINTIFFS

Ben Berman; Sanjay Budhwar; Irwin M. Chase Trust; Rio Guzman; Carl Huang; Stephen Inglis;
Linda R. and Terry R. Jones; Susan Katz; David Osher; Karol Rose; Myron Ruderman; Tova
Schwartz; Brian Shonson; Joseph Wilder

DEFENDANTS

BancBoston Robertson Stephens; Chase Securities; Credit Suisse First Boston; Dain Rauscher;
Merrill Lynch Pierce Fenner & Smith; U.S. Bancorp Piper Jaffray; JP Morgan SEC; Hambrecht
& Quist; RBC Dominion Securities; Liberate

In re MP3.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 4183 (SAS) (RLC)
PLAINTIFFS

Don K. Burris ; Jefferey Eltinge ; Mary Hoffman; Jag Enterprises LLC (Mark Fixler Managing
Member); Saul Kassin; Thomas McMackin; Murowa Financial; Shane Popovich; Don Saulic;
John Uhl

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Credit Suisse First Boston Corporation; Robertson
Stephens, Inc.; MP3.COM, Inc.

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In re Stamps.com Inc. Initial Public Offering Sec. Litig., 01 Civ. 4186 (SAS) (JSM)
PLAINTIFFS

Rita Butler Anderson; J. Louis Binder; Collegeware USA; William Daniels; Ellis Investments;
Jack Farshi; Vasanthakumar Gangaiah; Paula Gulich; Carl Hayes; Raymond Lance Huffman;
Richard S. Kolodny; Radiant Advisers; Dan Raphael; Michelle Weiss; Patrick Willoughby, Jr.;
Ho Yang

DEFENDANTS

Bancboston Robertson Stephens, Inc.; The Goldman Sachs Group, Inc.; Stamps.com Inc.;
Mohan P. Ananda; David C. Bohnett; Jeffrey J. Brown; Thomas H. Bruggere; Thomas N.
Clancy; G. Bradford Jones; John W. Lavalle; John M. Payne; Marvin Runyon; Loren E. Smith;
Carolyn M. Ticknor

In re InterTrust Technologies Corp. Initial Public Offering Sec. Litig., 01 Civ. 4187 (SAS) (BSJ)
PLAINTIFFS

Brijesh Agarwal; Khaled Barakat,; Bueos Aires Seruwenos LLC.; Yvonne Y. Chan; Gary
Crandall; Arthur Dokes, Jr.; William M. Dratel; George C. Ellis, Jr. MD; Jeffrey Eltinge; June
Eltinge; Michael Erickson; Darren Gallo; Jim Greenwood; Morris Kassin; Patrice A. Lawall;
Richard Lawall; Joann White-Lawall; Sharyn Lawall-Dratel; Debby Lawall-Pappas; Rodney J.
Paulette; Jeffrey Levitin; Luis Perelman and Luis Perelman Trust FBO Gay Perelman; Michael
C. Pwers, MD; Mark Sculnick; Jerome T. Sherman; Todd Simon

DEFENDANTS

BancBoston Robertson Stephens; Credit Suisse First Boston; FleetBoston Robertson Stephens;
Merrill Lynch Pierce Fenner & Smith; Morgan Stanley; Morgan Stanley Dean Witter; Salomon
Smith Barney; InterTrust Technologies Corp.

In re Organic, Inc. Initial Public Offering Sec. Litig., 01 Civ. 4778 (SAS) (JSM)
PLAINTIFFS

Michael L. Ball; Anthony Barry; Celestia Bourke; Roadjee P. Calara; Leonard and Estelle
Cohen; Charles Eads; Larry Geisel; Jim Greenwood; Nuala Jameson; Carl M. Letts; Bruce
Molen; Annie Nguyen; T.P. O’Gorman; Chaim Selevan; Robert D. Shelly; Daniel L. Soper;
Gregory Steiger; L. David Tomei; Noel C. Tucker

DEFENDANTS

Credit Suisse First Boston Corporation; Dain Rauscher, Inc.; Donaldson Lufkin; Goldman, Sachs
& Co.; Merrill Lynch, Pierce, Fenner & Smith Inc.; Salomon Smith Barney, Inc.; The Goldman
Sachs Group, Inc.; Thomas Weisel Partners, LLC; Organic, Inc.

In re Wireless Facilities, Inc. Initial Public Offering Sec. Litig., 01 Civ. 4779 (SAS) (MBM)
PLAINTIFFS

Troy Brooks; Derby & Co. LP; Fuller & Thaler Asset Management; Marcel Graver; Ann
Greathouse; David Hertz; Hedi Hertz; Carolyn Hill; Aman Kermaninejad ; Suresh Khanna,
Philip Warner; Kurt Krasne; Anne Yung

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DEFENDANTS

B.T. Alex. Brown; Banc of America Securities; Bear Stearns; Chase Securities; CIBC World
Markets; Credit Suisse First Boston; Dain Rauscher; Deutsche Banc Securities; FleetBoston
Robertson Stephens; Goldman Sachs; Hambrecht & Quist; J.P. Morgan; J.P. Morgan Chase, J.P.
Morgan Securities; Lehman Brothers; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley
Dean Witter; Robert Fleming; Salomon Smith Barney; Thomas Weisel Partners; Wireless
Facilities

Inre Selectica, Inc. Initial Public Offering Sec. Litig., 01 Civ. 4941 (SAS) (GBD)
PLAINTIFFS
John and Patrick Fitapelli; Daniel Niedrich; Radiant Advisers; Farideh Sigari; Phillip Stone

DEFENDANTS

E-Offering Corp.; Banc of America Securities LLC; Credit Suisse First Boston Corporation;
Dain Rauscher, Inc.; DB Alex Brown, as Successor-in-Interest to Deutsche Bank; Deutsche Banc
Alex Brown Inc.; E-Offering Corp.; RBC Dain Rauscher Corporation, as Successor-in-Interest to
Dain Rauscher; Robertson Stephens, Inc.; Soundview Technologies; Thomas Weisel Partners
LLC; US Bancorp Piper Jaffray, Inc.; Selectica, Inc.; Stephen Bennion; Rajen Jaswa; Sanjay
Mittal

In re Digital Impact, Inc. Initial Public Offering Sec. Litig., 01 Civ. 4942 (SAS) (DAB)
PLAINTIFFS

Stephens Bassett; William Colten; David Dramn; Richard Freeman; Joseph Martin; J im Pedder;
Warren Stein; Peter Weinreb

DEFENDANTS
Bear Stearns; Credit Suisse First Boston; Donaldson Lufkin; Hambrecht & Quist; J.P. Morgan
Chase; U.S. Bancorp Piper Jaffray; Digital Impact

In re Expedia, Inc. Initial Public Offering Sec. Litig., 01 Civ. 4973 (SAS) (LMM)
PLAINTIFFS

Louis Carola; Salvatore Caruso; Mary Grace Dippolito; Mark Drinkwater; Rosalyn Levine;
David R. T. Long; Michael Mangan; Barry Margulies; Pattsy Messer; Marten Piccinini; Nirmal
Saha; Karin Wacaser; Dale K. Wilson

DEFENDANTS

BancBoston Robertson Stephens; Credit Suisse First Boston; Donald Lufkin; FleetBoston
Robertson Stephens; Goldman Sachs; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley;
Morgan Stanley Dean Witter; Expedia; Richard N. Barton; Gregory B. Maffei; Gregory S.
Stanger

In re iVillage, Inc. Initial Public Offering Sec. Litig., 01 Civ. 4974 (SAS) (SWK)

PLAINTIFFS

Jerry Cobb; David Fellner; Robert Ford; Saul Kassin; Koshy Koshy; Arnold Melamed; Jonathon
Sarver; Debra Scheinfeld-Oliv; Israel Spitzer ; Khaled Turjman

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DEFENDANTS

B.T. Alex. Brown; BancBoston Robertson Stephens; Bank of America Securities; Bear Stearns;;
Chase Securities; CIBC World Markets; Credit Suisse First Boston; Dain Rauscher; Deutsche
Bank Securities; Donaldson Lufkin; FleetBoston Robertson Stephens; Goldman Sachs;
Hambrecht & Quist; J.P. Morgan; J.P. Morgan Securities; Lehman Brothers; Merrill Lynch
Pierce Fenner & Smith; Morgan Stanley Dean Witter; Robert Fleming, Inc.; Salomon Smith
Barney; Soundview Technology Group, Inc.; Wit Capital; iVillage, Inc.; Alison Abraham;
Candice Carpenter; Nancy Evans; Douglas McCormick; Craig T. Monaghan; Sanjay Muralidhar

In re Gadzoox Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5039 (SAS) (RO)
PLAINTIFFS

Herbert Black; Eric Cooper; Dominic Cottrill; Gabriel T. Forrest; Joe Goldgrab; Stanley Haiduk;
Simon Katz; Adeline P. Murphy; Linda N. Parsons; Leon J. Roomberg

DEFENDANTS

B.T. Alex. Brown; BancBoston Robertson Stephens; Bank of America Securities; Bear Stearns;
Chase Securities; CIBC World Markets; Credit Suisse First Boston; Dain Rauscher; DB Alex
Brown; Deutsche Bank Securities; FleetBoston Robertson Stephens; Goldman Sachs; Hambrecht
& Quist; J.P. Morgan; J.P. Morgan Chase; J.P. Morgan Securities; Lehman Brothers; Merrill
Lynch Pierce Fenner & Smith; Morgan Keegan; Morgan Stanley Dean Witter; Robert Fleming;
Salomon Smith Barney; Gadzoox Networks, Inc.; Alistair Black; Christine E. Munson; Bill
Sickler

In re Caliper Technologies Corp. Initial Public Offering Sec. Litig., 01 Civ. 5072 (SAS) (GBD)
PLAINTIFFS
Colbert Birnet; Shalom Daskal; Ira B. Kovel; Gale H. Leach

DEFENDANTS
CIBC World Markets; Credit Suisse First Boston; Dain Rauscher; Hambrecht & Quist; J.P.
Morgan Chase; Caliper Technologies Corporation

Inre Z-Tel Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5074 (SAS) (KMW)
PLAINTIFFS
Albert Brody; David Grosinger; Marv Jaffe; Charles P. Scholes; Westwood Management Corp.

DEFENDANTS

Bear Stearns; Credit Suisse First Boston; Dain Rauscher; Deutsche Bane Alex. Brown,
Hambrecht & Quist; J.P. Morgan Chase; Merrill Lynch Pierce Fenner & Smith; Salomon Smith
Barney; Thomas Weisel Partners; Z-Tel Technologies, Inc.

Inre El Sitio, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5089 (SAS) (SM)
PLAINTIFFS

Percy C. Burns, III; B. V. Coracias; Warren F. Foster and Frances P. Foster; Bais Kahana;
Howard M. Lasker; Larry Walls; Shapour Yavari

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DEFENDANTS

BancBoston Robertson Stephens; Claxson; Credit Suisse First Boston, FleetBoston Robertson
Stephens; J.P. Morgan Chase; Lehman Brothers; Merrill Lynch; Merrill Lynch Pierce Fenner &
Smith; Salomon Smith Barney; Soundview Technology; Wit Capital; El Sitio, Inc.

In re Cacheflow, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5143 (SAS) (MGC)
PLAINTIFFS

Michael Atlas; Colbert Birnet; Leonard and Estelle Cohen ; Eric Egelman; Tzui M. Follman,
Greg Frick; Alan Karahalis; Val Kay; Don R. Powell; Kenneth Restivo; Kenneth L. Schmid;
Victor Wesley Jr.

DEFENDANTS

BancBoston Robertson Stephens; Credit Suisse First Boston; Dain Rauscher; FleetBoston
Robertson Stephens; Hambrecht & Quist; J.P. Morgan Chase; Morgan Stanley; Morgan Stanley
Dean Witter; Salomon Smith Barney; Cacheflow

In re Intersil Holding Corp. Initial Public Offering Sec. Litig., 01 Civ. 5144 (SAS) (AKH)
PLAINTIFFS

Donald E. Benjamin; Aaron Brody; John and William Buescher; Robert P. Jordan; Murowa
Financial; Aniko Heller Nagy; Pat O'Shea; James Robert Richey; Sanat Shankardass; Yehudah
Toiv; Susan Williams

DEFENDANTS

Chase Securities; Credit Suisse First Boston, FleetBoston Robertson Stephens; JP Morgan;
Lehman Brothers; Merrill Lynch Pierce Fenner & Smith; S.G. Cowen Securities; Salomon Smith
Barney; Intersil; Arnold Chase, Lawrence J. Ciaccia; Julie B. Forbes; Daniel J. Heneghan; W.
Russell Morcom; Larry W. Sims; Gregory L. Williams

In re Retek, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5225 (SAS) (BSJ)

PLAINTIFFS

Eli Bensinger; Lillian Bloom; Simon A. Bulko; Shuk-Lee Chu; Patricia A. Gammino; Steven
Hovdesven; Sieglinde Jeffries; Arthur Kauffman; Thomas Molnar; Ben Nguyen; Zareh
Sarrafian; Iwan Sutardji; Linda Westbrook; Susan Williams

DEFENDANTS

Bancboston Robertson, Stephens Inc.; Credit Suisse First Boston Corporation; Fleetboston
Robertson Stephens, Inc.; Merrill Lynch, Pierce, Fenner & Smith Incorporated; Robertson
Stephens, Inc.; Salomon Smith Barney, Inc.; US Bancorp Piper Jaffray, Inc.; Retek Inc.; John
Buchanan; Gregory A. Effertz; Gordon Masson

In re Net2000 Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5227 (SAS)
(VM)

PLAINTIFFS

Angelo Gordon & Co., LP; Jimmy Chin; Daniel P. Conrad; Thad Figura; Gardner Gilsey;

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Ronald Harris; Syed M. Hussain; Robert Lanham; Charles Miller; Helen Miller; Beth Paqvin;
Patron Transmissions; Katherine Piven; Harry C. Ridgely; Malka Rubin; Thomas M. Schrader;
Herbert A. Taylor II; E. Allan Wendt

DEFENDANTS

Bear Stearns & Co., Inc.; Credit Suisse First Boston Corp.; Donaldson, Lufkin & Jenrette
Securities Corp.; Goldman, Sachs & Co.; JP Morgan Securities, Inc.; Legg Mason Wood
Walker, Inc.; Lehman Brothers, Inc.; Salomon Smith Barney Inc.; The Goldman Sachs Group;
Net2000 Communications, Inc.; Peter B. Callowhill; Donald E. Clark; Eric Geis; Clyde
Heintzelman; Reid Miles; Mitchell Reese; Clayton A. Thomas, Jr.

In re VerticalNet, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5241 (SAS) (KMW)
PLAINTIFFS

Gregory S. Carroll; CJA Acquisition Inc.; Erza Charitable Trust; James Goldenetz; William A.
Gordeau; Jeff Hoang; Ann L. Jay; Leela Job; Patricia . Jones; Valerie Kofsky; Soo D. Lee; Evan
McKeown; Michelle Miller; Michael Morris; George Murphy; Alexander Nehring; Linda
Penhale; Carlos Reeberg; Michael Schonberg; Jae Sook So; Teait Capital, LLC; John J. Wicker;
Doug Williams

DEFENDANTS

B.T. Alex. Brown; Banc of America Securities; BancBoston Robertson Stephens; Bear Stearns ;
Chase Securities; CIBC World Markets; Credit Suisse First Boston, Dain Rauscher; Dain
Rauscher Wessels; Deutsche Banc Securities; FleetBoston Robertson Stephens; Goldman Sachs ;
Hambrecht & Quist; J.P. Morgan; J.P. Morgan Securities; Lehman Brothers; Merrill Lynch
Pierce Fenner & Smith; Morgan Stanley Dean Witter, Prudential; Robert Fleming; Salomon
Smith Bamey; Soundview Technology; Volpe Brown Whelan; Wit Capital; VerticalNet

In re Audible, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5258 (SAS) (HB)
PLAINTIFFS

Peyman Abdollahzadeh; William Chue ; Gregory M. Dimicelli; Abraham Garfinkel; Oren
Giskan; John Rick Heidel; Mark Katz; George Masidzg; John Rando; Sam Regam

DEFENDANTS

CIBC World Markets; Credit Suisse First Boston; J.P. Morgan Chase; J.P. Morgan Securities;
Lehman Brothers; Morgan Stanley; Morgan Stanley Dean Witter; Prudential Securities;
Soundview Technology Group; Volpe Brown Whelan, Wit Capital, Audible; Andrew J.
Huffman

Inre Telaxis Communications Corp. Initial Public Offering Sec. Litig., 01 Civ. 5267 (SAS)
(DAB)

PLAINTIFFS

Stephen Inglis; Danielle Katz; Daniel Kucera; Mazzarese Family Trust; Lyle Paquette; Scott
Swindle

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DEFENDANTS
Banc of America Securities; CIBC World Markets; Credit Suisse First Boston; Deutsche Banc
Securities; J.P. Morgan Chase; Telaxis Communications Corporation

Inre TiVo, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5269 (SAS) (JGK)

PLAINTIFFS

Cho Ho Bae; Dixon Burden; Jose Campon; Thomas Corley; Thomas Dale; Rutherford Dawson,
Cary Luskin; Chris Greaves; Kevin C. Krich; George Masidze; David Osher, Murray Price;
Cathleen Vongdellane; Ben Werczberger

DEFENDANTS

Allen & Company; Banc of America Securities; BancBoston Robertson Stephens; Credit Suisse
First Boston; FleetBoston Robertson Stephens; Hambrecht & Quist; J.P. Morgan Chase; Thomas
Weisel Partners; Tivo, Inc. ; James Barton; David H. Courtney, Michael Ramsay

In re Netcentives, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5332 (SAS) (DC)
PLAINTIFFS

Eddie Bloomfield; Neil Chasin; David Herschman; Bruce J. Kraemer; Joseph LaDuke; Eugene
Lefkowitz; Chris Madison; Sid Weissman

DEFENDANTS

Credit Suisse First Boston Corporation; Dain Rauscher, Inc.; Deutsche Bank Alex Brown;
Deutsche Bank Securities, Inc.; Hambrecht & Quist, LLC; JP Morgan Securities; RBC Dain
Rauscher Inc.; Thomas Weisel Partners, LLC; Netcentives, Inc.; John F. Longinotti; West
Shell, III

In re 724 Solutions, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5333 (SAS) (GEC)
PLAINTIFFS

Colbert Birnet L.P.; Joseph A. Derringer; Gregory R. Hodges; Theodore Leonard; James
Robinson; Wendy Wanderman; Leon Woody

DEFENDANTS
Credit Suisse First Boston; FleetBoston Robertson Stephens; Thomas Weisel Partners; 724
Solutions, Inc.; Gregory Wolfond; Thomas Wolfond

In re Onvia.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5354 (SAS) (VM)

PLAINTIFFS

David Arnatt; Ronney Cooper; Kris Fleischli; Abraham Garfinkel; Eric Goepfert; John Hoffman;
Anna Proshak; David Stoddard; Richard Wu

DEFENDANTS
Chase Securities, Inc.; Credit Suisse First Boston Corporation, Fleet Boston Robertson Stephens
Inc.; JP Morgan Securities; Robertson Stephens, Inc.; Onvia.com, Inc.

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In re iPrint Technologies, Inc. (f/k/a Iprint.com) Initial Public Offering Sec. Litig., 01 Civ. 5365
(SAS) (WK)

PLAINTIFFS

Alfred Boeckli; Abraham Garfinkel - 5365; Abraham Garfinkel - 7428; Patrick Praesel; Jeanne
Rich; Todd Simon; Robert C. Smith; Lisa Stoshak

DEFENDANTS
Credit Suisse First Boston; Royal P Farros; FleetBoston Robertson Stephens; J.P. Morgan Chase;
U.S. Bancorp Piper Jaffray; iPrint Technologies, Inc.; James P. McCormick

In re NaviSite, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5374 (SAS) (WK)

PLAINTIFFS

Arvid Brandstrom; Brandstrom Instruments; Fayyaz Dewji; David Federico; Barry Feldman;
Quyen T. Ha; Moses Mayer; Lynn McFarlane, Binh Nguyen; Tony Tse; James D. Weeks; Stuart
Werman

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Bank of America Securities LLC; Bear Stearns & Co.,
Inc.; Chase Securities, Inc.; CIBC World Markets; Credit Suisse First Boston Corporation; Dain
Rauscher, Inc.; DB Alex Brown; Deutsche Bank Securities, Inc.; First Albany Companies, Inc.;
Fleetboston Robertson Stephens, Inc.; Robert Fleming, Inc.; Goldman Sachs Group, Inc.;
Hambrecht & Quist; JP Morgan Securities, Lehman Brothers; Merrill Lynch, Pierce, Fenner &
Smith, Inc.; Morgan Stanley Dean Witter & Co., Incorporated; Robertson Stephens, Inc.;
Salomon Smith Barney, Inc.; Navisite, Inc.

In re Deltathree.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5425 (SAS) (LLS)
PLAINTIFFS

Privatinvest Bank, AG; Christopher Anderson; Norman Bodine; Aliza Brody; Gregory C.
Cleaver; Zbigniew Czyzewski; Dror Hadari; Hanna Hadari; Tal Hadari; Widad Jafar; Mr./Mrs.
Richard Lane; Jon Melser; Murowa Financial; Eric Norris; Bnos Rochel; George Strum; Barry
Unger M. D.

DEFENDANTS

Bear Stearns; Fidelity Capital Markets, Goldman Sachs; Lazard Freres; Lehman Brothers;
Merrill Lynch Pierce Fenner & Smith; U.S. Bancorp Piper Jaffray; Deltathree.com; Jacob A.
Davidson; Avery S. Fischer; Itzhak Fisher; Mark J. Hirschhorn; Jacob Z. Schuster; Amos Sela;
Donald R. Shassian; Nir Tarlovsky; Elie C. Wurtman

In re Razorfish, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5427 (SAS) (AGS)

PLAINTIFFS

John Barclay; Econor Investments; Laura Cunningham, Stephen Greenberg; Michael Paul Kelly;
Michelle Kideys; Bruce Nahorwey; Amelia E. Sarvinski; Bennett Storfer; Wayne Taillon,
George L. Vlahos

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DEFENDANTS

Bancboston Robertson Stephens, Inc.; Credit Suisse First Boston Corporation; Deutsche Banc
Alex Brown Inc.; Lehman Brothers Inc.; Robertson Stephens, Inc.; Razorfish, Inc.; Carter F.
Bales; Susan Black; Peter I.G. Bystedt; Jeffrey A. Dachis; Craig M. Kanarick; Kjell A.
Nordstrom; Jonas S.A. Svensson; John Wren

In re Avenue A, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5446 (SAS) (RMB)
PLAINTIFFS

Saswata Basu; Audrey Bernstein; Famiglia Enterprises; Mauro Golmarvi ; Steve Gordon;
Bernice Mermelstein; Teresa Lovegren; Tom Pabandith ; Anthony Panagiota; Lawrence
Pearlman ; Lisa Rowe; Anthony and Maria Scotto; Nick Shener ; Mark Smith ; Jerry Tillem;
Sally Tonningsen

DEFENDANTS
Dain Rauscher; Morgan Stanley; Morgan Stanley Dean Witter, Salomon Smith Barney; Thomas
Weisel Partners; Avenue A

In re Aether Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5570 (SAS) (LAP)
PLAINTIFFS

Larry Ackerman; Adele Brody; Edward Cassady; Henry Cole; Isak Karasik; Jerry Krim; Daniel
Kucera; Joe Moyer; George Murphy; Robert Narayan, Pond Equities; Manual R. Raimi; Renee
B. Raimi ; Drew Ricco; Dr. Pradeep Srivastava; Bernd Toennesmann

DEFENDANTS

BancBoston Robertson Stephens; Bank of America Securities; Credit Suisse First Boston;
Deutsche Bank Securities; Donaldson Lufkin & Jenrette; FleetBoston Robertson Stephens;
Friedman Billings Ramsey; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley; Morgan
Stanley Dean Witter; U.S. Bancorp Piper Jaffray, Aether Systems, Inc.

In re Commerce One, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5575 (SAS) (CLP)
PLAINTIFFS

Mahesh Ariyakula; Jonathan Baruch, George W. Cameron; Scott R. Cameron; Coast Investment
& Development; William and James Costock; Mary Jane Crescente; Michael A. Esemplace;
Lewis and Marc Imundo ; Kriker Kasbarian; Sanford Alan Kassel; Dan Kucera; Robert
Malafonte; Market Street Securities; Masahiro Nakamura; Geary Partners; Presido Partners;
Privateinvest Bank AG; Frank Povoski; Zory Shmidoff; Rudolf Skubella; Yehudah Toiv; James
E. Traylor Jr.; Feridoon Zarrinnia

DEFENDANTS

BancBoston Robertson Stephens; Credit Suisse First Boston, Donaldson Lufkin & Jenrette;
FleetBoston Robertson Stephens; U.S. Bancorp Piper Jaffray, Commerce One, Inc.; Thomas J.
Gonzales II

In re Silverstream Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5600 (SAS) (GEL)
PLAINTIFFS

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Collegeware USA Inc.; Jean De Angelis; Eliyohv Levoitz; Don Petersen, Debra Robinson

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Fleetboston Robertson Stephens, Inc.; Morgan Stanely
Dean Witter, Inc.; Robertson Stephens, Inc.; SG Cowen Securities Corporation; Silverstream
Software, Inc.; Craig A. Dynes; David A. Litwack; David R. Skok

In re Palm, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5613 (SAS)

PLAINTIFFS

Privatinvest Bank, AG; Joel Abrams; Larry Ackerman, Israel Bollag; Han Chae; Hing S. Chan;
Harold Futransky; Benjamin R. Isaiah; Joel Mandel; David Mehalick; Joel Model; Patron
Transmissions; Milton Pfeiffer; Plumbers and Pipefitters National Pension Fund; Vicki
Briamonte Price; Richard Rostholder; Grace Walsh; Lee S. Walsh; Matthew Weiner

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Bank of America Securities LLC; Bear Stearns & Co.,
Inc.; Chase Securities, Inc.; CIBC World Markets; Credit Suisse First Boston Corp.; Dain
Raucher, Inc.; DB Alex Brown; Deutsche Bank Securities, Inc.; Robert Fleming, Inc.;
Hambrecht & Quist, LLC; JP Morgan ; JP Morgan Securities; Lehman Brothers, Inc.; Merrill
Lynch, Pierce, Fenner & Smith, Inc.; Morgan Stanley Dean Witter & Co.; Robertson Stephens,
Inc.; Salomon Smith Barney, Inc.; The Goldman Sachs Group, Inc.; Palm, Inc.

In re Accelerated Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5644 (SAS) (AGS)
PLAINTIFFS

Adil Dastur ; John Ecklund; Harfa Holdings, Inc.; Tom Hernandez; Dale Holder; Kenneth Flax;
Rahman J. Mogshaddam; David Pear]; Steven Rothbart; Diane Salvadore; Ramesh Singh ;
Stephen and Faith Varwig

DEFENDANTS
Credit Suisse First Boston; U.S. Bancorp Piper Jaffray; UBS Warburg; Accelerated Networks,
Inc.

In re Value America, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5739 (SAS) (JES)
PLAINTIFFS

Howard Bunch; Russell Corser; Seymour Englard; Steven N. Farah; Earl S. Kauffman; PJS
Management, LLC; Yehudah Toiv; James Wolfe

DEFENDANTS

BancBoston Robertson Stephens; FleetBoston Robertson Stephens; Prudential Securities; Volpe
Brown Whelan; Glenda M. Dorchak; Dean M. J ohnson; Thomas Morgan; Rex Scatena,; Sandra
T. Watson; Craig A. Winn

In re New Focus, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5822 (SAS) (DAB)
PLAINTIFFS
Brenda Abbruzzio; Salvatore Abbruzzio; Joseph Chielli; Wallace Clark; Joel A. Cohen; David

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G. Dawes; Kenneth W. Decker; Terrance F. Lanter Sr.; Pond Equities; Naraindas Punjabi;
Renaissance Capital Greenwich Funds; Sloane Russeck; Mathew Samuel; James G. Spar

DEFENDANTS

Chase Securities, Inc.; CIBC World Markets Corp.; Credit Suisse First Boston Corporation;
Fleetboston Robertson Stephens, Inc.; JP Morgan Securities; Merrill Lynch, Pierce, Fenner &
Smith, Inc.; Robertson Stephens, Inc.; US Bancorp Piper J affray, Inc.; New Focus, Inc.

In re Covad Communications Group, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5834 (SAS)
(LMM)

PLAINTIFFS

John and Sallie Burkett; Gordon L. Bailey; The Becker Securities Fund L.P.; J ennifer Bond ;
Neils Peter Christenson; Barbra Bobitt Cook ; Gary Dubin, Derrick, June and Louis Hoffman;
Gabriel Forrest; George C. Fox; Steven Friedfertig ; Abraham Garfinkel; Howard Ginsberg;
Sarah Harman; Michael Houser; Helen Korsinsky; Paterson Family Trust ; B. J. Rone; Frances
Rosenberg; Myles Sachs ; William Savey ; Samuel and Lynn Sinay ; Robert Vanvooren ; Ross
Wagner

DEFENDANTS

B.T. Alex. Brown; BancBoston Robertson Stephens; Bear Stearns; Credit Suisse First Boston;
Deutsche Bank Securities; Donaldson Lufkin; FleetBoston Robertson Stephens; Goldman Sachs;
J.P. Morgan Chase; Morgan Stanley Dean Witter; Salomon Smith Barney; Covad
Communications Group, Inc.; Robert E. Knowling, Jr.; Timothy Laehy; Frank Marshall; Charles
McMinn

In re Drugstore.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5838 (SAS) (AKH)
PLAINTIFFS

Arthur A. Danekas; Charles DiFazio, Jr.; Ronald Drucker; Robin Dua; Ellen Exelbert; Steven
Farah; Jamie L. Franzen; Tyrone Harley; Rebecca Hughes; Jacob Kassin; Morris Kassin; Saul
Kassin; Randy Kretchmar; Howard M. Laskar; See-Choy Lee; Al Monjazeb; Dennis Olsen;
Melissa Pludo; Judith Thomas; Kenneth Thomas; Ronald Wambold; Bertha Washington

DEFENDANTS
Credit Suisse First Boston; Donaldson Lufkin & Jenrette,; Morgan Stanley; Morgan Stanley Dean
Witter; Salomon Smith Barney; Thomas Weisel Partners; Drugstore.com, Inc.; Mark Silverman

In re Agency.com, Ltd. Initial Public Offering Sec. Litig., 01 Civ. 5902 (SAS) (VM)
PLAINTIFFS

Reza Alizadegan; Kerry Burstein ; Shu Hau Chen; Stephen Dinallo; Randall Englehart; Steven
N. Farah; The Fairmont Fund; Michael Gallagher ; Shailendra Majmundar; Edward Mazzella,
Jr.; Seymour Orenstein ; Abe Naymark ; Frederick Raila ; David Roffe; Robert Saak; Thomas N.
Salerno; Awraham Schaechter; The Estate of Rebecca Solomon (Gregory Stone Executor);
Daniel P. Verbic

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DEFENDANTS
Goldman Sachs; Hambrecht & Quist; JP Morgan; Salomon Smith Barney; Agency.com, Ltd.

In re EToys, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5911 (SAS)

PLAINTIFFS

Larry Ackerman; Congregation Dvar Moshe of Horodenke, Marcia Davis; F GR Akel; Tzvi M.
And Cheryl Follman; Luis Gomez; Nita Govan; Jerry Krim; Theodore Laoudis; Leclub Williams
Limited; Han Lew; David Lowinger; Alejandro Ludlow; Juan Ludlow; Harris McCully
Associates Inc.; Sudir Mehta; Charles Moore; Joseph Muir; Michael Sabbia; Michael Schon; The
Silver Family Foundation; Rudolph Skubella; Joseph Tellier; Gerald Walters

DEFENDANTS

BancBoston Robertson Stephens; Credit Suisse First Boston; Dain Rauscher; Donaldson Lufkin
& Jenrette; FleetBoston Robertson Stephens; Goldman Sachs, Hambrecht & Quist; J.P. Morgan
Chase; Merrill Lynch Pierce Fenner & Smith; RBC Dominion; EToys, Inc.; Edward C. Lenk;
Steven J. Schoch

In re Chinadotcom Corp. Initial Public Offering Sec. Litig., 01 Civ. 5937 (SAS) (LAP)
PLAINTIFFS

Ahemd Allssa ; 1401 Ocean Avenue LLC.; Michael Yung Xin Cai, Rutherford Dawson; Barry
Gang; Ronald Giordano ; Victoria Goldner; Iris Hsu; Michael Mangan ; Charles McClung ;
David Mehalick; Paul and Teresa Ng; Paul Rosenfeld; Shlomo Roshgadol; Robert Russo;
Gregory Sanchez; Tommiita Sengvilay ; Dr. Allen Taylor; Andrea Yarnoff; Ying Xia

DEFENDANTS
BancBoston Robertson Stephens; Bear Stearns; Dain Rauscher; FleetBoston Robertson
Stephens; Lehman Brothers ; Merrill Lynch Pierce Fenner & Smith; Chinadotcom Corp.

In re Digitas, Inc. Initial Public Offering Sec. Litig., 01 Civ. 5948 (SAS) (MGC)

PLAINTIFFS

Robert C. Allen II; Merlin Benningfield; Eric Bet; Amir Borochov; Brian Brown; Joseph J.
Carrigan; Michael Carucci; Barry Feldman; Eli Gorelick; Harry M. Hoffman IRA Rollover; John
Jason; Mary Jason; Steven Kuritzky; William Molen; Douglas Moss; William Palumbo; Patrice
Peterson; Scott Roberts; Joseph C. Rowe, Jr.; Gary Sherman;

DEFENDANTS

Banc of America Securities; Bear Stearns; Deutsche Banc Alex. Brown; Deutsche Bank
Securities; FleetBoston Robertson Stephens; Morgan Stanley; Morgan Stanley Dean Witter;
Salomon Smith Barney; Digitas, Inc.

In re Akamai Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6000 (SAS) (RWS)
PLAINTIFFS

David Cheng; Theresa M. Dabrowski and Stanley J. Dabrowski; George Dovellos; Alexandre
Heitz ; Richard Gibbs; Val Kay; Ian Kideys; Daniel Kucera; David Lowinge; Charles Moore ;
Michael Morris; Randy Morrison; George Murphy; Milton Pfeiffer; Martin Picone ; Pond

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Equities; Herbert G. Spielman; Jimmy A. Sutton; Curt Turner

DEFENDANTS

Credit Suisse First Boston; Dain Rauscher; Donaldson Lufkin & Jenrette; Hambrecht & Quist;
J.P. Morgan Chase; Morgan Stanley; Morgan Stanley Dean Witter; Salomon Smith Barney;
Thomas Weisel Partners; Akamai Technologies, Inc.; Daniel M. Lewin; Paul Sagan

In re Sycamore Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6001 (SAS) (DC)
PLAINTIFFS

Joel Abrams; Yitzchak Ariel; Kenneth Barton; CBZ, Inc.; Jimmy Chin; Thomas Doubet, Jr.;
Donald Drucker; Ronald Drucker; Vasanthakumar Gangaiah; James Goldenetz; Meyer Guttman;
Frederick B. Henderson; John K. Humphreys; Farzana Javaid; John B. J ohanneson; John
Kasdan; Barry Lemberg; John Longman; Milton Pfeiffer, Thomas C. Phillips; Gerald S. Platts;
Pond Equities; Sushma Sahai; Rudolph Skubella; Patrick J. Sparks; Dragan Stevanovski; Usman
Vakil; Charles Wertman; Frank Zortman

DEFENDANTS

Bancboston Robertson Stephens Inc.; Credit Suisse First Boston Corporation; Dain Rauscher,
Inc.; Dain Rauscher Wessels, a Division of Dain Rauscher Incorporated; Deutsche Banc
Securities, Inc.; Fleetboston Robertson Stephens, Inc.; Goldman Sachs & Co.; JP Morgan
Securities Inc.; Lehman Brothers; Merrill Lynch, Pierce, Fenner, & Smith Incorporated; Morgan
Stanley & Co., Incorporated; Robertson Stephens, & Co.; Robertson Stephens, Inc.; The
Goldman Sachs Group, Inc.; Sycamore Networks, Inc.; Breakaway Solutions, Inc.; Timothy
Barrows; Gordon Brooks; Kevin Comerford; Gururaj Deshpande; Paul Ferri; Christopher H.
Greendale; Frances M. Jewels; Daniel E. Smith

In re Next Level Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6004 (SAS)
(DC)

PLAINTIFFS

Milton Cummings; Mary Gorton; Sanford Alan Kassel Custodian for Gavin Phillip Kassel;
Sanford Alan Kassel Trustee for the Sanford Kassel Family Trust; Ronald Lessnau; Donald V.
Mager; Donald Polich; Joel Richmon; Seymour Sarokin; Stephen Topham; Zichron Yakov
Menachem Inc.

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Credit Suisse First Boston Corporation; Dain Rauscher,
Inc.; Dillon Reed; Fleetboston Robertson Stephens, Inc.; Lehman Brothers, Inc.; Merrill Lynch
& Co.; Prudential Securities Incorporated; RBC Dominion Securities; Robertson Stephens, Inc.;
UBS Warburg LLC; Volpe Brown Whelan & Company, LLC; Warburg Dillon Reed LLC; Next
Level Communications, Inc.; Kevin B. Kimberlin

In re Tickets.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6008 (SAS) (JES)
PLAINTIFFS

Zorn Associates; Zorn Parner; William Branch; Colin Cody; David Dekock; Abraham Eisen;
Jeffrey Fagal; Richard Husa; Jeffrey J ohnson; Andrew Le; Marilyn Silverman Mendell; Peter

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Siklos; Spencer Thomas; James Weeks; Richard Zorn

DEFENDANTS

Credit Suisse First Boston; E*Offering; Morgan Stanley; Morgan Stanley Dean Witter; Morgan
Stanley Dean Witter Online; S.G. Cowen Securities; Soundview Technology Group; Wit
Capital; Tickets.com; Chistos M. Cotsakos; Thomas Pascoe

In re Proton Energy Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6082 (SAS) (LAP)
PLAINTIFFS

George J. Buckowski; Nicholas P. Decourville; Goldplate Investment Partners Ltd.; Bette R.
Grayson as Trustee Under the Will of Florence Rosenman; Joe L. Hamner; Mark Marino; Brian
Middlekamp; Donna Procaccianti; Robert Procaccianti

DEFENDANTS

Credit Suisse First Boston Corp.; Morgan Stanley & Co., Inc.; Salomon Smith Barney, Inc.;
Proton Energy Systems, Inc.; John A. Glidden; Trent M. Molter; Walter W. Schroeder; Robert
W. Shaw, Jr.

In re InterNAP Network Services Corp. Initial Public Offering Sec. Litig., 01 Civ. 6084 (SAS)
(RMB)

PLAINTIFFS

Bernie Bernard; Alfred R. Eubanks; Tzvi Follman; Michael Genduso; Kenneth Gobetz; William
Gottesman; Nigel Grech; W. John Harwood; Selena Howard; William D. Malcomb; Wolfgang
Carl Mayer; Leonard Perlman; William Porter; Dale Scott; William Siegel; Leeroy Daniel
Sorenson; Jerry Tillem; George Weinroth

DEFENDANTS

BancBoston Robertson Stephens; Chase Securities; Credit Suisse First Boston; Dain Rauscher;
Deutsche Bank Securities; Donaldson Lufkin & Jenrette; FleetBoston Robertson Stephens;
Hambrecht & Quist; J.P. Morgan Chase; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley;
Morgan Stanley Dean Witter; Salomon Smith Barney; InterNAP; Charles M. Ortega

In re Network Plus Corp. Initial Public Offering Sec. Litig., 01 Civ. 6089 (SAS) (JES)
PLAINTIFFS

Richard S. Allegood; Narinder Grewal; Lynn MacFarlane; George Masidze; Michael Thoen
Stuart Werman

DEFENDANTS

Bear, Stearns & Co., Inc.; Credit Suisse First Boston Corporation; Donaldson Lufkin & Jenrette
Securities Corporation; Goldman Sachs & Co.; Lehman Brothers, Inc.; Merrill Lynch, Pierce,
Fenner & Smith Incorporated; Salomon Smith Barney, Inc; George Alex; James J. Crowley;
Robert L. Hale; Robert T. Hale, Jr.

In re Redback Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6090 (SAS) (SK)
PLAINTIFFS

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Yitzchak Ariel; Dominick Capuano; Victor Chehebar, Cheryl Follman; Tzvi M. Follman;
Stephen J. Greenberg; Aileen Haw; Jean Hephinger; William Hitchcock; Iris Hsu, Frank Kulesa;
Robert Lang; Moshe Lederman; Julie Moscove, George Murphy; Timothy J. Presi; Harvey A.
Schneider; Hindie Silver; Tectonic Fund; Yehudah Toiv; George S. Young; Michele L. Young

DEFENDANTS

Bancboston Robertson Stephens Inc.; Dain Raucher; Lehman Brothers Inc.; Morgan Stanley &
Co., Incorporated; Robertson Stephens, Inc.; Redback Networks, Inc.; Dennis L. Barsema;
Geoffrey C. Darby

In re TIBCO Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6110 (SAS) (MBM)
PLAINTIFFS

Raymond Agnello, Jr.; Jack and Sylvia Broad; J oseph J. Carrigan; Edward Clark; John Coleman;
Seymour Englard; Fremont Investment Advisors; Adam Jung; Philip Katz; Jerry Krim; Greg
Melheim; Martha Murcia; Miguel Murcia; Michael Peterson; Milton Pfeiffer; Peter Rosenblum;
J. Scott Scherer; Joan Sherman; Marc Sherman; William Gerard Short; Beata Spira; Vladimir
Spira, M.D., FAAP; Albert Tacornal; Patricia Tacornal; Marc Walraven

DEFENDANTS

BancBoston Robertson Stephens; Bear Stearns; Credit Suisse First Boston; Deutsche Banc Alex.
Brown; Deutsche Banc Securities; FleetBoston Robertson Stephens; Goldman Sachs; J.P.
Morgan Chase; S.G. Cowen Securities; TIBCO Software, Inc.; John J. Gaysom

Inre ON Semiconductor Corp. Initial Public Offering Sec. Litig., 01 Civ. 6114 (SAS) (LMM)
PLAINTIFFS

Joel Abrams; M. Lynn Atkinson; Terrance M. Bates; Moses Breuer; Philip Cohen; Ronald D.
Eddy; James Flyte; Louis and Sheila Friend - Friend Revocable Family Trust; Howard Frintner;
Fuller & Thaler Asset Management; Gary Goldberg; Patricia Griggs, Thomas A. and Mary Jane
Hanley; Kenneth Khoury; James H. Morris; Melinda Szafranski

DEFENDANTS

Chase Securities, Inc.; Credit Suisse First Boston Corporation; Fleetboston Robertson Stephens,
Inc.; JP Morgan Securities; Lehman Brothers, Inc.; Morgan Stanley & Co., Incorporated;
Robertson Stephens, Inc.; Salomon Smith Barney, Inc.; On Semiconductor Corporation (f/k/a
SCG Holding Corporation)

In re Integrated Information Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6120 (SAS)
(VM)

PLAINTIFFS

Piyush Bhargava; Aliza Brody; Jimmy K.V. Chin; Daniel J. Field; Carole Groux; Herry
Kurniawan; Donald Ormond; Anthony Peri, Suzanne Privette; Bruce Reynolds; Robert M.
Thacker

DEFENDANTS
Deutsche Bank Securities; FleetBoston Robertson Stephens; J.P. Morgan Chase; Legg Mason;

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Legg Mason Wood Walker; Lehman Brothers; Robert W. Baird & Co.; U.S. Bancorp Piper
Jaffray; Integrated Information Systems, Inc.

In re Rhythms Netconnections, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6128 (SAS)
(MGC)

PLAINTIFFS

Helen Z. Baker; Ismel Baker; John Brown; Chang Qing Cao; Yunsung Chuang; City of
Sacramento; Douglas Dydo; Frieda Elefant; Ralph Elefant; Sheldon Elefant; Fairland
Management Corp.; Gallucci Family Partnership; Stephen Greenberg; Jewish Board of Family
and Children’s Services Inc.; John Moscati; Manouchehr Mozageny; Milton Pfeiffer; Melissa
Pludo; Bradley Reich; Julian Rosenberg; Elaine Rubel; Thomas Paine Investments LP; John N.
Uhlmeyer; Glen Williams; Williams & Williams; Richard Zynda

DEFENDANTS

Bancboston Robertson Stephens, Inc.; BT Alex Brown, Inc.; Deutsche Banc Alex Brown Inc.;
Deutsche Bank Capital Corporation; Fleetboston Robertson Stephens, Inc.; Hambrecht & Quist,
LLC; JP Morgan Securities; Lehman Brothers, Inc.; Merrill Lynch, Pierce, Fenner & Smith
Incorporated; Robertson Stephens, Inc.; Salomon Smith Barney Inc.; Thomas Weisel Partners
LLC; Rhythms Netconnections Inc.; Scott C. Chandler; Kevin R. Compton; Keith B. Geeslin;
Catherine M. Hapka; Ken L. Harrison; Keith B. Mayer; Susan Mayer, William R. Stensrud; John
L. Walecka; Edward J. Zander

In re Extreme Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6143 (SAS) (RO)
PLAINTIFFS

Dominick Capuano; Susan M. DeMaio; Ray Doerr; Xuefei (Annie) Hui; Hai-Ning Hwang;
Richard Hwang; James J. Kobuki; James A. and Judith A. Lark; Edmund Olifers; Michael
Polselli; Pond Equities; Arthur Rubia; Thomas Thale; Robert Trinka; John G. Williams

DEFENDANTS

B.T. Alex. Brown; BancBoston Robertson Stephens; Dain Rauscher; Dain Rauscher Wessels;
Deutsche Bank Alex Brown; FleetBoston Robertson Stephens; Hambrecht & Quist; JP Morgan;
Lehman Brothers; Morgan Stanley; Morgan Stanley Dean Witter, RBC Dain Rauscher; S.G.
Cowen Securities; Thomas Weisel Partners; Extreme Networks, Inc.; Charles Carinalli; Stephen
Haddock; Promod Haque; William Kelly; Vito E. Palermo; George Prodan; Paul Romeo; Herb
Schneider; Harry Silverglide; Gordon L. Stitt; Peter Wolken

In re Epiphany, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6158 (SAS) (LMM)
PLAINTIFFS

Deb Belcore; Buenos Aires Seruwenos LLC; Richard Eichfeld; Daniel Kucera; Tectonic Fund;
Zia Uddin

DEFENDANTS
BancBoston Robertson Stephens; Credit Suisse First Boston; Merrill Lynch Pierce Fenner &
Smith; E.piphany, Inc.

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In re Portal Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6160 (SAS) (LAP)
PLAINTIFFS

Frank Bielanski; Robert Cole; James Dove; Wendell Flatter; Richard Haas, Buck D. Hallen;
Arthur Jansik; Jacob Kaiser; Daniel Kucera; Michael A. Spero; Bernd Toennesmann

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Credit Suisse First Boston Corp.; Donaldson, Lufkin &
Jenrette Securities Corp.; Goldman Sachs & Co.; Hambrecht & Quist, LLC; JP Morgan
Securities; Robertson Stephens, Inc.; Portal Software, Inc.

In re BSQUARE Corp. Initial Public Offering Sec. Litig., 01 Civ. 6216 (SAS) (HB)
PLAINTIFFS

Ari Fishoff ; Louis Kornman; Eddie Maiorino ; Andrew Rowley; Maurice Wilber; Paul
Zimmerman

DEFENDANTS
BancBoston Robertson Stephens; Credit Suisse First Boston; FleetBoston Robertson Stephens;
Hambrecht & Quist; J.P. Morgan Chase; Lehman Brothers; Bsquare Corp.

In re Chordiant Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6222 (SAS) (DAB)
PLAINTIFFS

Jimmy Ku Chin ; Mr. & Mrs. Gregory Katzman; Arkady and Rena Mavashev; Victor A Neel;
Thomas R. Stelter Trustee for the Thomas R. Stelter Declaration of Trust dated 1/31/92; Sarah
Weiss

DEFENDANTS
BancBoston Robertson Stephens; Dain Rauscher; FleetBoston Robertson Stephens ; Thomas
Weisel Partners; Chordiant Software, Inc.

In re McData Corp. Initial Public Offering Sec. Litig., 01 Civ. 6627 (SAS) (MGC)
PLAINTIFFS
Linda Berbusse; Walter Fogel; Robert Gutner; Sarah Lerner, Michael Urmess

DEFENDANTS

Bear, Stearns & Co., Inc.; Credit Suisse First Boston Corporation; Dain Rauscher, Inc.; Deutsche
Banc Alex Brown, Inc.; Deutsche Bank Capital Corporation; Fleetboston Robertson Stephens;
Merrill Lynch, Pierce Fenner & Smith Incorporated; RBC Dain Rauscher Inc.; Robertson
Stephens, Inc.; McData Corporation

In re Blue Martini Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6241 (SAS) (RCC)
PLAINTIFFS

Brenda and Salvatore Abbruzzino; Donna L. Davison; Kenneth Dillon; Piyali Ganguwy; Alo
Ghosh; Remy Girard; Iris Hsu; Xin Ju; Mohammad Khalaf; Maurice Philogene; Honoro Shapiro;
Joseph F. Simone; C. Strakaris, Glenn Tortoso; Ralph B. Wood

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DEFENDANTS
Dain Rauscher; Goldman Sachs; Thomas Weisel Partners ; U.S. Bancorp Piper J affray; Blue
Martini Software, Inc.

In re drkoop.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6242 (SAS) (VM)
PLAINTIFFS

Ned P. Brafford; Richard A. Brafford; Jimmy Chin; Glenn S. Davis; Raisa Gertsberg; Zachary
Maragoudakis; Jack Schwartz; Stourbridge

DEFENDANTS

B.T. Alex. Brown; Banc of America Securities; Bancboston Robertson, Stephens; Bear Stearns;
Deutsche Banc Alex Brown; FleetBoston Robertson Stephens; Goldman Sachs; Hambrecht &
Quist; J.P. Morgan Chase; Merrill Lynch Pierce Fenner & Smith; drkoop.com, Inc.; Jeffrey C.
Ballowe; Mardian Blair; G. Carl Jr. Everett; Susan M. Georgen-Saad; Donald W. Hackett;
Richard D. Helppie Jr.; C. Everett Koop; Louis Scalpati; Nancy L. Snyderman; John F. Zaccaro

In re Caldera Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6271 (SAS) (JSM)
PLAINTIFFS

Viola G. Archuleta for Ubaldo Gallegos; Eddison Andrews; Geraldine and Melvin Calhoun;
Tracey Calhoun; Hoover and Margaret Chew ; Peter Collias ; Shelly Couch; Milton Edwards ;
Claire Eff; Ubaldo Gallegos ; Michael Godin ; James Gregg; Niall Hynan, Sonne Jao ; Rachel
Johnson; Joseph Serpico Jr. ; Richard Signorelli ; George Weinroth; Philip Wieczorek

DEFENDANTS

Bear Stearns; First Security Van Kasper; FleetBoston Robertson Stephens; Soundview
Technology Group; Wells Fargo; Wells Fargo Van Kasper; Wit Soundview; Caldera Systems,
Inc.

In re iBasis, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6272 (SAS) (DC)

PLAINTIFFS

Arthur Bloom; Jimmy K.V. Chin; Robin Kwalbrun; Lieb Merkin, Inc.; Joan Manzione Custodian
for Justin Omary; Bartula Marek; David M. Mehalick; Sharon Merkin; Solomon N. Merkin;
Steven E. Smith; Ken Thomason; Lori Will

DEFENDANTS

BancBoston Robertson Stephens; FleetBoston Robertson Stephens; Hambrecht & Quist; J.P.
Morgan Chase; U.S. Bancorp Piper Jaffray; iBasis, Inc.; Izhar Armony; Charles N. Corfield;
Ofer Gneezy; Charles S. Houser; Michael J. Hughes; J ohn Jarve; Robert Maginn; Gordon J.
Vanderbrug

In re Ashford.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6275 (SAS) (DLC)
PLAINTIFFS

Congregation Mitza Meals Inc.; Luis Gomez; David Hess, George S. Jenkins IV; Mary Ellen
Kana; Daniel Karas; Suzanne Knohl; James Liapakis; Jorge Maercovich; Leland Putterman

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DEFENDANTS

BancBoston Robertson Stephens; Bank of America Securities; Dain Rauscher; Deutsche Banc
Alex. Brown; Deutsche Bank Securities; E*Offering; FleetBoston Robertson Stephens; Goldman
Sachs; Salomon Smith Barney; Wit Soundview; Ashford.com, Inc.

In re iManage, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6277 (SAS) (GEL)

PLAINTIFFS

James Brainard; Hing Shuen Chan; Chi Ming Cheung; Moshe Deutsche; Andrew Echman; Kuo-
Chi Feng; Edwin Juskiewicz; Manawendra Roy; Hung Szeto; Long Wan; Wang-Li Yen

DEFENDANTS
BancBoston Robertson Stephens; C.E. Unterberg Towbin; FleetBoston Robertson Stephens; U.S.
Bancorp Piper Jaffray; iManage, Inc.

Inre Terra Networks, SA Initial Public Offering Sec. Litig., 01 Civ. 6288 (SAS) (AKH)
PLAINTIFFS
Leon Adams; Todd Berkley; Laurence Bezirdjian; Richard Haas; George Murphy; Samuel Sinay

DEFENDANTS
Bear Stearns; Credit Suisse First Boston; Goldman Sachs; J.P. Morgan; J.P. Morgan Chase;
Lehman Brothers; Salomon Smith Barney; Terra Networks, SA

In re Mediaplex, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6301 (SAS)

PLAINTIFFS

Louis C. Arps; Michael Atlas; David Dargenzio; Philip De Limur; Robert DePalo; Michael
Erickson; Eliyohv Levovitz; Kamran Mashayekh; Paul and Hanh Nguyen

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Credit Suisse First Boston, Inc.; Donaldson Lufkin;
Fidelity Capital Markets, a Division of Natoinal Financial Services Corporation; Fleetboston
Robertson Stephens, Inc.; Hambrecht & Quist; JP Morgan Securities; Lehman Brothers; Lehman
Brothers Holdings, Inc.; Merrill Lynch, Pierce, Fenner & Smith, Incorporated; Robertson
Stephens, Inc.; SG Cowen Securities Corporation, US Bancorp Piper Jaffray, Inc.; Mediaplex,
Inc.; Valueclick, as Successor-in-Interest to Mediaplex

In re Clarent Corp. Initial Public Offering Sec. Litig., 01 Civ. 6322 (SAS) (RCC)

PLAINTIFFS

Charles W. Binford; Edward Cohill; Harvey Fleishman, International Brotherhood of Electrical
Workers Local 98; Bill Jenkins; Cynthia I. Jenkins; Wenjie Luo - 7317; Wenjie Luo - 7838;
Ciaran MacNeill; Gregory Mercurio ; Miriam Nadler, Milton Pfeiffer; Steven E. Smith; Scott A.
Starosta

DEFENDANTS
BancBoston Robertson Stephens; Credit Suisse First Boston, Deutsche Bank Securities;
FleetBoston Robertson Stephens; Hambrecht & Quist; J.P. Morgan Chase; Thomas Weisel

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Partners ; U.S. Bancorp Piper Jaffray; Clarent Corp.; Syaru Shirley Lin; Michael F. Vargo

In re Buy.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6323 (SAS) (RMB)
PLAINTIFFS

Joel Abrams; Mohammad Akhtar; Edward Augustine; Robert Berkowitz; Lance Bledsoe;
Bledsoe Family Trust; Leo & Jose Castillo; Nanette Combs; Rutherford Dawson; Goodman
Epstein; Richard Haas; Louis, Gerald and Robert Peruski; Pond Equities; Eran Roberts; Amir
Sahebi; Richard Taylor

DEFENDANTS

Bear Stearns; Deutsche Bank Securities; FleetBoston Robertson Stephens; Goldman Sachs;
Hambrecht & Quist; J.P. Morgan Chase; Merrill Lynch Pierce Fenner & Smith; Salomon Smith
Barney; U.S. Bancorp Piper Jaffray; Buy.com, Inc.

In re GoTo.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6339 (SAS) J SR)
PLAINTIFFS

Happy-Kat; Isaac Kassin; David Mehalick; Dante Monteverde; Melissa Pludo; The Rosenberg
Family Foundation

DEFENDANTS

BancBoston Robertson Stephens; Bank of America Securities, Bear Stearns; Credit Suisse First
Boston; Deutsche Bank Securities; DLJDirect; Donaldson Lufkin & Jenrette; FleetBoston
Robertson Stephens; Hambrecht & Quist; J.P. Morgan Chase; Lehman Brothers; Merrill Lynch
Pierce Fenner & Smith; Salomon Smith Barney; Thomas Weisel Partners; GoTo.com, Inc.;
Overture Services, Inc.

In re Webvan Group, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6365 (SAS) (KMW)
PLAINTIFFS

Brian Almashie; James August; Marek Bartula; Joseph Baumann; DJ Blair; Gene Dolzhansky;
Dennis Garrity; Saul Halpert; Daniel C. Irish; Toma Lefkovitz; Jeffrey Mankoff; Mytien Ngo;
Christopher J. O’Hanlon; Paul R. Robichaux; Michael Schmeltzer; Sara Soltan; The Taube
Family Trust

DEFENDANTS

BancBoston Robertson Stephens; Bear Stearns; Credit Suisse First Boston; Dain Rauscher;
Deutsche Banc Securities; Donaldson Lufkin & Jenrette; FleetBoston Robertson Stephens;
Goldman Sachs; J.P. Morgan Chase; Merrill Lynch Pierce Fenner & Smith; Salomon Smith
Barney; Thomas Weisel Partners; Louis H. Border; Kevin R. Czinger; Mark Holtzman; George
T. Shaheen; Robert Swan

In re Breakaway Solutions, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6397 (SAS) (VM)
PLAINTIFFS

CBZ Inc.; Tim Conners; Jerry Loew; John Longman, Gerald S. Platts; Mohammad and Shamim
Tariq; Leila M. Thompson

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DEFENDANTS
Deutsche Banc Securities; Lehman Brothers ; Morgan Stanley; Morgan Stanley Dean Witter;
Breakaway Solutions, Inc.; Gordon Brooks, Kevin Comerford; Christopher H Greendale

In re Viant Corp. Initial Public Offering Sec. Litig., 01 Civ. 6403 (SAS) (BSJ)

PLAINTIFFS

Michael Atlas; Dr. Daniel Burchfield; Rudolph Donocik; J effrey Greengrass; Yar W. Mociuk;
Kevin Peterson; Larry Santos; Dov Slater

DEFENDANTS
BancBoston Robertson Stephens; Credit Suisse First Boston, Deutsche Banc Securities;
Goldman Sachs; J.P. Morgan Chase; Lehman Brothers; Salomon Smith Barney; Viant Corp.

In re Transmeta Corp. Initial Public Offering Sec. Litig., 01 Civ. 6492 (SAS) (AGS)
PLAINTIFFS
Jerome Hammonds; Wayne T. Marks; Martin Robin; Jason John Schwarz.

DEFENDANTS

Banc of America Securities; Chase Securities; Dain Rauscher; Deutsche Banc Securities; JP
Morgan; Morgan Stanley; Morgan Stanley Dean Witter; S.G. Cowen Securities; Salomon Smith
Barney; Transmeta Corporation; Mark K. Allen; R. Hugh Barnes; Larry R. Carter; James N.
Chapman; David R. Ditzel; Murray A. Goldman; Douglas A. Laird; Merle A. McClendon; Paul
M. MeNulty; William P. Tai; T. Peter Thomas

Inre Critical Path, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6542 (SAS) (LMM)
PLAINTIFFS

William Bell; Gary Dowd; Mark Dresslar; Paul Flynn ; James Goldenetz; Rudy Kellerman ;
Steven Kohner; Terence C. Leeds; John Makepeace; Alexander Nehring; Jane Rieman ; Richard
Saik; Ken Stevens; Angela Thompson; Ezra Vance; William Warner

DEFENDANTS

BancBoston Robertson Stephens; Dain Rauscher; Dain Rauscher Wessels; First Albany
Companies; FleetBoston Robertson Stephens, Hambrecht & Quist; J.P. Morgan Chase; Morgan
Stanley; Critical Path, Inc.; David C. Hayden; Douglas T. Hickey; David A. Thatcher

In re Brocade Communications Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6613
(SAS) (BSJ)

PLAINTIFFS

Mary C. Bunting Trustee Bunting Family Rev Trust, Dominick Capuano; Han B. Chae ; Virginia
Fitzpatrick; Don Folse; John Gerald; Ernest Gottdiener; Yvonne Hamlin; Arvind Kumra, Robert
J. McCullen; Bruce McDonald; Khosrow Moayer; Rick Radliff; Gerald F. Ryan; James Schieda;
Patricia Stoyer

DEFENDANTS
BancBoston Robertson Stephens ; BT Alex. Brown; Dain Rauscher; Deutsche Banc Alex.

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Brown; FleetBoston Robertson Stephens; Morgan Stanley; Morgan Stanley Dean Witter; RBC
Dain Rauscher

In re OmniSky, Corp. Initial Public Offering Sec. Litig., 01 Civ. 6660 (SAS) (CLP)
PLAINTIFFS

Andrew Avilla; Floyd Benigni; James H. Bennett; Diane and Anthony Calderelli; Guy DeSimini;
Joseph P. Genco; Harry Kolassa; Louis Lagonik; Robert S. Lau; Patrick Murphy; Joseph
Palumbo; James Swearengin, Jr.; Daniel A. White

DEFENDANTS

Chase Securities, Inc.; Credit Suisse First Boston Corporation, as Successor-in-Interest to
Donaldson Lufkin & Jenrette Securities, Inc.; Donaldson Lufkin & Jenrette Securities
Corporation; Fleetboston Robertson Stephens, Inc.; JP Morgan Securities; Merrill Lynch, Pierce,
Fenner & Smith, Inc.; Robertson Stephens, Inc.; Salomon Smith Barney, Inc.; Omnisky, Corp.;
Michael J. Malesardi; Patrick S. McVeigh; Lawrence S. Winkler

In re Liquid Audio, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6661 (SAS) (MBM)
PLAINTIFFS
Kathy Demetriades ; Jeff Eltinge; Irwin Karassik; Murowa Financial; Howard Ree

DEFENDANTS

BancBoston Robertson Stephens; Credit Suisse First Boston; Dain Rauscher Wessels; Fidelity
Capital Markets; FleetBoston Robertson Stephens; Lehman Brothers; U.S. Bancorp Piper
Jaffray; National Financial; Liquid Audio, Inc.

In re Neoforma.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6689 (SAS) (AKH)
PLAINTIFFS

George J. and Katharine V. Alexander; Saswata Basu, Cong. Germilas Keren; Gerald Platts;
Glenn Stept

DEFENDANTS
Bear Stearns & Co., Inc.; Merrill Lynch, Pierce, Fenner & Smith Incorporated; Robertson
Stephens, Inc., f/k/a/ Fleetboston; Neoforma.com, Inc.

In re Airspan Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6747 (SAS) (JES)
PLAINTIFFS

David Irving Cohen; Timothy Keller; Richard Le Vien; Brian Middlekamp; Pond Equities;
Satagopan Rajogopalan; Candida Sa

DEFENDANTS
Bear Stearns; Credit Suisse First Boston; Deutsche Bank Alex. Brown; Lehman Brothers; U.S.
Bancorp Piper Jaffray; Airspan Networks, Inc.

In re MatrixOne, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6757 (SAS) (HB)
PLAINTIFFS

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Michael Bernstein; Colbert Birnet; Raymond Doerr; Robert Holmes; Billy Vincent; Gary
Whittinghill

DEFENDANTS
Dain Rauscher Incorporated; Goldman, Sachs & Co.; RBC Dain Rauscher Inc.; Soundview
Technology Group, Inc.; US Bancorp Piper Jaffray Inc.; Wit Soundview Corp.; Matrixone, Inc.

In re WebMD (f/k/a Healtheon) Initial Public Offering Sec. Litig., 01 Civ. 6768 (SAS) (MGC)
PLAINTIFFS

Laila Abdelnour; Larry Ackerman; G Alagiri; Marc Baroudi; BMC Investments; Kory Bostwick;
Helene Brody; Jimmy K.V. Chin; Patricia Del Pino; Louis Feniger, David Hon; Dorothy Coven
Ira; Israel Kohn; Ganapathy S. Krishnamurthy; Herbert Silverberg; Albert J. Von Holt

DEFENDANTS
Goldman Sachs; Hambrecht & Quist; J.P. Morgan Chase; Morgan Stanley; Morgan Stanley
Dean Witter; WebMD Corporation

In re Lionbridge Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6770 (SAS)
PLAINTIFFS
Paul Dabill; Bernard Gateau; Claire Lubowicki; Andrew Samet

DEFENDANTS
Adams Harkness & Hill; Prudential Securities U.S. Bancorp Piper Jaffray; Robertson Stephens,
Lionbridge Technologies, Inc.

In re GRIC Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6771 (SAS) (HB)
PLAINTIFFS

Colbert Birnet; Joseph Fanara; Sanjay Israni; Northern Capital Holdings; Gerald Platts; Gabriel
Poloni; Glenn Tortoso; William Yates

DEFENDANTS

CIBC World Markets; Deutsche Bank Securities; Prudential Securities; U.S. Bancorp Piper
Jaffray; GRIC Communications, Inc.; Hong Chen; Roger L. Pierce; Kim S. Silverman; David
Teichmann; Joseph M. Zaelit

In re Eloquent, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6775 (SAS) (DAB)

PLAINTIFFS

Marek Bartula; Rita M. Bowman; John W. Cline; Consolidated Transfer & Warehouse Co., Inc.;
Jeffrey Diamond; Dennis R. Hollerman; Pond Equities; Robert L. Winsky Trust; Zitto
Investments Inc.

DEFENDANTS

Bank of America Securities; FleetBoston Robertson Stephens; Lehman Brothers; Morgan
Stanley; Salomon Smith Barney; Thomas Weisel Partners, U.S. Bancorp Piper Jaffay; Eloquent,
Inc.

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In re Perot Systems Corp. Initial Public Offering Sec. Litig., 01 Civ. 6820 (SAS) (AGS)
PLAINTIFFS

Seth Abrams; Mike Burgauer ; Adrian Chin; Robinson Radiology Ltd Profit Sharing Plan and
Trust

DEFENDANTS

Bear Stearns & Co., Inc.; Hambrecht & Quist, Inc.; JP Morgan Securities Inc.; Merrill Lynch
Pierce Fenner & Smith Inc.; Morgan Stanley Dean Witter, Inc.; Salomon Smith Barney, Inc.;
UBS Warburg LLC; Warburg Dillon Read, LLC; Perot Systems Corporation

In re Stratos Lightwave, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6821 (SAS) (RO)
PLAINTIFFS
Larry Blisko; Jimmy K. Chin ; Daniel Kucera, Ari Mandel; Mrs. Alice Paulin; Dr. Claude Paulin

DEFENDANTS

Banc of America Securities LLC; Bear, Stearns & Co. Inc.; CIBC World Markets; Fidelity
Capital Markets, Inc.; Fleetboston Robertson Stephens, Inc.; JP Morgan Securities; Lehman
Brothers, Inc.; Morgan Stanley Dean Witter & Co. Incorporated; Robert W. Baird & Co.
Incorporated; Robertson Stephens, Inc.; Tucker Anthony Clearly Gull, Inc.; US Bancorp Piper
Jaffray, Inc.; Statos Lightwave, Inc.; Arnold Chase; James W. McGinley; William J. McGinley;
David A. Slack

In re Kana Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6822 (SAS) (RO)
PLAINTIFFS

Catu, Ltd.; Simon Cooper; Peter Gelfand; Jon Hirsch, Abraham Kassin; Saul Kassin; Jozsef
Lorine; David Mehalick; Irving Rabiner; Dana Ross

DEFENDANTS

Goldman Sachs; Hambrecht & Quist; J.P. Morgan Chase, Lehman Brothers; Wit Capital;
Soundview Technology; Kana Software, Inc.; Mark S. Gainey; J oseph D. McCarthy; Michael J.
McCloskey

In re Microtune, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6823 (SAS)
PLAINTIFFS
Michael Atlas; Michael Berger; Ellis Investments Ltd.; Charles McFadden; Joan Trafficanta

DEFENDANTS
Bear Stearns & Co., Inc.; Chase; Goldman Sachs & Co.; JP Morgan Securities; Salomon Smith
Barney Inc.; SG Cowen Securities Corporation; Microtune, Inc.; Bartek Douglas; Rogers Everett

In re Bottomline Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6824 (SAS) (LAP)

PLAINTIFFS
Benson W. Campbell, Jr.; Paul Cyrek; Stephen Mountain; Roy Newton; Lori Will

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DEFENDANTS
BancBoston Robertson Stephens; CIBC World Markets; Deutsche Banc Alex. Brown;
FleetBoston Robertson Stephens; J.P. Morgan Chase, Bottomline Technologies, Inc.

In re Autobytel.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6825 (SAS) (DAB)
PLAINTIFFS

Quentin Anderson; Vivian Bernstein; James Broz; Joseph Calcaterra, Jr.; David Hofffiman ;
Abraham Kassin; Gary W. and Suzanne Kurtz; J oel C. Leutsch; David and Mary Mucci; Melissa
Pludo; Lynne Helene Sinay

DEFENDANTS

Bear Stearns; Credit Suisse First Boston; Deutsche Bank Alex. Brown; Goldman Sachs; Lehman
Brothers; Lehman Brothers Holdings; Morgan Stanley, Morgan Stanley Dean Witter; Salomon
Smith Barney; Salomon Smith Barney Holdings; UBS Painewebber; UBS Warburg Long Term
Disability Plan; Autobytel.com, Inc.

In re Concur Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6828 (SAS) (KMW)
PLAINTIFFS

Robert Baker; Jeff Brandes; Richard Cavallaro; Jesse Houston; Edward Howden; John Leet;
Joey Rosario; Gerald Platts; Sarah Weiss

DEFENDANTS

BancBoston Robertson Stephens; First Albany Companies; FleetBoston Robertson Stephens;
Hambrecht & Quist ; J.P. Morgan Chase; Piper J affray; Prudential Securities; U.S. Bancorp
Piper Jaffray; Volpe Brown Whelan; Concur Technologies, Inc.; Michael W. Hilton; S. Steven
Singh; Sterling R. Wilson

In re iBeam Broadcasting Corp. Initial Public Offering Sec. Litig., 01 Civ. 6842 (SAS) (RCC)
PLAINTIFFS
Joel Abrams; Frank Baker; Richard L. Gay; Debby Hirschhorn; Jerry Krim; Paul W. Roth

DEFENDANTS
Bear Stearns; FleetBoston Robertson Stephens; J.P. Morgan Chase; Morgan Stanley; Morgan
Stanley Dean Witter; Robertson Stephens; iBeam Broadcasting Corp.; Peter Desnoes; Chris Dier

In re Starmedia Network, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6846 (SAS) (WK)
PLAINTIFFS

Earl Arneson; BH Holdings LLC; Tom Calhoun; Kelly P. Day, The Day Family; Wallace S.
DePuy; John Deutzman; Wendy Deutzman; Joseph Diamant; Mark Fennel; Tzvi Follman; The
Gadol Interests; James R. Gross; Michael Howe; Ivan Kaufman; Bart Lloyd; John R. Longman,
Michael Mangan; Douglas Primrose; Rennel Trading Corp.; Arlene Scolnik; Willard Scolnik;
Everett Shekleton

DEFENDANTS
Bancboston Robertson, Stephens Inc.; Credit Suisse First Boston, Inc.; Donaldson Lufkin;

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E*offering Corp; Goldman Sachs Group, Inc.; Goldman, Sachs & Company, Hambrecht &
Quist; JP Morgan & Co.; JP Morgan Chase & Co.; Merrill Lynch, Pierce, Fenner & Smith;
Morgan Stanley & Co., Incorporated; Morgan Stanley Dean Witter & Co.; Robertson Stephens,
Inc.; Salomon Smith Bamey, Inc.; Salomon Smith Barney Holdings, Inc.; Soundview
Technology; Thomas Weisel Partners LLC; Starmedia Network, Inc.; Jack C. Chen; Fernando J.
Espuelas; Steven J. Heller

In re Smartdisk Corp. Initial Public Offering Sec. Litig., 01 Civ. 6870 (SAS) (MGC)
PLAINTIFFS
Howard R. Barto; Colbert Birnet; Barry Feldman; Les W. Robbins; Ricky Yan

DEFENDANTS

Bancboston Robertson, Stephens Inc.; Hambrecht & Quist LLC; JP Morgan Securities;
Robertson Stephens, Inc.; US Bancorp Piper Jaffray, Inc.; Smartdisk Corporation; Michael S.
Battaglia; Addison M. Fischer; Michael R. Mattingly

In re Loudeye Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6872 (SAS) (RCC)
PLAINTIFFS

Ranjit Ahuja; Philip K. Bryan; Jason Calabrese; J oseph A. Fischetti, Jr.; David Gambini; Vincent
Hartmann; Harold E. Hoffman, Jr.; Jacob Kempler; Arthur Levine; Dolores A. Stevenson; Elmer
F. Stevenson; Joseph Treglia; Kathleen Treglia

DEFENDANTS
Chase Securities; CIBC World Markets; FleetBoston Robertson Stephens; J.P. Morgan Chase;
Loudeye Technologies, Inc.

In re OTG Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6873 (SAS) (DC)
PLAINTIFFS

Desaree Arlene David; Mark A. Fogelman; Alexander Kouprievitch; James Lewis; David
Moriarty; Jonathan P. Nelson; Zahava Rosenfeld

DEFENDANTS

Credit Suisse First Boston Corporation; DB Alex Brown, as Successor-in-Interest to Deutsche
Bank; Deutsche Bank Securities, Inc.; Fleetboston Robertson Stephens, Inc.; Friedman, Billings,
Ramsey & Co.; Robertson Stephens, Inc.; Salomon Smith Barney Inc.; SG Cowen Securities
Corporation; OTG Software, Inc.; F. William Caple, Richard A. Kay; Ronald W. Kaiser

In re Digital Island, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6887 (SAS) (AGS)
PLAINTIFFS

Collegeware USA, Inc.; Fred Alfano; Julian Carroll; Philip Chick; Wallace Clark, Gunter Deppe;
Jane Griffith; Christopher George; Kenneth Griffith, Andrea Jones; Abraham Kassin; Gleb
Klyuzner; Jerry Krim; Bart Lloyd; David Mehalick; Carla Monroe; Masary Sakamoto, Abraham
Slomovics; Sheldon Torn

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DEFENDANTS

Banc of America Securities; BancBoston Robertson Stephens; Bear Stearns; Dain Rauscher;
Deutsche Banc Alex. Brown; Deutsche Bank Securities; FleetBoston Robertson Stephens;
Goldman Sachs; Hambrecht & Quist; J.P. Morgan Chase, Lehman Brothers; Merrill Lynch
Pierce Fenner & Smith; Thomas Weisel Partners; Digital Island, Inc.

In re Avanex Corp. Initial Public Offering Sec. Litig., 01 Civ. 6890 (SAS) (DLC)
PLAINTIFFS

Ryan Beveridge; Clayton Blaney; Robert Gutner; International Brotherhood of Electrical
Workers Local 98; Chanoch Kamelhar; Barbra Mcfarland ; George Murphy; Richard Palladino

DEFENDANTS
FleetBoston Robertson Stephens; Lehman Brothers; Morgan Stanley; Morgan Stanley Dean
Witter; U.S. Bancorp Piper Jaffray; Avanex Corp.

In re ITXC Corp. Initial Public Offering Sec. Litig., 01 Civ. 6892 (SAS) (NRB)

PLAINTIFFS

Mitchell Bloch; Patrick Beckx; Barry Willis Carlman; Nathan Cosnowsky; Marie Dravin; Marc
Gelman; Herman Miller; Cary Savitz; Su Shiying; Allan H. Sklar, Edward Smyth; Anthony S.
Undorf

DEFENDANTS

CIBC World Markets; Credit Suisse First Boston; Deutsche Bank Alex. Brown, First Analysis
Securities; FleetBoston Robertson Stephens; J.P. Morgan Chase; Lehman Brothers; Merrill
Lynch Pierce Fenner & Smith; Donalson Lufkin; Hambrecht & Quist; ITXC Corp.

In re Vicinity Corp. Initial Public Offering Sec. Litig., 01 Civ. 6906 (SAS)
PLAINTIFFS
Robert Elkas; Stephen Inglis; MBH Inc.; William Meier, William A. Spehr

DEFENDANTS
Bear Stearns; Dain Rauscher; J.P. Morgan Chase; J.P. Morgan Securities; Thomas Weisel
Partners; U.S. Bancorp Piper Jaffray; Vicinity Corp.; Arnold Chase

In re Fairmarket, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6948 (SAS) (GBD)
PLAINTIFFS

David Eric Blackwell; Jimmy K.V. Chin; Adam Connery; Michael Cunnane; Ohel Shlomo Dov;
Emily H. Dudley ; Tan Van Ho; Maria A. McHugh, Sujan Pradhan; Walter F. Sabroski

DEFENDANTS

Banc of America Securities; Deutsche Banc Alex Brown; Deutsche Bank Securities; FleetBoston
Robertson Stephens; Goldman Sachs; J.P. Morgan Chase; Merrill Lynch Pierce Fenner & Smith;
Salomon Smith Barney Holdings; U.S. Bancorp Piper Jaffray; Hambrecht & Quist; Fairmarket,
Inc.

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In re RoweCom, Inc. Initial Public Offering Sec. Litig., 01 Civ. 6950 (SAS)

PLAINTIFFS

Joel Abrams; Anthony Carrubba; Congregation Shmiel Vyakov #2; Abraham Kassin; Kenneth
Reichle; Abraham Slomovics

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; BT Alex Brown; CIBC World Markets Corp.; DB Alex
Brown, as Successor-in-Interest to BT Alex Brown, Deutsche Bank Alex Brown, Inc.; Devine,
Inc.; Fleetboston Robertson Stephens, Inc.; JP Morgan Securities Inc.; Prudential Securities
Incorporated; Robertson Stephens, Inc.; Salomon Smith Barney, Inc.; Volpe Brown Whelan &
Company, LLC; Rowecom, Inc.; Louis Hernandez, Jr.; Richard Rowe

In re Cybersource Corp. Initial Public Offering Sec. Litig., 01 Civ. 7000 (SAS)
PLAINTIFFS

Leon Goldstein; Stephen Greenberg; Brian Mohr; Melissa Pludo ; Javad Samadi; Nicolas
Wallaert

DEFENDANTS

BancBoston Robertson Stephens; C.E. Unterberg Towbin; FleetBoston Robertson Stephens;
Goldman Sachs; J.P. Morgan Chase; Merrill Lynch Pierce Fenner & Smith; UBS Painewebber;
UBS Warburg; Cybersource Corp.

In re Equinix, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7002 (SAS)
PLAINTIFFS
Walter Challenger - BC, Inc.; Steven Hoffman; Avi Mandel; Mark Willson; Robin Willson

DEFENDANTS
Chase Securities; Epoch Partners; Goldman Sachs; JP Morgan; Lehman Brothers; Salomon
Smith Barney; Equinix, Inc.

In re Global Crossing, Ltd. Initial Public Offering Sec. Litig., 01 Civ. 7023 (SAS)
PLAINTIFFS

Salvatore & Brenda Abbruzzino; Robert Adams; Seth Atwood; Bob Belk; Pamela Bienenstock;
Marguarite Burkholder; Carl Bush; Samuel H. Caruso Jr.; Louis Capilino; Merle Davis; Joyce
Dunn; John Ellie; Kent Bradford Ellis; Fred Evans; James Fara; E. L. Fike; Peter Fyhrie;
Anthony Gingello; Valerie Gingello; Richard Horne; Phillip Jacob; Paul Kuklinski; Richard and
Barbara Laner IRA Revocable Trust; Gregory Lawton; Luann Lawton; J onathan K. Lawton,
Lawrence W. Lawton-Executor of Estate of Johanna A. Lawton; Joseph C. Loschiavo; Bernard
McAllister; Joseph A. and Leora A. Mollo; George Murphy; Lewis Nadler; Lillian Nadler;
Marcia Nadler; Steven Nadler; Gadasan Negash; Paul Piekara, Melissa Pludo; Branko Polak;
Paul Rosenfeld; Pravin G. and Anjana Sampat; Philip Schecter; Jacque Soiret; Jeffrey T. Smith;
Jennie Stanbro: Michael Stanbro; Robert Sullivan; Katharine Lee Tucker; Ronald Wambolt;
Nancy Weld; Wayne Weld; Mordecai Weinstein; George Zicarelli; Murray Zucker

DEFENDANTS

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Bear Stearns; BT Alex Brown; Chase Hambrecht & Quist; CIBC Oppenheimer Corp.; CIBC
World Markets Corp.; Credit Suisse First Boston; Deutsche Banc Alex. Brown; Deutsche Bank
Securities; DLJ Direct, Inc.; FleetBoston Robertson Stephens; Goldman Sachs; Hambrecht &
Quist; J.P. Morgan Chase; Lehman Brothers; Merrill Lynch Pierce Fenner & Smith; Morgan
Stanley; Morgan Stanley Dean Witter; Salomon Smith Bamey;, Frontier Corporation; Global
Crossing, Ltd.; Jay R. Bloom; Abbott L. Brown; J oseph P. Clayton; Dan J. Cohrs; Lodwrick
Cook; James Gorton; Rolla P. Huff; Dean C. Kehler; David L. Lee; Jay R. Levine; William D.
Phoenix; Barry Porter; Bruce Raben; John M. (Jack) Scanlon; Michael R. Steed; Hillel
Weinberger; Gary Winnick

In re Net2Phone, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7028 (SAS)
PLAINTIFFS
William Gray; Robert Gutner; James Kotsopoulos, Malka Kugelman; Donald W. Rinaldo, Jr.

DEFENDANTS

Bancboston Robertson Stephens; Bear, Stearns & Co., Inc.; Bear Stearns & Co., Inc.; BT Alex
Brown Incorporated; Deutsche Banc Alex Brown Inc.; Deutsche Bank Securities, Inc.;
Donaldson, Lufkin & Jenrette Securities Corporation; Goldman Sachs & Co.; Hambrecht &
Quist, LLC; JP Morgan Securities; Morgan Stanley & Co.; Robertson Stephens, Inc.;
Net2Phone, Inc.; Clifford M. Sobel

In re Looksmart, Ltd. Initial Public Offering Sec. Litig., 01 Civ. 7030 (SAS)

PLAINTIFFS

T. Michael Chaves; Walter Finnegan; Bernard Grizzaffi; Stanley Lindon, Bart Lloyd; Robert
Nazario

DEFENDANTS
BancBoston Robertson Stephens; Goldman Sachs

In re OpenTV Corp. Initial Public Offering Sec. Litig., 01 Civ. 7032 (SAS)

PLAINTIFFS

Yuim Aaronson; John Abbamondi; Thaddeus & Gertrude Andrews; Marek Bartula; Helen
Brody; Zheng Cao; Alhan Evrim; Salvatore Giordano; Abraham Kassin; Susan Laguardia; Leslie
Ogilvie; Pejman Sabet; Leonard Tannenbaum; Steven Tannenbaum; Ephraim Varshovsky

DEFENDANTS
Merrill Lynch, Pierce, Fenner & Smith Incorporated; Thomas Weisel Partners LLC; Opentv
Corp.

In re Handspring, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7033 (SAS)

PLAINTIFFS

Salvatore & Brenda Abbruzzino; Imagene Fawcett and Gregory Fawcett; Ezra Graber; Thomas
F. Keener; Jeorges Levy; Judith Peck

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DEFENDANTS

Bear Stearns; Credit Suisse First Boston; Donaldson Lufkin & Jenrette; J.P. Morgan Chase;
Merrill Lynch; Merrill Lynch Pierce Fenner & Smith; U.S. Bancorp Piper Jaffray; Handspring,
Inc.

In re McAfee.com Corp. Initial Public Offering Sec. Litig., 01 Civ. 7034 (SAS)
PLAINTIFFS

Donald Attfield; Philip Attfield; Jacqueline Bragin; Peifen Carroll; Colbert Birnet LP; Henry
Cole; Paul Lightbody; Bruce Perelman ; John J. Primeau Sr.

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Fleetboston Robertson Stephens, Inc.; Hambrecht &
Quist; JP Morgan Securities; Morgan Stanley & Co., Inc.; Robertson Stephens, Inc.;

McA fee.com Corporation

In re Netro Corp. Initial Public Offering Sec. Litig., 01 Civ. 7035 (SAS)

PLAINTIFFS

Zion Badichi; John E. Bryant; Christian and Judith Grubb; Robert Gutner; James B. Hilmerson,
Sr.; Jim J. Hilmerson; Arogyaswami Joseph J aganathan; Robert H. Hoffman; Norman & Mary
Ann Martindale; Michael S. Palmer; Ramiro Soto-Gonzalez

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Dain Rauscher, Inc.; Goldman Sachs; Lehman Brothers,
Inc.; Merrill Lynch, Pierce, Fenner & Smith Incorporated; Robertson Stephens Inc.; Robertson
Stephens, Inc.; Netro Corporation, Inc.

In re FreeMarkets, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7039 (SAS)

PLAINTIFFS

Ann-Margaret Anselmo; Rolando A. Borromeo, Charles Bower; Benjamin H. Chan; J. Gregory
Chisholm; Eric Chou; Richard Coombs; Michael Cunnane; Kevin Durfee; Lawrence Greenberg;
Richard Hart; Shoshana Hirsch; Sik-Lin Huang; Jack J argowsky; Saul Kassin; Vinay Kothari;
Dale Kruse; Michael Lang; Masoumeh H. McCarthy; Thomas McGregor Leaver, Mohammed A.
Namvar; Elsie Reilly Nelson; Charles Joseph Pettit; Maynard M. Scharr; David Shalom, Melvin
L. Shrawder; Jerry Steffey; Joyce T. Wallace; David Winters

DEFENDANTS

Credit Suisse First Boston; Deutsche Bank Securities; Donaldson Lufkin & Jenrette, FleetBoston
Robertson Stephens; Goldman Sachs; Morgan Stanley; Morgan Stanley Dean Witter; Lehman
Brothers; Freemarkets, Inc.; Scott T. Randall; John Belchers

In re Commtouch Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7044 (SAS)
PLAINTIFFS
Globe Corporation; Brenda Wright

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DEFENDANTS
Prudential Securities; Robertson Stephens; U.S. Bancorp Piper Jaffray; Warburg Dillon Read

In re Lante Corp., Inc. Initial Public Offering Sec. Litig., 01 Civ. 7046 (SAS)
PLAINTIFFS
Saswata Basu; Robert Malafronte

DEFENDANTS
Credit Suisse First Boston; Deutsche Bank Securities, Thomas Weisel Partners, Lante Corp., Inc.

In re FirePond, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7048 (SAS)

PLAINTIFFS

Fred Barrett; Larry Blisko; James E. and Diane C. Collins; David Mehalick; Joseph Zhen; Zitto
Investments

DEFENDANTS
Dain Rauscher; FleetBoston Robertson Stephens; S.G. Cowen Securities; FirePond, Inc.

In re Marvell Technologies Initial Public Offering Sec. Litig., 01 Civ. 7053 (SAS)
PLAINTIFFS
Joseph P. Genco; Richard Hart; Martin Kenney

DEFENDANTS
Goldman Sachs & Co Inc.; JP Morgan Securities Inc.; Lehman Brothers Inc.; Robertson
Stephens, Inc.; Marvell Technology Group, Ltd.

Inre F5 Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7055 (SAS)

PLAINTIFFS

Michael Atlas; Harvey Barton; Diana H. Brown ; William Daniels; Robert Genco; Joon K. Ho;
Thomas Kenney; Gleb Klyuzner; James Kotsopoulos; Christopher Carlo Rocca; Linda M. Lee;
Zhongming Wu; Mei A. Yong; Harry Zelnick

DEFENDANTS

B.T. Alex. Brown; Bear Stearns; Credit Suisse First Boston, RBC Dain Rauscher; Dain Rauscher
Wessels; Deutsche Banc Alex Brown; FleetBoston Robertson Stephens; J.P. Morgan Chase; J.P.
Morgan H & Q; Salomon Smith Barney; Bancboston Robertson Stephens; Donaldson Lufkin; F5
Networks, Inc.

In re Aspect Medical Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7090 (SAS)
PLAINTIFFS

Virginia Anderson; Samuel Berger, Edward Belinski; Linda Caldwell; Cindy Fabiano; Joseph
Fisher; Susan Gill; David Landsberg; Leonard Peddy; Sandra Phillips; Susan Williams

DEFENDANTS
Morgan Stanley

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In re Delano Technology Corp. Initial Public Offering Sec. Litig.,01 Civ. 7180 (SAS)
PLAINTIFFS

Ellis Investments Ltd.; David Ferguson; Louis G. Mauro; John F. O'Hern; Joe Scavuzzo; Wendy
Scavuzzo; Alan Shapiro; Adam Peter Stone; Dianne Strauss; Dianne Strauss FBO J. Stauss

DEFENDANTS
FleetBoston Robertson Stephens; U.S. Bancorp Piper Jaffray; Delano Technology Corporation

In re Storage Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7181 (SAS)
PLAINTIFFS

Michael Atlas; C. Felice Boewe; Bertha H. Brown; Jean D. Hart; Robert J. Hart; Thomas R.
Heidenthal; Brenda Kositzka; Lloyd Olsen; Brian Ratte; Sayed Akbar Sadat; Sherri Sheridan; Jui
Miao Wang; Michael J. Weiss; William Whalen

DEFENDANTS

Chase; Credit Suisse First Boston Corporation; Goldman, Sachs & Co.; JP Morgan Chase & Co.;
Salomon Smith Barney, Inc.; Thomas Weisel Partners LLC; Storage Networks, Inc.; Peter W.
Bell; Paul C. Flanagan; William D. Miller

In re Modem Media, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7201 (SAS)

PLAINTIFFS

Tim Anderson ; Sandra Bauman; Nelson Chang; Ronald Dee; Rudolf M. Donocik; Ronnie O.
Enfinger; Jerry Gisclair ; James Hosick Jr.; George S. Johnson; William R. Lundy, Jr.; Michael
Mather ; Abraham Neiger; David Ryan ; Keith Schwacha ; Devin Wilson

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Bank of America Securities LLC; Bear Stearns & Co Inc.;
Morgan Stanley Dean Witter & Co.; Nationsbanc Montgomery Securities LLC; Robertson
Stephens Inc.; Robertson Stephens Inc.; Modem Media, Inc.; Robert Allen, II; Gerald M.
O’Connell; Steven C. Roberts

In re Medicalogic, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7226 (SAS)
PLAINTIFFS
Blime Feldheim; Sidney L. Jarvis

DEFENDANTS

Bancboston Robertson, Stephens Inc.; Credit Suisse First Boston Corp.; as Successor-in-Interest
to Donaldson Lufkin & Jenrette Securities, Inc.; DLJDirect Inc.; Donaldson, Lufkin & Jenrette,
Robertson Stephens, Inc., as Successor-in-Interest to Bancboston Securities Corporation; US
Bancorp Piper Jaffray Companies Inc.; Medicalogic, Inc.; Mark K. Leavitt; Frank J. Spina

In re TheGlobe.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7247 (SAS)

PLAINTIFFS
Gerald Baldino; Ann Barcellona; Siney Ginsberg; Ed Haddad; Krikor Kasbarian; Mark

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Fleszenski; Valerie Kofsky; Burt Marland; Moshe Miller, Robert Rischmiller; Lynne Sinay;
Stourbridge Investments Ltd.; Troy Trahan

DEFENDANTS

Bear Stearns; Bear Stearns & Co Inc.; Credit Suisse First Boston; Donaldson Lufkin & Jenrette
Securities; Hambrecht & Quist; J.P. Morgan Chase; Prudential Volpe Technology Group; Volpe
Brown Whelan; TheGlobe.com, Inc.

In re Preview Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7279 (SAS)
PLAINTIFFS
Ellis Investments Ltd.; Saul Kassin

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Dain Rauscher Incorporated; RBC Dain Rauscher Inc.;
Robertson Stephens, Inc.; Soundview Technology Group, Inc.; Wit Soundview; Preview
Systems, Inc.; Vincent Pluvinage; G. Bradford Solso

In re Niku Corp. Initial Public Offering Sec. Litig., 01 Civ. 7280 (SAS)
PLAINTIFFS
Michael Atlas; Ellis Investments Ltd.; Kenneth J. Goffreda; Robert T. Nelson; Leo Wolanin

DEFENDANTS

Bear, Stearns & Co., Inc.; Dain Rauscher Incorporated; Deutsche Banc Alex Brown; Deutsche
Bank Capital Corporation; Goldman Sachs & Co.; RBC Dain Rauscher Inc.; Robertson
Stephens, Inc.; Thomas Weisel Partners, LLC; US Bancorp Piper Jaffray, Inc.; Niku Corp.

In re NetSilicon, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7281 (SAS)
PLAINTIFFS
Ellis Investments Ltd.; Patrick Miller; Michael Rasner; Walter Weitz

DEFENDANTS
CIBC World Markets; H&Q; JP Morgan Securities, as Successor-in-Interest to H&Q; US
Bancorp Piper Jaffray, Inc.; Netsilicon, Inc.; Osicom Technologies, Inc.

In re Nuance Communications Inc. Initial Public Offering Sec. Litig., 01 Civ. 7344 (SAS)
PLAINTIFFS
Michael Atlas; Carla Carrabino; John Gulizia; Gabriel Schneider

DEFENDANTS

Credit Suisse First Boston Corporation; Dain Rauscher, Inc.; Goldman Sachs & Co.; Merrill
Lynch, Pierce, Fenner & Smith Incorporated; Soundview Technology; Thomas Weisel Partners
LLC; Wit Soundview Group, Inc.; Nuance Communications, Inc.

In re Digital River, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7355 (SAS)
PLAINTIFFS

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Charles Deering; Vincent T. Ferrer; Fremont Gruss, John Moy; Anthony Nicolois; Boris
Prokhorenko; Ahmed Tariq; Richard S. Van Heel; William Whalen; Gregory F. Wydysh

DEFENDANTS

B.T. Alex. Brown; Bancboston Robertson, Stephens; BancAmerica Robertson Stephens; Bear
Stearns; Credit Suisse First Boston; Dain Rauscher; Deutsche Banc Alex. Brown; FleetBoston
Robertson Stephens; Digital River, Inc.

In re SciQuest.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7415 (SAS)

PLAINTIFFS

Marek Bartula; John A. Berton - Berton Family Trust; David E. Busel; Phyllis J. Busel; Michael
Erickson; Patricia (Pat) Figuerido; Moses Kaiser; Morris Kassin-Collegeware USA; Robert
Wallace

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Bear, Stearns & Co.; Credit Suisse First Boston Corp., as
Successor-in-Interest to Deutsche Bank; Credit Suisse First Boston Corporation, as Successor-in-
Interest to Donaldson Lufkin & Jenrette Securities, Inc.; Deutsche Bank Alex Brown; Deutsche
Bank Capital Corporation; DLJDirect, Inc.; Donaldson Lufkin & Jenrette Securities Corporation;
E-Offering; Goldman, Sachs & Co., Inc.; Hambrecht & Quist; JP Morgan Securities; Merrill
Lynch, Pierce, Fenner, & Smith, Incorporated; Robertson Stephens, Inc.; Soundview Technology
Group, Inc.; Scott Andrews; Peyton C. Anderson; James J. Scheuer

Inre E-LOAN, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7467 (SAS)

PLAINTIFFS

Gregory Balfanz; Michael Yong Xin Cai; Saul Kassin; Chaim Kraus; Michael Napoli; Donald
Robertson

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Credit Suisse First Boston; DLjdirect, Inc.; Donaldson
Lufkin & Jenrette; FleetBoston Robertson Stephens; Goldman Sachs; Hambrecht & Quist; J.P.
Morgan Chase; Merrill Lynch Pierce Fenner & Smith; E-LOAN, Inc.

In re Talarian Corp. Initial Public Offering Sec. Litig., 01 Civ. 7474 (SAS)
PLAINTIFFS

Jimmy K.V. Chin; Martin Lowenstein, Anthony Montanaro; Domenica Montanaro, Joel
Richmon

DEFENDANTS

FleetBoston Robertson Stephens ; Lehman Brothers; Lehman Brothers Holdings; Merrill Lynch
Pierce Fenner & Smith; S.G. Cowen Securities; Wit Soundview; Talarian Corp.; Thomas J.
Laffey; Paul A. Larson; Michael A. Morgan

In re Internet Infrastucture HOLDRS Initial Public Offering Sec. Litig., 01 Civ. 7654 (SAS)
PLAINTIFFS

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Al Cavallaro; Jack L. Cobb; Stanley Klein; David Trost

DEFENDANTS
Merrill Lynch Pierce Fenner & Smith; Merrill Lynch; Ahmass L. Fakahany; John L. Steffens

In re Keynote Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7666 (SAS)
PLAINTIFFS
John Bagnasco; Jason Kassin; Mytien Ngo

DEFENDANTS
BancBoston Robertson Stephens; FleetBoston Robertson Stephens; Keynote Systems, Inc.; John
Flavio; Umang Gupta

In re Ziff-Davis, Inc. (CNET Networks) Initial Public Offering Sec. Litig., 01 Civ. 7669 (SAS)
PLAINTIFFS
Abraham Kassin; Saul Kassin; David Powell; Vicki Walsh

DEFENDANTS

CIBC World Markets; Credit Suisse First Boston; Donaldson Lufkin; Goldman Sachs;
Hambrecht & Quist; J.P. Morgan Chase; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley
Dean Witter; CNET Networks; Ziff-Davis, Inc.

In re ONI Systems Corp. Initial Public Offering Sec. Litig., 01 Civ. 7842 (SAS)

PLAINTIFFS

Salvatore Abruzzino and Brenda Abbruzzino; Michael S. August; James H. Bevels; Shing Chan;
Siegfried Endlichhofer; Barbara Hajjar, Wayne P. Lill Jr. Trustee for the WP Lill Jr. Trust Dated
12/22/99; Rudolph J. Skubella; Alan Wuu-Chen Ling; Steven Yeary

DEFENDANTS

Banc of America Securities LCC; Chase Securities, Inc.; Credit Suisse First Boston Corporation;
Fleetboston Robertson Stephens, Inc.; Goldman, Sachs & Co.; JP Morgan Securities; Lehman
Brothers; Robertson Stephens, Inc.; Salomon Smith Barney, Inc.; Salomon Smith Barney
Holdings Inc.; Oni Systems Corp.

In re Virage, Inc. Initial Public Offering Sec. Litig., 01 Civ. 7866 (SAS)

PLAINTIFFS

Marek Bartula; Jimmy K.V. Chin; Bernard Edmonds; Jerome Gladstein; Ginger LeMay; William
R. Murray; B. V. Prasad; Marilyn Reichman; Timothy L. and Regina W. Rigler

DEFENDANTS

Credit Suisse First Boston; Donaldson Lufkin & Jenrette Securities; E-Offering; FleetBoston
Robertson Stephens; Soundview Technology Group; Wit Soundview; Virage, Inc.; Alfred J.
Castino; Paul G. Lego

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In re PSI Technologies Holdings, Inc. Initial Public Offering Sec. Litig., 01 Civ. 8401 (SAS)
PLAINTIFFS
Jimmy K. V. Chin; Bart Lloyd

DEFENDANTS

Banc of America Securities LLC; Bear Stearns & Co., Inc.; Chase; Fleetboston Robertson
Stephens, Inc.; JP Morgan Securities Inc.; Robertson Stephens, Inc.; Thomas Weisel Partners
LLC; PSI Technologies Holdings, Inc.; Jose Concepcion, II; Thelma Oribello; Helen Tiu;
Arthur Young, Jr.

In re Engage Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 8404 (SAS)
PLAINTIFFS

Patrick Beckx; Jimmy K.V. Chin; Lawrence Frankel; Gallop & Gallop Advertising, Inc.; Krikor
Kasbarian; Patrick Mangan; Stathis Pappas; Eva Marie Roberto; YCHL Parking Corp.

DEFENDANTS

Bear Stearns; Credit Suisse First Boston; Dain Rauscher; Deutsche Banc Alex. Brown;
Donaldson Lufkin & Jenrette; Goldman Sachs; Hambrecht & Quist; J.P. Morgan Chase;
Prudential Securities; RBC Dain Rauscher; Engage Technologies, Inc.

In re USinternetworking, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9348 (SAS)
PLAINTIFFS

David Ceveghino ; Forrest England; Louis Feniger; Patricia A. Snell; William W. Snell II; Seth
Weizel

DEFENDANTS

B.T. Alex. Brown; Bear Stearns; CIBC World Markets; Credit Suisse First Boston; Deutsche
Banc Alex. Brown; FleetBoston Robertson Stephens; Goldman Sachs; Hambrecht & Quist; J.P.
Morgan Chase; Legg Mason Wood Walker; USinternetworking, Inc.; Christopher R. McCleary;
Stephen E. McManus; Andrew A. Stern

In re Intraware, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9349 (SAS)
PLAINTIFFS
Mikhail Azvalinsky; Peter K. Michl

DEFENDANTS
Credit Suisse First Boston; FleetBoston Robertson Stephens; Hambrecht & Quist ; J.P. Morgan
Chase; Intraware, Inc.

In re eBenX, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9411 (SAS)
PLAINTIFF
Rennel Trading Corp.

DEFENDANTS
BancBoston Robertson Stephens; Thomas Weisel Partners, UBS Warburg; Warburg Dillon

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Read; eBenX, Inc.

In re Agile Software Corp. Initial Public Offering Sec. Litig., 01 Civ. 9413 (SAS)
PLAINTIFFS
Rennel Trading Corp.; Miriam Werczberger

DEFENDANTS
Deutsche Bank Securities; Hambrecht & Quist; JP Morgan; Morgan Stanley; Robertson
Stephens; Agile Software Corp.; Thomas P. Shanahan; Bryan D. Stolle

In re eGain Communications Corp. Initial Public Offering Sec. Litig., 01 Civ. 9414 (SAS)
PLAINTIFF
Rennel Trading Corp.

DEFENDANTS
BancBoston Robertson Stephens; Credit Suisse First Boston Corp.; Donaldson Lufkin &
Jenrette; Prudential Securities, Inc.; Volpe Brown Whelan; eGain Communications Corp.

In re iXL Enterprises, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9417 (SAS)
PLAINTIFFS
Lisa Frye; John G. Miles; J. Chris Rowe; Bill Turner

DEFENDANTS
Bear Stearns; FleetBoston Robertson Stephens; Merrill Lynch Pierce Fenner & Smith; Morgan
Stanley; iXL Enterprises, Inc.; M. Wayne Boylston; U. Bertram Ellis, Jr.

In re Ask Jeeves, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9422 (SAS)
PLAINTIFFS
Jonathan Clifford; Kevin T. Finley; Greg Jennings; Thomas Pilarz; Leonard Turroff

DEFENDANTS
Dain Rauscher; FleetBoston Robertson Stephens; Goldman Sachs, Morgan Stanley; U.S.
Bancorp Piper Jaffray; Ask Jeeves, Inc.; Robert W. Wrubel

In re Lexent, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9440 (SAS)
PLAINTIFFS
John L. Labansky

DEFENDANTS
Credit Suisse First Boston; J.P. Morgan Chase; Prudential Securities; Lexent, Inc.

In re Korea Thrunet Co., Ltd. Initial Public Offering Sec. Litig., 01 Civ. 9442 (SAS)

PLAINTIFFS
Bradley Dean Fay; Robert S. Phillips

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DEFENDANTS

Bear Stearns; CIBC World Markets; Credit Suisse First Boston; FleetBoston Robertson
Stephens; Goldman Sachs; J.P. Morgan Chase; Lehman Brothers Holdings; Merrill Lynch Pierce
Fenner & Smith; BancBoston Robertson Stephens, Hambrect & Quist; Donaldson Lufkin &
Jenrette; Korea Thrunet Co.; Jong-Kil Kim, Yong-Teh Lee; Boo Woong Yoo

In re TeleCommunication Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9500 (SAS)
PLAINTIFFS
David J. Bertoli; Max Neil Highstein

DEFENDANTS

Banc of America Securities; Bear Stearns; Chase Securities; Deutsche Banc Securities;
FleetBoston Robertson Stephens; JP Morgan; Merrill Lynch Pierce Fenner & Smith; Salomon
Smith Barney; Thomas Weisel Partners; Telecommunication Systems

In re Quicklogic Corp. Initial Public Offering Sec. Litig., 01 Civ. 9503 (SAS)
PLAINTIFFS
Janis and Susan Prusis; Leonard Turoff

DEFENDANTS
Bancboston; Bear Stearns & Co., Incorporated, Robertson Stephens, Inc.; Robertson Stephens,
Inc., f/k/a Fleetboston; Quicklogic Corporation; E. Thomas Hart; Arthur O. Whipple

In re Prodigy Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9504 (SAS)
PLAINTIFFS
James B. Holman; Miriam Werczberger

DEFENDANTS

Bancboston Robertson Stephens Inc.; Bear, Stearns & Co. Inc.; ING Baring Furman Selz LLC;
Prudential Securities, Inc., as Successor-in-Interest to Volpe Brown; Robertson Stephens, Inc.;
SBC Communications, Inc., as Successor-in-Interest to Prodigy; Soundview Technology, as
Successor-in-Interest to Wit Capital; Volpe Brown Whelan & Company, LLC; Wit Capital
Corp.; Prodigy Communications, Inc.

In re Numerical Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9513 (SAS)
PLAINTIFFS
Pond Equities

DEFENDANTS
Chase Securities, Inc.; Credit Suisse First Boston Corporation; Robertson Stephens, Inc.; SG
Cowen Securities Corporation, Inc.

In re Vignette Corp. Initial Public Offering Sec. Litig., 01 Civ. 9514 (SAS)
PLAINTIFFS
Leon Leybovich; Joseph P. Ruggles

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DEFENDANTS
Dain Rauscher Wessels; Hambrecht & Quist; JP Morgan; Morgan Stanley Dean Witter;
Robertson Stephens; U.S. Bancorp Piper Jaffray, Vignette Corp.

In re Exchange Applications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9516 (SAS)
PLAINTIFFS
Tony G. Bedwell; Rebecca Kraitenberg; Robert Walsh

DEFENDANTS
Adams Harkness & Hill; B.T. Alex. Brown; Deutsche Banc Alex Brown, Hambrecht & Quist; JP
Morgan; Soundview Technology Group; Exchange Applications, Inc.

In re Verado Holdings (f/k/a Firstworld) Initial Public Offering Sec. Litig., 01 Civ. 9558 (SAS)
PLAINTIFFS

Joni Ray Abrams; David B. Best; David Bezar; Jill Elaine Dean; Gary K. Dean; Gary Kingsley;
John Pouliot

DEFENDANTS

Bear Stearns; CIBC World Markets; Deutsche Bank Securities; Goldman Sachs; Lehman
Brothers; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley ; Salomon Smith Barney;
Verado Holdings; Paul C. Adams; Jeffrey L. Dykes, Sheldon S. Ohringer

In re Onyx Software Corp. Initial Public Offering Sec. Litig., 01 Civ. 9560 (SAS)
PLAINTIFFS
William Goggins; Gary G. Stubbers

DEFENDANTS

Credit Suisse First Boston Corporation; Donaldson Lufkin & Jenrette Securities Corporation;
Piper Jaffray, Inc.; SG Cowen Securities Corporation; Soundview Technology Group, Inc.; Wit
Capital Corporation; Onyx Software Corporation; Brent R. Frei; Sarwat H. Ramadan

In re Northpoint Communications Group, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9561
(SAS)

PLAINTIFFS

Todd Feldman; Steven Fiore; Simon Siu; P. David Wright

DEFENDANTS

BT Alex Brown Incorporated; CIBC World Markets Corp.; Credit Suisse First Boston
Corporation; Deutsche Banc Alex Brown Inc.; Goldman Sachs & Co.; Merrill Lynch, Pierce,
Fenner & Smith, Incorporated; Morgan Stanley & Co.; Salomon Smith Barney, Inc.; Soundview
Technology; Wit Capital Corporation; Northpoint Communications Group, Inc.; Henry P. Huff;
Michael W. Malaga

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In re Tut Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9563 (SAS)
PLAINTIFFS
William Price; William E. Whalen ; William M. Whitte

DEFENDANTS

Credit Suisse First Boston; Dain Rauscher Wessels; FleetBoston Robertson Stephens; Lehman
Brothers; Merrill Lynch Pierce Fenner & Smith; S.G. Cowen Securities; Salomon Smith Barney;
UBS Warburg Long Term Disability Plan; Warburg Dillon Read; Tut Systems, Inc.

In re UTStarcom, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9604 (SAS)
PLAINTIFFS
Ted Lacek; Charles D. and Janet Medalie; Lori Will

DEFENDANTS

Banc of America Securities; Credit Suisse First Boston, Deutsche Banc Alex. Brown;
FleetBoston Robertson Stephens; Hambrecht & Quist; J.P. Morgan Chase; Merrill Lynch Pierce
Fenner & Smith; Nationsbanc; U.S. Bancorp Piper Jaffray, UTStarcom, Inc.

In re AvantGo Inc. Initial Public Offering Sec. Litig., 01 Civ. 9618 (SAS)
PLAINTIFFS
Arie Slot

DEFENDANTS
Bancboston Robertson, Stephens; Credit Suisse First Boston, FleetBoston Robertson Stephens;
Merrill Lynch Pierce Fenner & Smith; Avantgo, Inc.

In re Digitalthink, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9619 (SAS)
PLAINTIFFS
Arsenio C. deGuzman; Erin Sicuranza

DEFENDANTS
Credit Suisse First Boston; FleetBoston Robertson Stephens; Digitalthink, Inc.

In re MetaSolv Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9651 (SAS)
PLAINTIFFS
Colbert Birnet L.P.

DEFENDANTS
Bancboston Robertson, Stephens, Inc.; Jeffries & Company, Inc.; Morgan Stanley Dean Witter
& Co.; Robertson Stephens, Inc.; Metasolv Software, Inc.

In re Net Perceptions, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9675 (SAS)
PLAINTIFFS
Timothy J. Fox

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DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Dain Rauscher, Inc.; Fleetboston Robertson Stephens,
Inc.; Hambrecht & Quist; JP Morgan Securities, RBC Dain Rauscher Inc.; Robertson Stephens,
Inc.; US Bancorp Piper Jaffray, Inc.; Net Perceptions, Inc.

In re IMPSAT Fiber Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9710 (SAS)
PLAINTIFFS
Martin Camaj; Rica Dray; Darrell M. Padgette; Peter Rooney

DEFENDANTS

Goldman Sachs; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley; Salomon Smith Barney,
Inc.; IMPSAT Fiber Networks, Inc.; Guillermo Jofre; Enrique M. Pescarmona; Ricardo A.
Verdaguer

In re UAXS Global Holdings, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9719 (SAS)
PLAINTIFFS
Oscar E. Hanning; A. Pher Holmberg

DEFENDANTS
Chase Hambrecht & Quist; FleetBoston Robertson Stephens, Goldman Sachs; J.P. Morgan
Chase; UAXS Global Holdings, Inc.

Inre VIA Net.WORKS, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9720 (SAS)
PLAINTIFFS
Mark Fried; Raymond C. Homan; Paul O’Leary

DEFENDANTS

Bear Stearns & Co Inc.; Credit Suisse First Boston; Deutsche Banc Alex. Brown; Donaldson
Lufkin & Jenrette; J.P. Morgan Chase; Lehman Brothers Holdings; Merrill Lynch Pierce Fenner
& Smith; Morgan Stanley Dean Witter; Salomon Smith Barney Holdings; Thomas Weisel
Partners; VIA NET.WORKS, Inc.

In re Antigenics, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9741 (SAS)
PLAINTIFFS
Joseph Baum

DEFENDANTS
FleetBoston Robertson Stephens; U.S. Bancorp Piper Jaffray; Antigenics, Inc.

In re Alloy Online, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9742 (SAS)
PLAINTIFFS
Joshua Teitelbaum

DEFENDANTS
BancBoston Robertson Stephens; Dain Rauscher Wessels, Ladenburg Thalmann; Prudential

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Securities; RBC Dain Rauscher; Volpe Brown Whelan; Alloy Online, Inc.

In re High Speed Access Corp. Initial Public Offering Sec. Litig., 01 Civ. 9743 (SAS)
PLAINTIFFS
E. Howard King, Jr.; Ruthy Parnes

DEFENDANTS
Banc of America Securities; CIBC World Markets; J.P. Morgan; Lehman Brothers; High Speed
Access Corp.

In re Openwave Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9744 (SAS)
PLAINTIFFS
Pond Equities; James Tran

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Banc of America Securities LLC; Credit Suisse First
Boston Corporation; Goldman Sachs & Co.; Hambrecht & Quist, LLC; JP Morgan Securities;
Robertson Stephens, Inc.; US Bancorp Piper Jaffray, Inc.; Openwave Systems, Inc.; Phone.com,
Inc.; Malcolm Bird; Alain Rossman

In re Valley Media, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9745 (SAS)
PLAINTIFFS
Jeffrey D. Breen; Ruthy Parnes

DEFENDANTS
BancBoston Robertson Stephens; J.P. Morgan Securities, Valley Media; Robert R. Cain; J.
Randolph Cerf; Barnet J. Cohen

In re Satyam Infoway, Ltd. Initial Public Offering Sec. Litig., 01 Civ. 9746 (SAS)
PLAINTIFFS
Nechama Kamelhar

DEFENDANTS
Merrill Lynch Pierce Fenner & Smith Inc.; Robertson Stephens, Inc.; Salomon Smith Bamey,
Inc.; Satyam Infoway, Ltd.; R. Ramaraj; T.R. Santhanakrishnan

In re Dice, Inc. (Earthweb) Initial Public Offering Sec. Litig., 01 Civ. 9747 (SAS)
PLAINTIFF
Raphael Grossman

DEFENDANTS
Bear Stearns; J.P. Morgan Securities; Prudential Securities, Robert Stephens; Soundview
Technology; Volpe Brown Whelan; Wit Capital; Dice, Inc.

In re GT Group Telecom, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9748 (SAS)

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PLAINTIFFS
Todd Krouner

DEFENDANTS

CIBC World Markets; Goldman Sachs; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley;
RBC Dominion Securities; Salomon Smith Barney; GT Group Telecom, Inc.; Daniel R. Milliard;
Stephen H. Shoemaker

Inre TenFold Corp. Initial Public Offering Sec. Litig., 01 Civ. 9797 (SAS)
PLAINTIFFS
Jeffry T. Dillon; Richard Heckman

DEFENDANTS

Bancboston Robertson, Stephens; B.T. Alex. Brown; Deutsche Banc Alex Brown; FleetBoston
Robertson Stephens; Goldman Sachs; $.G. Cowen Securities; U.S. Bancorp Piper Jaffray;
TenFold Corp.

In re NetRatings, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9798 (SAS)
PLAINTIFFS
Mario R. Leeser; Joel Richman

DEFENDANTS

Banc of America Securities, LLC; Bear Stearns & Co., Inc.; CE Unterberg, Towbin, Inc.; CIBC
World Markets, Inc.; Lehman Brothers; Merrill Lynch & Co. Inc.; Nationsbanc, Nationsbanc
Montgomery; Netratings, Inc.; David A. Norman, David J. Toth

In re Metawave Communications Corp. Initial Public Offering Sec. Litig., 01 Civ. 9799 (SAS)
PLAINTIFFS
Jerome Fitzmaurice; Gordon Gordon; Tamara R. Pearlman; James R. Weber

DEFENDANTS
Merrill Lynch, Pierce, Fenner & Smith Incorporated; Salomon Smith Barney, Inc.; US Bancorp
Piper Jaffray, Inc.; Metawave Communications Corporation

In re Evolve Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9800 (SAS)
PLAINTIFFS
Richard Jaross; Larry Thomas

DEFENDANTS
Credit Suisse First Boston; Dain Rauscher; Deutsche Bank Securities; RBC Dain Rauscher;
Soundview Technology; U.S. Bancorp Piper Jaffray, Wit Soundview; Evolve Software, Inc.

In re Airgate PCS Inc. Initial Public Offering Sec. Litig., 01 Civ. 9801 (SAS)

PLAINTIFFS
Tamara Pearlman; Robert Tuele

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DEFENDANTS
Credit Suisse First Boston; Deutsche Bank Securities; Donaldson Lufkin & Jenrette, Hambrecht
& Quist; Thomas P. Shanahan

In re Bookham Technology PLC Initial Public Offering Sec. Litig., 01 Civ. 9883 (SAS)
PLANTIFF
Max Bigler Irrevocable Trust

DEFENDANTS
FleetBoston Robertson Stephens; Goldman Sachs; Bookham Technology PLC

In re Oplink Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9904 (SAS)
PLAINTIFFS
Norris Kipfer Harward

DEFENDANTS
Robertson Stephens, Inc.; Oplink Communications, Inc.

Inre Interwoven, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9917 (SAS)
PLAINTIFFS
Thomas Jadico; Dareld V. Olson; Tom Wallat

DEFENDANTS

Adams Harkness & Hill; Credit Suisse First Boston; Dain Rauscher; Dain Rauscher Wessels;
FleetBoston Robertson Stephens; Soundview Technology Group; Interwoven, Inc.; David M.
Allen; Martin W. Brauns; Peng T. Ong; Mark W. Saul

In re OraPharma, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9918 (SAS)
PLAINTIFFS
David F. Boyd; Al Daughtry; Linda Frey Kremer

DEFENDANTS
Fleetboston Robertson Stephens, Inc.; Robertson Stephens, Inc.; SG Cowen Securities
Corporation; US Bancorp Piper Jaffray, Inc.; Orapharma, Inc.

In re Sonus Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9921 (SAS)
PLAINTIFFS
Edward C. Donahue; Nathan and Laura Friedman; Daniel Kucera

DEFENDANTS

Fleetboston Robertson Stephens, Inc.; Goldman, Sachs & Co.; JP Morgan Securities, Inc.;
Lehman Brothers, Inc.; Robertson Stephens, Inc.; Sonus Networks, Inc.; Hassan M. Ahmed;
Stephen J. Nill

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In re Informatica Corp. Initial Public Offering Sec. Litig., 01 Civ. 9922 (SAS)
PLAINTIFFS
William Neuman

DEFENDANTS

BancBoston Robertson Stephens; Credit Suisse First Boston; First Albany Corporation; Morgan
Stanley; Soundview Technology Group; Thomas Weisel Partners, Informatica Corp.;

Gaurav S. Dhillon; Diaz H. Nesamoney

Inre Immersion Corp. Initial Public Offering Sec. Litig., 01 Civ. 9975 (SAS)
PLAINTIFFS

Marat Chorny

Gene Myers

DEFENDANTS
Bear Stearns; FleetBoston Robertson Stephens; Immersion Corp.; Victor Viegas

Inre Radio Unica Communications Corp. Initial Public Offering Sec. Litig., 01 Civ. 9978 (SAS)
PLAINTIFFS
Michael Atlas; Louis DePietro

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; CIBC World Markets; Credit Suisse First Boston Corp.;
Deutsche Bank Capital Corporation; Deutsche Bank Alex Brown Incorporated; Donaldson
Lufkin & Jenrette Securities Corp.; Fleetboston Robertson Stephens, Inc.; Merrill Lynch, Pierce,
Fenner & Smith, Inc.; Morgan Stanley Dean Witter & Co.; Prudential Securities Incorporated;
Robertson Stephens, Inc.; The Bear Stearns Companies Inc.; Salomon Smith Barney Holdings,
Inc.; Radio Unica Communications Corp.; Joaquin F. Blaya; Manuel A. Borges, Steven E.
Dawson

In re Turnstone Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9981 (SAS)
PLAINTIFFS
Arthur Mendoza; Robert Spencer; Michael Szymanowski; Michael Wallace

DEFENDANTS
Dain Rauscher; FleetBoston Robertson Stephens; Goldman Sachs; Turnstone Systems, Inc.; P.
Kingston Duffie; Denise Savoie; Richard N. Tinsley

In re Apropos Technology, Inc. Initial Public Offering Sec. Litig., 01 Civ. 9982 (SAS)
PLAINTIFFS
Michael Atlas

DEFENDANTS
Banc of America Securities; Bear Stearns; Chase Hambrecht & Quist; Dain Rauscher; J.P.
Morgan Chase; S.G. Cowen Securities; U.S. Bancorp Piper J affray; Apropos Technology, Inc.

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In re BackWeb Technologies Ltd. Initial Public Offering Sec. Litig., 01 Civ. 10000 (SAS)
PLAINTIFFS

Larry J. Bailey; Marek Bartula; William C. Block; Daniel Brandwein; Brian Carter; Gary M.
Craft; Apurva Desai; Helen Duncan-Peters; Lawrence A. Fantoli; Barry R. and Nancy R.
Friedman; Roslyn Gladstone Trust; Duane E. Johnson; Alexander J ohnston; Gary Kaplowitz;
Paul A. Lacy; Thomas R. Laster; Burton Lichterman, Lawrence Leveson; Harvey N. Smith;
Steven J. Strulowitz; Dorothy J. Taylor; David M. Tobolowsky; Julian Vardi; Rose Vincola;
Ceceile Williams; Hetz Wochholz; Hetz Wochholz c/f Ashley Wochholz; Hetz Wochholz c/f
Erik Wochholz; Bernard Zahler; Eli Zinker

DEFENDANTS
BancBoston Robertson Stephens; Goldman Sachs; Lehman Brothers; BackWeb Technologies
Ltd.

In re Viador, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10040 (SAS)
PLAINTIFFS
Deborah Belcore; Simon Gendler

DEFENDANTS
Bear Stearns & Co. Inc.; Merrill Lynch Pierce Fenner & Smith; Robertson Stephens; Salomon
Smith Barney; Viador, Inc.

In re ACLARA BioSciences, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10050 (SAS)
PLAINTIFFS
Annette Held; Richard McKee; Barbara Raskob

DEFENDANTS

Banc of America Securities; Bear Stearns; CIBC World Markets, Deutsche Bank Securities;
FleetBoston Robertson Stephens; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley; U.S.
Bancorp Piper Jaffray; Aclara BioSciences, Inc.

In re Optio Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10051 (SAS)

PLAINTIFFS

Michael L. Crawford; Kevin Dewey; Daniel H. Grahl; John A. Higman; Thomas P. Lynch, Matt
Pan

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Bear Stearns & Co., Inc.; Dain Rauscher Inc.; Deutsche
Bank Alex. Brown; Deutsche Bank Securities, Inc.; Fleetboston Robertson Stephens, Inc.;
Merrill Lynch, Pierce, Fenner & Smith, Inc.; Robertson Stephens, Inc.; US Bancorp Piper
Jaffray, Inc.; Optio Software, Inc.; C. Wayne Cape; F. Barron Hughes

In re Vixel Corp. Initial Public Offering Sec. Litig., 01 Civ. 10053 (SAS)
PLAINTIFFS

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Larry Huynh; Zhen Shao

DEFENDANTS
BancBoston, Robertson, Stephens; Bear Stearns; Dain Rauscher Wessels; FleetBoston Robertson
Stephens; Vixel Corp.

In re Predictive Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10059 (SAS)
PLAINTIFFS
Wayne Gilbert; Jagit Gulati

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Bear Stearns & Co. Inc.; Credit Suisse First Boston
Corp.; Donaldson Lufkin & Jenrette Securities Corp.; Fleetboston Robertson Stephens, Inc.;
Goldman Sachs & Co; Robertson Stephens, Inc.; Predictive Systems, Inc.

In re XCare.net, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10075 (SAS)

PLAINTIFFS

Marek Bartula; Richard M. Dearnley - Dearnley Brothers Fund II; Karl Hennicke; Richard Lee
Slotkin

DEFENDANTS
E* Offering; FleetBoston Robertson Stephens; S.G. Cowen Securities; Soundview Technology;
XCare.net, Inc.

In re Vitria Technology, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10092 (SAS)
PLAINTIFFS
Ian Kideys; Kidey Corporation

DEFENDANTS

BancBoston Robertson Stephens; Brentwood Venture Capital; Credit Suisse First Boston;
Merrill Lynch Pierce Fenner & Smith, Soundview Technology Group; Wit Soundview; Vitria
Technology, Inc.

In re CoSine Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10105 (SAS)
PLAINTIFFS
Lawrence B. Evans; Linc Corp.; (Lynne Joy McFarland); Paul Magliaro; J eff D. Martin

DEFENDANTS
Chase Securities; Goldman Sachs; Hambrecht & Quist; J.P. Morgan Securities; Robertson
Stephens; CoSine Communications, Inc.

In re Data Return Corp. Initial Public Offering Sec. Litig., 01 Civ. 10107 (SAS)
PLAINTIFFS
Marcus Oates

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DEFENDANTS
Bear Stearns; Goldman Sachs; Lehman Brothers, Salomon Smith Barney; Data Return Corp.;
Divine, Inc.

In re Integrated Telecom Express, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10108 (SAS)
PLAINTIFFS
Joel Richmon

DEFENDANTS
Bear Stearns; Lehman Brothers; Salomon Smith Barney, Integrated Telecom Express, Inc.

In re Focal Communications Corp. Initial Public Offering Sec. Litig., 01 Civ. 10111 (SAS)
PLAINTIFFS
Philip Duggan

DEFENDANTS

Credit Suisse First Boston; Goldman Sachs; Merrill Lynch Pierce Fenner & Smith; Morgan
Stanley Dean Witter; Salomon Smith Barney Holdings; Thomas Weisel Partners; Bear Stearns;
Donaldson Lufkin; Focal Communications Corp.

In re Triton Network Systems, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10115 (SAS)
PLAINTIFFS
Metha M. Doescher; Alex Shainsky

DEFENDANTS
Credit Suisse First Boston; FleetBoston Robertson Stephens; Triton Network Systems, Inc.

In re Register.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10120 (SAS)
PLAINTIFFS
Stafford Perkins

DEFENDANTS
Goldman, Sachs & Co.; Lehman Brothers Inc.; Register.com, Inc.; Alan G. Breitman; Richard D.
Forman

In re Latitude Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10121 (SAS)
PLAINTIFFS
Ronald Louis Traynor

DEFENDANTS
Credit Suisse First Boston; Salomon Smith Barney; Latitude Communications, Inc.

In re Hoover’s, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10122 (SAS)
PLAINTIFFS
Paulsen K. Bailey; Joseph Capece

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DEFENDANTS
Lehman Brothers; Hoover’s, Inc.

In re Repeater Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10140 (SAS)
PLAINTIFFS
Frank Arduino; Ken Kalla

DEFENDANTS

Banc of America Securities LLC; CIBC World Markets; Dain Rauscher, Inc.; Deutsche Banc
Alex Brown Incorporated; Deutsche Bank Capital Corporation, Fleetboston Robertson Stephens,
Inc.; JP Morgan Securities ; Prudential Securities Incorporated; Robertson Stephens, Inc.; The
Bear Stearns Companies Inc.; Thomas Weisel Partners LLC; US Bancorp Piper Jaffray Inc.;
Repeater Technologies, Inc.; Chris Branscum, Arnold Chase; Kenneth Kenitzer; Timothy
Marcotte

In re Radio One, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10160 (SAS)
PLAINTIFFS
Colbert Birnet LP

DEFENDANTS

Bancboston Robertson Stephens, Inc.; Bank of America Securities, LLC; Bear Stearns & Co.,
Inc.; BT Alex Brown Incorporated; Credit Suisse First Boston Corporation; Deutsche Bank Alex
Brown; Deutsche Bank Securities, Inc.; Nationsbanc Montgomery Securities LLC; Prudential
Securities Incorporated; Robertson Stephens, Inc.; Radio One, Inc.; Catherine L. Hughes; Alfred
C. Liggins, II; Scott R. Royster

In re AirNet Communications Corp. Initial Public Offering Sec. Litig., 01 Civ. 10161 (SAS)
PLAINTIFFS
Mayer Sinensky; William Todd Thompson

DEFENDANTS
Hambrecht & Quist; JP Morgan; Prudential Securities; Robertson Stephens; Salomon Smith
Barney; Volpe Brown Whelan; Airnet Communications Corp.

Inre Fatbrain.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10164 (SAS)
PLAINTIFFS
Morris Kassin

DEFENDANTS

Banc of America Securities; Chase H & Q (Hambrecht & Quist); FleetBoston Robertson
Stephens; Morgan Stanley Dean Witter; Needham & Company; U.S. Bancorp Piper Jaffray;
Nationsbanc Montegomery; Bancboston Robertson Stephens; JP Morgan SEC;
Barnesandnoble.com; Fatbrain

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In re Packateer, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10185 (SAS)
PLAINTIFFS
Greg Antoniono; Craig Andrew Milroy; Steven C. Mizerovsky

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Dain Rauscher, Inc.; Fleetboston Robertson Stephens,
Inc.; Goldman Sachs Group, Inc.; RBC Dain Rauscher Inc.; Robertson Stephens, Inc.; The Bear
Stearns Companies Inc.; Packeteer, Inc.

In re Orchid Biosciences, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10575 (SAS)
PLAINTIFFS
Norm Nash; Joseph Traynor; Clyde W. Waite

DEFENDANTS

Credit Suisse First Boston Corporation; Fleetboston Robertson Stephens, Inc.; Robertson
Stephens, Inc.; Salomon Smith Barney, Inc.; Thomas Weisel Partners, LLC; US Bancorp Piper
Jaffray, Inc.; Orchid Biosciences, Inc.

In re Choice One Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10576 (SAS)
PLAINTIFFS
Paul Dachsteiner; Scott Goldstein; Mr. and Mrs. Carl Smith

DEFENDANTS

CIBC World Markets; Lehman Brothers; Morgan Stanley ; Thomas Weisel Partners; UBS
Warburg Long Term Disability Plan; U.S. Bancorp Piper Jaffray; Warburg Dillon Read; Choice
One Communications, Inc.

In re Switchboard, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10595 (SAS)
PLAINTIFFS
Kristina Ly; Wallace S. Pierce

DEFENDANTS
CIBC World Markets; Fleetboston Robertson Stephens, Inc.; JP Morgan Securities; Robertson
Stephens, Inc.; Switchboard Incorporated; Douglas J. Greenlaw; John P. Jewett; Dean Polnerow

Inre Sirenza Microdevices, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10596 (SAS)
PLAINTIFFS
Jeffrey J. Van Ryan

DEFENDANTS

Banc of America Securities LLC; CIBC World Markets; Dain Rauscher, Inc.; Deutsche Banc
Alex Brown Incorporated; Deutsche Bank Capital Corporation; Fleetboston Robertson Stephens,
Inc.; JP Morgan Securities; Merrill Lynch, Pierce, Fenner & Smith, Inc.; Morgan Stanley Dean
Witter & Co.; Prudential Securities Incorporated; RBC Dain Rauscher Inc.; Robertson Stephens,
Inc.; Salomon Smith Barney Holdings Inc.; The Bear Stearns Companies Inc.; Sirenza

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Microdevices, Inc.; Arnold Chase; John Ocampo; Robert Van Buskirk; Thomas Scannell

In re interWAVE International Ltd. Initial Public Offering Sec. Litig., 01 Civ. 10598 (SAS)
PLAINTIFFS
Scott Allen Middleton

DEFENDANTS
Banc of America Securities; S.G. Cowen Securities; Salomon Smith Bamey Holdings;
interWAVE Communications International Ltd.

In re Braun Consulting, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10629 (SAS)
PLAINTIFFS
Evonne Moore; Luciano Mor

DEFENDANTS

Adams Harkness & Hill; Credit Suisse First Boston; Donaldson Lufkin; FleetBoston Robertson
Stephens; Hambrecht & Quist; J.P. Morgan Chase; Lehman Brothers Holdings; Prudential
Securities; Salomon Smith Barney Holdings; Braun Consulting, Inc.; Steven Braun; John Burke;
Thomas Duvall

In re Wink Communications., Inc. Initial Public Offering Sec. Litig., 01 Civ. 10638 (SAS)
PLAINTIFFS
Collegeware USA Inc.; Jamil S. Quwaider

DEFENDANTS

Bear Stearns; Chase H & Q (Hambrecht & Quist); Deutsche Banc Alex. Brown; Donaldson
Lufkin & Jenrette; FleetBoston Robertson Stephens; Goldman Sachs; J.P. Morgan Chase;
Lehman Brothers; Salomon Smith Barney; Wink Communications, Inc.; Brian P. Dougherty;
Mary Agnes Wilderotter

In re Agilent Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10639 (SAS)
PLAINTIFFS
Abraham Kassin; Carlos Medeiros; Jose Rivera; Jose Daniel Viveiros de Medeiros

DEFENDANTS

Bear Stearns; Chase H & Q (Hambrecht & Quist); Credit Suisse First Boston; FleetBoston
Robertson Stephens; Goldman Sachs; J.P. Morgan Chase; Lehman Brothers; Merrill Lynch
Pierce Fenner & Smith; Morgan Stanley Dean Witter; S.G. Cowen Securities; Salomon Smith
Barney; Agilent Technologies, Inc.

In re Foundry Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10640 (SAS)

PLAINTIFFS
Mirza F. Baig; Nina Hardoff; Saul Kassin, Frank Mistretta

DEFENDANTS

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Chase H & Q (Hambrecht & Quist); Deutsche Banc Alex. Brown, Donaldson Lufkin & Jenrette;
FleetBoston Robertson Stephens; Goldman Sachs; J.P. Morgan Chase; Lehman Brothers; Merrill
Lynch Pierce Fenner & Smith; Bancboston Robertson Stephens; Credit Suisse First
BostonFoundry Networks, Inc.; H. Earl Ferguson, Timothy D. Heffner; Bobby R. Johnson, Jr.

In re Ravisent Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10683 (SAS)
PLAINTIFFS
Herman Miller

DEFENDANTS

Bear Stearns & Co., Inc.; Prudential Securities, Inc.; Robertson Stephens, Inc.; SG Cowen
Securities Corporation; Volpe Brown Whelan & Company, LLC; Ravisent Technologies Inc.;
Axeda Systems, Inc.; Jason C. Liu; Francies E.J. Wilde

In re EXFO Electro Optical Engineering, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10684
(SAS)

PLAINTIFFS

John G. Williams

DEFENDANTS

CIBC World Markets; Daine Rauscher Wessels; Merrill Lynch Pierce Fenner & Smith; RBC
Daine Rauscher; RBC Dominion Securities; Soundview Technology; Wit Soundview; EXFO
Electro Optical Engineering, Inc.

Inre Corio, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10686 (SAS)
PLAINTIFFS
David Heiko; Brad Turck

DEFENDANTS
CIBC World Markets; Dain Rauscher; FleetBoston Robertson Stephens; Goldman Sachs; Merrill
Lynch Pierce Fenner & Smith, Corio, Inc.

In re FlashNet Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10738 (SAS)
PLAINTIFFS
Saul Kassin

DEFENDANTS
First Union Securities; FleetBoston Robertson Stephens; UBS Painewebber;Bancboston
Robertson Stephens; Everen Securities; SBC Communications; FlashNet Communications, Inc.

In re JNI Corp. Initial Public Offering Sec. Litig., 01 Civ. 10740 (SAS)
PLAINTIFFS
Jack Kassin; James Tison

DEFENDANTS

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Bear Stearns; Chase H & Q (Hambrecht & Quist); DLJDirect; Donaldson Lufkin & Jenrette;
FleetBoston Robertson Stephens; Lehman Brothers; Salomon Smith Barney; Credit Suisse First
Boston Corp; JP Morgan SEC; JNI Corp.; Terry M. Flanagan, Thomas K. Gregory; Charles
McKnett; Gloria Purdy; Eric P. Wenaas

In re Globespan, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10741 (SAS)
PLAINTIFFS
Collegeware Asset; Sannaka Wettimuny

DEFENDANTS

Credit Suisse First Boston; DLJDirect, Inc.; Donaldson Lufkin & Jenrette; E*Trade Group, Inc.;
FleetBoston Robertson Stephens; Jefferies & Company; Lehman Brothers; Merrill Lynch Pierce
Fenner & Smith; Morgan Stanley Dean Witter; Prudential Securities; S.G. Cowen Securities;
Soundview Technology; Thomas Weisel Partners LLC; UBS Warburg; James Coulter, Thomas
Epley; Armando Geday; Keith Geeslin; John Marren; Robert McMullan

In re United Pan- Europe Communications, N.V. Initial Public Offering Sec. Litig., 01 Civ.
10744 (SAS)

PLAINTIFFS

Roger Andriessen; Jetta Hoffman; Judy Rubin

DEFENDANTS

Credit Suisse First Boston Corporation; Deutsche Bank Alex Brown, Deutsche Banc Securities;
Donaldson Lufkin & Jenrette; Goldman Sachs; Morgan Stanley; Salomon Smith Barney; United
Pan Europe Communications, N.V.

In re Quest Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10745 (SAS)
PLAINTIFFS
Ray D. Campbell; K. Peter Koch

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; CIBC World Markets Group; Credit Suisse First Boston
Corp.; Donaldson, Lufkin & Jenrette Securities Corporation; Fleetboston Robertson, Stephens,

Inc.; Robertson Stephens, Inc.; Quest Software, Inc.; David M. Doyle; John J. Laskey; Vincent

C. Smith

In re Spanish Broadcasting System, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10753 (SAS)
PLAINTIFFS
K. Peter Koch; Mitchell Wolf

DEFENDANTS

Bankboston Robertson, Stephens, Inc.; Bear, Stearns & Co., Inc.; Deutsche Bank Alex Brown;
Deutsche Bank Securities Inc.; Fleetboston Robertson Stephens, Inc.; Lehman Brothers, Inc.;
Merrill Lynch, Pierce, Fenner & Smith Incorporated; Morgan Stanley & Co., Incorporated;
Purdential Securities Incorporated; Robertson Stephens, Inc.; Robinson Humphrey; Salomon

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Smith Barney, Inc.; Volpe Brown; Spanish Broadcasting System, Inc.; Pablo Raul Alarcon, Sr.;
Raul Alarcon, Jr.; Joseph A. Garcia

In re Saba Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10754 (SAS)
PLAINTIFFS
Bob McKee; John Paul Smith

DEFENDANTS

Banc of America Securities, LLC; Fleetboston Robertson Stephens, Inc.; Goldman, Sachs & Co.;
Merrill Lynch, Pierce, Fenner & Smith Incorporated; Robertson Stephens, Inc.; US Bancorp
Piper Jaffray, Inc.; Saba Software, Inc.; Terry Carlitz; Bobby Yazdani

In re Support.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10756 (SAS)
PLAINTIFFS
Dana Risley

DEFENDANTS

Bear, Stearns & Co. Inc.; Credit Suisse First Boston Corporation; Fleetboston Robertson
Stephens, Inc.; Robertson Stephens, Inc.; Support.com Inc.; Radha Ramaswami Basu; Brian M.
Beattie

In re OmniVision Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10775 (SAS)
PLAINTIFFS
Terry A. Chandler; Buddy McKee

DEFENDANTS
Fleetboston Robertson Stephens, Inc.; Prudential Securities Incorporated; Robertson Stephens,
Inc.; Omnivision Technologies, Inc.

In re Paradyne Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10797 (SAS)
PLAINTIFFS
Viola Archuleta; Carl K. Foote; Ubaldo Gallegos; Joseph M. Rana

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Banc of America Securities LLC; Credit Suisse First
Boston Corp.; Dain Rauscher, Inc.; Donaldson Lufkin; Duetsche Bane Alex Brown Inc.;
Deutsche Bank Capital Corporation; Fleetboston Robertson Stephens, Inc.; Hambrecht & Quist;
JP Morgan Securities; Lehman Brothers Holdings Inc.; Merrill Lynch, Pierce, Fenner & Smith
Inc.; Raymond James & Associates, Inc.; Robertson Stephens, Inc.; Salomon Smith Barney
Holdings, Inc.; The Bear Stearns Companies Inc.; The Goldman Sachs Group, Inc.; Paradyne
Networks, Inc.

In re Oratec Interventions, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10799 (SAS)
PLAINTIFFS
Cathey Cort; Jay D. Schainholz

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DEFENDANTS
JP Morgan Securities; Merrill Lynch, Pierce, Fenner & Smith, Inc.; US Bancorp Piper Jaffray,
Inc.; Oratec Interventions, Inc.

In re Inrange Technologies Corp. Initial Public Offering Sec. Litig., 01 Civ. 10800 (SAS)
PLAINTIFFS
Gary Ferber; David Heitz

DEFENDANTS
Bear Stearns; FleetBoston Robertson Stephens; J.P. Morgan Chase; Merrill Lynch Pierce Fenner
& Smith; Salomon Smith Barney Holdings; Inrange Technologies Corp.

In re Finisar Corp. Initial Public Offering Sec. Litig., 01 Civ. 10813 (SAS)
PLAINTIFFS
William H. Hamilton

DEFENDANTS
Merrill Lynch Pierce Fenner & Smith; Finisar

In re Ticketmaster Online-City Search, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10822
(SAS)

PLAINTIFFS

Saul Kassin; Guy Vitello

DEFENDANTS

Allen & Company; Banc of America Securities; Bancboston Robertson, Stephens; Bear Stearns;
Chase H & Q (Hambrecht & Quist); Credit Suisse First Boston Corporation; Donaldson Lufkin
& Jenrette; FleetBoston Robertson Stephens; Goldman Sachs; JP Morgan; Morgan Stanley Dean
Witter; Nationsbanc; Salomon Smith Barney; Ticketmaster Online-City Search, Inc.

In re NextCard, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10823 (SAS)
PLAINTIFFS

Jack Kassin

Brando Polak

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Bear, Stearns & Co. Inc.; Chase H&Q (Hambrecht &
Quist LLC); Credit Suisse First Boston Corporation; DLJDirect, Inc.; Donaldson, Lufkin &
Jenrette Securities Corporation; Fleetboston Robertson Stephens, Inc.; JP Morgan Securities;
Lehman Brothers, Inc.; Prudential Securities Incorporated; Robertson Stephens, Inc.; Salomon
Smith Barney, Inc.; The Goldman Sachs Group, Inc.; Thomas Weisel Partners LLC; US Bancorp
Piper Jaffray, Inc.; Nextcard, Inc.

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In re Be Free, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10827 (SAS)
PLAINTIFFS
Saul Kassin; Ronnie Sehon

DEFENDANTS

Chase H & Q (Hambrecht & Quist) ; Credit Suisse First Boston; DLJ Direct; Donaldson Lufkin
& Jenrette; FleetBoston Robertson Stephens; JP Morgan; Merrill Lynch Pierce Fenner & Smith;
RBC Dain Rauscher; Royal Bank of Canada (Dain Rauscher Wessels); Be Free, Inc.; Thomas A.
Gerace

In re pcOrder, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10828 (SAS)
PLAINTIFFS
Morris Kassin

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Credit Suisse First Boston Corp.; Donaldson Lufkin &
Jenrette Securities Corp.; Fleetboston Robertson Stephens, Inc.; Pacific Growth Equities, Inc.;
Robertson Stephens, Inc.; SG Cowen Securities Corp.; The Goldman Sachs Group, Inc.; Pcorder,
Inc.; Trilogy Software, Inc.

In re webMethods, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10830 (SAS)
PLAINTIFFS
Jack Kassin; Michael McNeirmey

DEFENDANTS
Friedman Billings Ramsey; Merrill Lynch Pierce Fenner & Smith; Morgan Stanley Dean Witter;
RBC Dain Rauscher; WebMethods, Inc.

In re Sequenom, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10831 (SAS)
PLAINTIFFS
Collegeware Asset Management; Collegeware USA Inc. by Saul Kassin

DEFENDANTS

Bear, Stearns & Co. Inc.; Chase H&Q (Hambrecht & Quist LLC); Credit Suisse First Boston
Corp.; Dillon Read; Donaldson, Lufkin & Jenrette Securities Corporation; Fleetboston Robertson
Stephens, Inc.; JP Morgan Securities; Lehman Brothers, Inc.; Merrill Lynch, Pierce, Fenner &
Smith Incorporated; Morgan Stanley Dean Witter & Co., Incorporated; Robertson Stephens, Inc.;
SG Cowen Securities Corporation; UBS Warburg LLC; Sequenom, Inc.; Hubert Koster; Helmut
Schuhsler; Steven L. Zaniboni

In re Virata Corp. Initial Public Offering Sec. Litig., 01 Civ. 10833 (SAS)
PLAINTIFFS
Barry J. Agranat; David Paschket

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DEFENDANTS

Banc of America Securities; Credit Suisse First Boston; Dain Rauscher Wessels; FleetBoston
Robertson Stephens; Morgan Stanley; Thomas Weisel Partners; UBS Warburg; U.S. Bancorp
Piper Jaffray; Warburg Dillon Read; Virata Corp.

In re Informax, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10834 (SAS)
PLAINTIFFS
Coastline Corp; Barry S. Kantrowitz

DEFENDANTS

Banc of America Securities; Bear Stearns; Dain Rauscher; Deutsche Bank Securities; Merrill
Lynch Pierce Fenner & Smith; Morgan Stanley; RBC Dain Rauscher, Inc.; Thomas Weisel
Partners; U.S. Bancorp Piper Jaffray; Informax, Inc.; Alex Titomirov

In re Inforte Corp. Initial Public Offering Sec. Litig., 01 Civ. 10836 (SAS)
PLAINTIFFS
Mary C. Best; Brian Padgett

DEFENDANTS
Goldman Sachs; Salomon Smith Barney; Inforte Corp.; Philip S. Bligh; Stephen C. P. Mack;
Nick Padgett

In re SMTC Corp. Initial Public Offering Sec. Litig., 01 Civ. 10838 (SAS)
PLAINTIFFS
William Mitchell; Joel Richmond

DEFENDANTS

CIBC World Markets Corp.; Credit Suisse First Boston Corp.; Deutsche Bank Alex Brown;
Deutsche Bank Securities Inc.; Donaldson, Lufkin & Jenrette Securities Corporation; Fleetboston
Robertson Stephens, Inc.; Lehman Brothers, Inc.; Merrill Lynch, Pierce, Fenner & Smith
Incorporated; Robertson Stephens, Inc.; SMTC Corporation; Edward Johnson; Richard Smith;
Paul Walker

In re Chartered Semiconductor Manufacturing, Ltd. Initial Public Offering Sec. Litig., 01 Civ.
10839 (SAS)

PLAINTIFF

Barry S. Kantrowitz

DEFENDANTS
Credit Suisse First Boston; S.G. Cowen Securities; Salomon Smith Barney; Soundview
Technology Group

In re Women.com Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10866 (SAS)
PLAINTIFFS
Abraham Kassin

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DEFENDANTS

Bear Stearns; Credit Suisse First Boston; Deutsche Banc Alex. Brown; Donaldson Lufkin &
Jenrette; FleetBoston Robertson Stephens; Merrill Lynch Pierce Fenner & Smith; Morgan
Stanley Dean Witter; Salomon Smith Barney; iVillage, Women.com Networks, Inc.; Marleen
McDaniel; Michael Perry

Inre PurchasePro.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10867 (SAS)
PLAINTIFFS
Collegeware USA Inc.; Robert F. Munsey; Patricia Sedore

DEFENDANTS

Bear Stearns & Co., Inc.; Chase H&Q (Hambrecht & Quist LLC); Credit Suisse First Boston
Corp.; Donaldson, Lufkin & Jenrette Securities Corp.; Fleetboston Robertson Stephens, Inc.;
Jeffries & Company, Inc.; JP Morgan Securities; Prudential Securities Inc.; Robertson Stephens,
Inc.; Salomon Smith Barney, Inc.; Volpe Technology; Purchasepro.com, Inc.; Charles E.
Johnson, Jr.

In re Gigamedia Ltd. Initial Public Offering Sec. Litig., 01 Civ. 10884 (SAS)
PLAINTIFFS
Tiziano Invernizzi; Barbara McFarland

DEFENDANTS
Deutsche Banc Alex. Brown; Goldman Sachs; Gigamedia Ltd.

In re Valicert, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10889 (SAS)
PLAINTIFFS
Jacqueline Lachance

DEFENDANTS
Merrill Lynch Pierce Fenner & Smith; Valicert, Inc.; Joseph Amram, Timothy Conley

In re Network Engines, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10894 (SAS)
PLAINTIFFS
Margaret Vojnovich

DEFENDANTS

Credit Suisse First Boston Corp.; Fleetboston Robertson Stephens, Inc.; Goldman, Sachs & Co.;
Lehman Brothers Inc.; Robertson Stephens, Inc.; Salomon Smith Barney Inc.; Network Engines,
Inc.

In re Radware Ltd. Initial Public Offering Sec. Litig., 01 Civ. 10898 (SAS)

PLAINTIFFS
Abraham Kassin; David Orange; John Warner

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DEFENDANTS

Bank of America Corporation (Banc of America Securities LLC); Bancboston; Canadian
Imperial Bank of Commerce (Cibe World Markets Corp.); CIBC World Markets; Fleetboston
Robertson Stephens; Goldman Sachs Group, Inc.; Robertson Stephens & Co.; Robinson-
Humphrey Company, Inc.; Salomon Smith Barney, Inc.; Suntrust Capital Markets, Inc. (Suntrust
Robinson Humphrey Capital Markets); US Bancorp Piper Jaffray, Inc.; Radware Ltd.; Meir
Moshe; Roy Zisapel; Yehuda Zisapel

In re Juniper Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10899 (SAS)
PLAINTIFFS
Collegeware Asset Management; Thomas McDaniel; Amy Varani

DEFENDANTS

Chase (Hambrecht & Quist); Credit Suisse First Boston; FleetBoston Robertson Stephens;
Goldman Sachs; J.P. Morgan Chase; Lehman Brothers; Merrill Lynch Pierce Fenner & Smith;
Royal Bank of Canada (Dain Rauscher Wessels); S.G. Cowen Securities; Salomon Smith
Barney; UBS Warburg (Warburg Dillon Read)

In re Martha Stewart Living Omnimedia Initial Public Offering Sec. Litig., 01 Civ. 10900 (SAS)
PLAINTIFFS
Saul Kassin; Kathleen Mundy

DEFENDANTS

Banc of America Securities LLC; Bear, Stearns & Co. Inc.; Credit Suisse First Boston Corp.;
Donaldson, Lufkin & Jenrette Securities Corporation, Inc.; Merrill Lynch, Pierce, Fenner &
Smith Incorporated; Morgan Stanley Dean Witter, Inc.; Salomon Smith Barney, Inc.; The
Goldman Sachs Group, Inc.; Martha Stewart Living Omnimedia, Inc.

In re Asialnfo Holdings Initial Public Offering Sec. Litig., 01 Civ. 10901 (SAS)
PLAINTIFFS
Benedetto Hassan; JaeSeok Lim; John Muro; Joel Witmer; Sotirios Zervoulias

DEFENDANTS
Credit Suisse First Boston; Deutsche Banc Alex. Brown; Donaldson Lufkin & Jenrette; Morgan
Stanley Dean Witter; AsiaInfo Holdings

In re Silicon Image, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10903 (SAS)
PLAINTIFFS
Alberto Jose Gonzalez

DEFENDANTS
Bear, Stearns & Co. Inc.; Credit Suisse First Boston Corp.; Robertson Stephens, Inc.; Robertson
Stephens Inc.; Salomon Smith Barney Inc.; Silicon Image, Inc.; Daniel K. Atler; David D. Lee

In re Carrier! International SA Initial Public Offering Sec. Litig., 01 Civ. 10940 (SAS)

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PLAINTIFF
John Ashou; Howard Borus; Michael Ladon Gardner; Linc Corp.; Bryan D. Woosley; Catherine
L. Yodsnukis; Joseph J. Yodsnukis

DEFENDANTS

Bear Stearns; Commerzbank Aktiengesellschaft; Merrill Lynch; Morgan Stanley Dean Witter;
Salomon Smith Barney; UBS Warburg Long Term Disability Plan; Warburg Dillon Read;
Carrier International SA; Joachim Bauer; Glenn M. Creamer; Jonathan E. Dick; Stig Johansson;
Mark A. Pelson; Victor A. Pelson; Thomas J. Wynne

Inre Sonic Wall, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10941 (SAS)
PLAINTIFFS
Donald DeZarn

DEFENDANTS

Bancboston Robertson, Stephens, Inc.; Bear, Stearns & Co. Inc.; Credit Suisse First Boston
Corporation; Robertson Stephens Inc.; Robertson Stephens, Inc.; Sonicwall, Inc.; Sreekanth
Ravi; Sudhakar Ravi; Michael J. Sheridan

In re Regent Communications. Inc. Initial Public Offering Sec. Litig., 01 Civ. 10942 (SAS)
PLAINTIFFS
Kenneth Bordo

DEFENDANTS
Bear, Stearns & Co., Inc.; Credit Suisse First Boston Corporation; Morgan Stanley & Co.;
Regent Communications, Inc.; Terry S. Jacobs; William L. Stakelin; Anthony A. Vasconcellos

In re Copper Mountain Networks, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10943 (SAS)
PLAINTIFFS
Wendell Flatter; Charles Lowlicht

DEFENDANTS
BancBoston Robertson Stephens; Hambrecht & Quist; JP Morgan; Morgan Stanley; Copper
Mountain Networks, Inc.

In re Daleen Technologies, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10944 (SAS)
PLAINTIFFS
Angelo Fazari; Stuart Shilitz

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BancBoston Robertson Stephens; Hambrecht & Quist; JP Morgan; Salomon Smith Bamey;
Daleen Technologies, Inc.

In re Nextel Partners, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10945 (SAS)
PLAINTIFFS

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Carolyn Kiefer

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Smith Incorporated; Morgan Stanley & Co.; Nextel Partners, Inc.

In re InsWeb Corp. Initial Public Offering Sec. Litig., 01 Civ. 10969 (SAS)
PLAINTIFFS
David Abramo; John F. Farrell; Abraham Kassin

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Donaldson Lufkin & Jenrette; FleetBoston Robertson Stephens; Goldman Sachs; InsWeb Corp.

In re TheStreet.com, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10970 (SAS)
PLAINTIFFS
Bernd Huber; Abraham Kassin

DEFENDANTS
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Morgan; Merrill Lynch Pierce Fenner & Smith; Thomas Weisel Partners, TheStreet.com, Inc.

In re Cobalt Networks Initial Public Offering Sec. Litig., 01 Civ. 10971 (SAS)
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Robertson Stephens; Goldman Sachs; JP Morgan; Merrill Lynch Pierce Fenner & Smith;
Soundview Technology Group; Wit Soundview; Gordon A. Campbell; Kenton D. Chow;
Stephen W. Dewitt

In re World Wrestling Federation Entertainment, Inc. Initial Public Offering Sec. Litig., 01 Civ.
10972 (SAS)

PLAINTIFFS

Kenneth Bank; Abraham Kassin

DEFENDANTS

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Capital; World Wrestling Federation Entertainment, Inc.; August J. Liguori; Linda E. McMahon;
Vincent K. McMahon

In re Internet Initiative Japan Initial Public Offering Sec. Litig., 01 Civ. 10974 (SAS)
PLAINTIFFS
Saul Kassin

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DEFENDANTS
Goldman Sachs; Morgan Stanley Dean Witter; Internet Initiative Japan; Yasuhiro Nishi; Koichi
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In re Tippingpoint Technologies, Inc. (f/k/a Netpliance) Initial Public Offering Sec. Litig., 01
Civ. 10976 (SAS)

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Brian Levy

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Technologies, Inc.

Inre Jazztel P.L.C. Initial Public Offering Sec. Litig., 01 Civ. 10983 (SAS)
PLAINTIFFS
Donald Lamps

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In re Xpedior, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10984 (SAS)
PLAINTIFFS
Martin Camaj; George Essenmacher

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Isaacson; Margarte G. Reed

In re Centra Software, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10988 (SAS)
PLAINTIFFS
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In re Maxygen, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10990 (SAS)
PLAINTIFFS
Marilyn Male; Rickey L. Radliff

DEFENDANTS

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Incorporated; Robertson Stephens, Inc.; Salomon Smith Barney, Inc.; Maxygen, Inc.; Simba
Gill; Russell J. Howard

In re Variagenics, Inc. Initial Public Offering Sec. Litig., 01 Civ. 10999 (SAS)
PLAINTIFFS
Florence Rozen; Richard A. Wettergreen

DEFENDANTS

Chase; Credit Suisse First Boston; Donaldson, Lufkin; FleetBoston Robertson Stephens; J.P.
Morgan Securities; Lehman Brothers Holdings, Merrill Lynch Pierce Fenner & Smith;
Prudential Securities; S.G. Cowen Securities; Variagenics, Inc.

In re Manufacturers Services Ltd. Initial Public Offering Sec. Litig., 01 Civ. 11000 (SAS)
PLAINTIFFS
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Smith Barney Holdings, Inc.; The Bear Stearns Companies Inc.; Thomas Weisel Partners LLC;
Bank of America Securities; Merrill Lynch Pierce Fenner & Smith; Manufacturers Services Ltd.

In re Primus Knowledge Solutions, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11201 (SAS)
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Inc.; Robertson Stephens, Inc.; Salomon Smith Barney Holdings, Inc.; US Bancorp Piper Jaffray
Inc.; Primus Knowledge Solutions, Inc.

In re Pacific Internet Ltd. Initial Public Offering Sec. Litig., 01 Civ. 11202 (SAS)
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Internet Limited; Chaim Heng Huat; Chan Wing Leong; Nicholas Lee Meng Tuck

In re Pac-West Telecomm, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11217 (SAS)
PLAINTIFFS
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Salomon Smith Barney Inc.; Pac-West Telecomm, Inc.

In re Silicon Laboratories, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11218 (SAS)
PLAINTIFFS
Evelyn Ortiz; Linda Rubin

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Lehman Brothers; Morgan Stanley & Co.; Robertson Stephens, Inc.; Salomon Smith Barney,
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In re deCODE Genetics, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11219 (SAS)
PLAINTIFFS
Linda Rubin

DEFENDANTS
Lehman Brothers; Morgan Stanley; Decode Genetics, Inc.

In re Capstone Turbine Corp. Initial Public Offering Sec. Litig., 01 Civ. 11220 (SAS)
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In re MCK Communications, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11230 (SAS)
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Robertson Stephens, Inc.; Salomon Smith Barney Holdings Inc.; The Bear Stearns Companies
Inc.; MCK Communications, Inc.; Steven J. Benson; Paul K. Zurlo

In re Digital Insight Corp. Initial Public Offering Sec. Litig., 01 Civ. 11231 (SAS)
PLAINTIFFS
Joe McCollum; Robert M. Wright

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Stanley; Digital Insight Corp.

In re Click Commerce, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11234 (SAS)
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Piper Jaffray; Click Commerce, Inc.

In re Alamosa PCS Holdings Initial Public Offering Sec. Litig., 01 Civ. 11235 (SAS)
PLAINTIFFS
Bette R. Grayson; Tracy Spaeth

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Fenner & Smith; Salomon Smith Barney; Alamosa PCS Holdings

In re NetSolve, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11239 (SAS)
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Netsolve, Inc.

In re Resonate, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11245 (SAS)

PLAINTIFFS
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Technology; Resonate, Inc.; Robert C. Hausmann; Christopher C. Marino; Kenneth Schroeder

In re Extensity, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11246 (SAS)

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In re TeleCorp PCS, Inc. Initial Public Offering Sec. Litig., 01 Civ. 11249 (SAS)
PLAINTIFFS
Joseph W. Fontenot; Albert Schechter

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Telecorp PCS, Inc.

Muller v. Diversa Corp., 02 Civ. 9699
PLAINTIFFS
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JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION

CERTIFICATE OF SERVICE MAY 23 2003

FILED
GUSTAVO BRUCKNER, certifies under penalty of perjury, as follow6LERK'S OFFICE

I am over the age of eighteen years and am not a party to this action. Iam
associated with the firm of Wolf Haldenstein Adler Freeman & Herz LLP, attorneys for movants,
Initial Public Offering Securities Litigation [21 MC 92 (SAS)] Lead Plaintiffs.

On May 12, 2003, I caused a copy of the Motion by the Initial Public Offering
Securities Litigation Lead Plaintiffs to Transfer for Coordinated or Consolidated Pretrial
Proceedings Pursuant to 28 U.S.C. §1407 and the Memorandum of Law in Support of the Motion
by the Initial Public Offering Securities Litigation Lead Plaintiffs to Transfer for Coordinated or
Consolidated Pretrial Proceedings Pursuant to 28 U.S.C. §1407 to be served upon the parties
named below, by causing a true copy thereof, securely enclosed in a properly addressed wrapper,
to be deposited into the custody of the United States Postal Service.

Dated: New York, New York
May 12, 2003

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20550 Nordhoff Street
Chatsworth, CA 91311

William R. Spivey

c/o Luminent, Inc.
20550 Nordhoff Street
Chatsworth, CA 91311

John F. McDonnell

c/o McDATA Corporation
310 Interlocken Crescent
Broomfield, CO 80021

Dee J. Perry

c/o McDATA Corporation
310 Interlocken Crescent
Broomfield, CO 80021

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Paul L. H. Ouyang
c/o MP3.com

4790 Eastgate Mall
San Diego, CA 92121

Michael L. Robertson
c/o MP3.com

4790 Eastgate Mall
San Diego, CA 92121

Richard N. Nottenburg

c/o Multilink Technology Corp.
300 Atrium Drive, Second Floor
Somerset, NJ 08873-4105

Eric M. Pillmore

c/o Multilink Technology Corp.
300 Atrium Drive, Second Floor
Somerset, NJ 08873-4105

William L. Potts, Jr.
c/o New Focus, Inc.
2584 Junction Avenue
San Jose, CA 95134

Kenneth E. Westrick
c/o New Focus, Inc.
2584 Junction Avenue
San Jose, CA 95134

Melvin Flowers

c/o Novatel Wireless, Inc.

9360 Towne Centre Drive, Suite 110
San Diego, CA 92121

John Major

c/o Novatel Wireless, Inc.

9360 Towne Centre Drive, Suite 110
San Diego, CA 92121

Numerical Techologies, Inc.
General Counsel

70 W. Plumeria Drive

San Jose, CA 95134

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Richard Mora

c/o Numerical Technologies, Inc.
70 W. Plumeria Drive

San Jose, CA 95134

Y.C, (Buno) Pati

c/o Numerical Technologies, Inc.
70 W. Plumeria Drive

San Jose, CA 95134

Frederic T. Boyer

c/o Occam Networks, Inc.
77 Robin Hill Road

Santa Barbara, CA 93117

Suresh Nihalani

c/o Occam Networks, Inc.
77 Robin Hill Road

Santa Barbara, CA 93117

Glenn S. Ballman
c/o Onvia.com, Inc.
1260 Mercer Street
Seattle, WA 98109

Mark T. Calvert
c/o Onvia.com, Inc.
1260 Mercer Street
Seattle, WA 98109

Brent R. Frei

c/o Onyx Software Corp.

1100 - 112th Avenue, NE, Suite 100
Bellevue, WA 98004

Sarwat H. Ramadan

c/o Onyx Software Corp.

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Bellevue, WA 98004

Kevin C. Clark

c/o Pinnacor, Inc.

601 West 26" Street, 13" Floor
New York, NY 10001

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David M. Obstler

c/o Pinnacor, Inc.

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New York, NY 10001

Susan Black

c/o Razorfish, Inc.

11 Beach Street, 10th Floor
New York, NY 10013

Jeffrey A. Dachis

c/o Razorfish, Inc.

11 Beach Street, 10th Floor
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C. Rudy Puryear

c/o SBI and Company

2825 E. Cottonwood, Suite 480
Salt Lake City, UT 84121

Brian Henry

c/o SBI and Company

2825 E. Cottonwood, Suite 480
Salt Lake City, UT 84121

David D. Lee

c/o Silicon Image, Inc.
1060 E. Arques Avenue
Sunnyvale, CA 94086

Daniel K. Atler

c/o Silicon Image, Inc.
1060 E. Arques Avenue
Sunnyvale, CA 94086

Luis P. Buhler

c/o Simplex Solutions, Inc.
2655 Seely Avenue

San Jose, CA 95134

Penelope A. Hersher

c/o Simplex Solutions, Inc.
2655 Seely Avenue

San Jose, CA 95134

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Radha R. Basu

c/o Supportsoft, Inc.

575 Broadway

Redwood City, CA 94063

Brian M. Beattie

c/o Supportsoft, Inc.

575 Broadway

Redwood City, CA 94063

Henry F. Skelsey

c/o Tanning Technology Corp.

4600 South Syracuse Street, Suite 300
Denver, CO 80237

Larry G. Tanning

c/o Tanning Technology Corp.

4600 South Syracuse Street, Suite 300
Denver, CO 80237

W. Thomas Gimple

c/o Tickets.com, Inc.

555 Anton Boulevard, 11th Floor
Costa Mesa, CA 92626

John M. Markovich

c/o Tickets.com, Inc.

555 Anton Boulevard, 11th Floor
Costa Mesa, CA 92626

Howard Speaks

c/o Triton Network Systems, Inc.
8529 South Park Circle
Orlando, FL 32819

Kenneth R. Vines

c/o Triton Network Systems, Inc.
8529 South Park Circle
Orlando, FL 32819

Jeffrey C. Smith

c/o Tumbleweed Communications Corp.
700 Saginaw Drive

Redwood City, CA 94063

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Joseph C. Consul

c/o Tumbleweed Communications Corp.
700 Saginaw Drive

Redwood City, CA 94063

Larry M. Augustin

c/o VA Software Corporation
47071 Bayside Parkway
Fremont, CA 94538

Todd B. Schull

c/o VA Software Corporation
47071 Bayside Parkway
Fremont, CA 94538

Robert L. Gett
c/o Viant Corp.
89 South Street
Boston, MA 02111

M. Dwayne Nesmith
c/o Viant Corp.

89 South Street
Boston, MA 02111

Paul Auvil

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945 Stewart Drive
Sunnyvale, CA 94086

Jomei Chang

c/o Vitria Technology, Inc.
945 Stewart Drive
Sunnyvale, CA 94086

ADDITIONAL INTERESTED PARTIES:

Clerk of the Court

United States District Court
Southern District of Florida
301 North Miami Avenue
Miami, FL 33128

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Clerk of the Court

United States District Court

Southern District of New York

Daniel Patrick Moynihan United States Courthouse
500 Pearl Street

New York, NY 10007

Hon. Shira A. Scheindlin

United States District Court

Southern District of New York

Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1050

New York, NY 10007

Hon. William H. Pauley III

United States District Court

Southern District of New York

Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 2210

New York, NY 10007

Hon. Jose E. Martinez

United States District Court
Southern District of Florida

301 North Miami Avenue, 3rd Floor
Miami, FL 33128

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Sandy A. Liebhard, Esq.

Rebecca Katz, Esq.

Robert J. Berg, Esq.

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New York, NY 10016

Lovell, Stewart and Halebian LLP
Christopher Lovell, Esq.

Victor Stewart, Esq.

500 Fifth Avenue

New York, N.Y. 10110

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Robert A. Wallner, Esq.
Ariana J. Tadler, Esq.
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New York, NY 10119

Sirota & Sirota

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Stull Stull & Brody
Jules Brody, Esq.
Aaron Brody, Esq.

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New York, NY 10017

Wolf Haldenstein Adler Freeman & Herz LLP
Fred Taylor Isquith, Esq.

Thomas Burt, Esq.

Gustavo Bruckner, Esq.

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OFFERING SECURITIES LITIGATION, 21 MC 92 (SAS) AND AUTHORIZED TO ACCEPT

PAPERS ON BEHALF OF UNDERWRITER DEFENDANTS:

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Gandolfo DiBlasi, Esq.
Penny Shane, Esq.

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LIAISON COUNSEL TO ISSUER DEFENDANTS IN IN RE INITIAL PUBLIC OFFERING
SECURITIES LITIGATION, 21 MC 92 (SAS) AND AUTHORIZED TO ACCEPT PAPERS
ON BEHALF OF ISSUER DEFENDANTS:

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Jack Auspitz, Esq.

Matthew D’Amore, Esq.
1290 Avenue of the Americas
New York, N.Y. 10104-0012

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Exhibit A

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Aether Systems

Airgate PCS

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Robert Narayan; Dr. Pradeep Sri

Alamosa PCS Holdings . Tracy Spaeth
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Apropos Technology

Joseph Baum

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Tamarack I, L.P.
Ian Murray

Gary W. and Suzanne Kurtz
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B2B Internet Holdrs

Backweb Technologi Lawrence A. Fantoli

Brocade Arvind Kumra

Bsquare Maurice Wilber

Caldera Systems Claire Eff

Sumner; Paul Stath

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Caliper Technologies

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Carrierl International

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Commerce One

CommTouch Software

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Copper Mountain Networks

Ralph C. Harrison
a

Thomas R. Stelter
Trustee for the Thomas R. Stelter Declaration of Trust
dated 1/31/92

:

Morris Kassin

Charles Lowlicht

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Copper Mountain Networks Wendell Flatter

Covad Neils Peter Christenson

Critical Path Alexander Nehring

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oT

deltathree.com Hanna Hadari; Tal Hadari; Widad Jafar; Dror Hadari

Dice (Earthweb) Raphael Grossman

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Digital Insight Robert M. Wright

cee

assin; Fred

Diversa Vicki M. Muller; Mariam M. Heelan; Donald K. Nat

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drkoop.com Jack Schwartz

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Drugstore.com Bertha Washington

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eGain Communications Rennel Trading Corp.
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Firepond

Exchange App

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lications

:

Krikor Kasbarian

Michael Sabbia

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Tony G. Bedwell; Rob

SS

Morris Kassin

Joseph Zhen

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Flashnet Communications Saul Kassin

Focal Communications Philip Duggan

=

Foundry Networks

Global Crossing E. L. Fike; Jonathan K. Lawton; Gregory Lawton; Lawrence
W. Lawton-Executor of Estate of Johanna A. Lawton

Goto.com Dante Monteverde

GRIC Communications Gabriel Poloni

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oes
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Hoovers

Joseph Capec

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iBasis Sharon Merkin; Solomon N. Merkin; Lieb Merkin, Inc.

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Insweb John F. Farrell

-

Internet Capital Grou AFA Management Partners, LP

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Donald E. Benjamin; Robert P. Jordan

we

Alfred Boeckli
—

Jack Kassin

Kana Software

Juniper Networks (lead not in Thomas McDaniel
omnibus)
Juniper Networks Amy Varani

Catu, Ltd.

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Kana Software Abraham Kassin

RO eGree

Lante Saswata Basu

dio Jeff Eltinge

Berard Grizzaffi

Manufacturers Services LTD Melvin Crenshaw, Jr.; Marvin P. Crenshaw

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Marketwatch.com

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Nicholas and Bettie Anderson

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Marvell Technology Richard Hart

a

McAfee.com Philip Attfield

MCK Communications Aleksandr Sukennik

Metawave Communications James R. Weber

Microtune Joan Trafficanta
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Multex Raymond B. Dooley

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Navisite

NetRatings

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New Focus

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Next Level

Arvid Brandstrom
Brandstrom Instruments

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Patrick Miller

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Edward Woodward, Jr.

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Mathew Samuel

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Ronald Lessnau

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ave Systems

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Numerical Technologies

or

Kenneth J. Goffreda

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Todd Feldman

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Pond Equities

Idberg; Fuller &

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Alhan Evrim;

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Thaler Asset Management

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Packeteer

Ee

Perot Systems Robinson Radiology Ltd Profit Sharing Plan and Trust

To

PlanetRx.com Richard Ray and Pamela Kay Trujillo

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ert

Priceline.com David W. Hook

Primus Knowledge Daniel E. Johnson

Prodigy Communications James B. Holman

Proton Energy Donna Procaccianti; Robert Procaccianti

x

PurchasePro.com Robert F. Munsey

T

Quicklogic Janis and Susan Prusis

rT -

Radio Unica Louis DePietro; Michael Atlas

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Rhythms Netconnection

Rowecom, Inc.

7

Satyam Infoway

Selectica

Robert Lang; Aileen Haw

if

John and Patrick Fitapelli

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Collegeware Asset Management

oo

Sonus Networks Edward C. Donahue

Vasanthakumar Gangaiah

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Support.com

Talarian

Telecommunications Systems

=

Be oe 2

Terra Networks, S.A.

Tickets.co

Tippingpoint Technologies

Dane A. Risley

David J. Bertoli

Samuel Sinay

— r

Krikor Kasbarian

Saul Kassin

Brian Levy

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William Price

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Usinternetworking

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Roger Andriessen

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Ventro

Vicinity

Vignette

ogy

Gregory S. Carroll; Alexander Nehring

reer

Barry J. Agranat

; Kideys Corporation

=

Zhen Shao

Paul R. Robichaux

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Webvan

Xcare.net

Xpedior

Z-Tel Tech

Ziff Davis

James August

Abraham Kassin

Kenneth Bank

George Essenmacher

David Grosinger

Saul Kassin

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Exhibit B

Case No.

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UNITED STATES DISTRICT courY 3 - 2 0 4 S 9

SOUTHERN DISTRICT OF FLORIDA

AMY LIU on behalf of herself and all others similarly
Situated,

Plaintiff,

vs.

CREDIT SUISSE FIRST BOSTON
CORPORATION, CREDIT SUISSE FIRST
BOSTON, INCORPORATED, CREDIT SUISSE
FIRST BOSTON-USA, CREDIT SUISSE FIRST
BOSTON, CREDIT SUISSE GROUP, FRANK
QUATTRONE, GEORGE BOUTROS, WILLIAM
BRADY, JOHN M. HENNESSY, ALLEN D.
WHEAT, RICHARD THORNBURGH, CHARLES
WARD, DAVID A. DENUNZIO, EDWARD
NADEL, JOHN HODGE, JACK TEJAVANIJA,
AIRSPAN NETWORKS, INC., ERIC D.
STONESTROM, JOSEPH J. CAFFARELLI, AT
ROAD, INC., KRISH PANU, THOMAS C.
HOSTER, OCCAM NETWORKS INC. (formerly
"ACCELERATED NETWORKS, INC."), SURESH
NIHALANI, FREDERIC T. BOYER, AVANTGO,
INC., RICHARD OWEN, DAVID B. COOPER, JR.,
AUTOWEB.COM, INC. (AUTOBYTEL, real party
in interest), DEAN A. DEBIASE, SAMUEL M.
HEDGPETH Il, BSQUARE CORP., WILLIAM T.
BAXTER, BRIAN V. TURNER, BLUE COAT
SYSTEMS, INC. (formerly “"CACHEFLOW, INC.”),
BRIAN M. NESMITH, MICHAEL J. JOHNSON,
CLARENT CORP. (VERSO TECHNOLOGIES,
INC.), real party in interest), JERR Y SHAW-YAU
CHANG, RICHARD J. HEAPS, COMMERCE ONE,
INC., MARK B. HOFFMAN, PETER F, PERVERE,
CORILLIAN CORP., TED F. SPOONER, STEVEN
SIPOWICZ, CENTILLIUM COMMUNICATIONS,
INC., FARAJ AALAEI, JOHN W. LUHTALA,
DIGITAL IMPACT, INC., WILLIAM C. PARK,
DAVID OPPENHEIMER, E MACHINES, INC.,

Nt Ne Nt Ne et et ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee eee ee ee ee es ss es

CIV-MARTINEZ

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JURY TRIAL DEMANDED oN

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STEPHEN A. DUKKER, STEVEN H. MILLER,
EFFICIENT NETWORKS, INC., MARK A.
FLOYD, JILL S. MANNING, E.PIPHANY, INC.,
ROGER 5S. SIBONI, KEVIN J. YEAMAN, EVOLVE
SOFTWARE, INC., JOHN P. BANTLEMAN,
DOUGLAS S. SINCLAIR, HANDSPRING, INC.,
DONNA L. DUBINSKY, BERNARD J. WHITNEY,
IMPROVENET, INC., RONALD B. COOPER,
RICHARD G. REECE, INTERNAP NETWORK
SERVICES CORP., ANTHONY C. NAUGHTIN,
PAUL E. MCBRIDE, INFORMATICA CORP.,
GAURAV S. DHILLON, CRAIG L.
KLOSTERMAN, IPRINT TECHNOLOGEES, INC.
(formerly "IPRINT.COM"; MADETOORDER.COM,
INC., real party in interest), ROYAL P. FARROS,
JAMES P. MCCORMICK, INTRAWARE, INC.,
PETER H. JACKSON, DONALD M. FREED,
INTERTRUST TECHNOLOGIES CORP., VICTOR
SHEAR, ERWIN N. LENOWITZ, INTERWOVEN,
INC.. MARTIN BRAUNS. DAVID M. ALLEN.
LUMINENT, INC., WILLIAM R. SPIVEY, ERIC
BLACHNO, LANTE CORP. (SBI AND
COMPANY, real party in interest), C. RUDY
PURYEAR, BRIAN HENRY, VA SOFTWARE
CORPORATION (formerly "VA LINUX
SYSTEMS"), LARRY M. AUGUSTIN, TODD B.
SCHULL, LIGHTSPAN PARTNERSHP, INC.,
JOHN T. KERNAN, KATHLEEN R. MCELWEE,
MCDATA CORPORATION, JOHN F.
MCDONNELL, DEE J. PERRY, MULTILINK
TECHNOLOGY CORP., RICHARD N.
NOTTENBURG, ERIC M. PILLMORE, MP3.COM
(VIVENDI UNIVERSAL NET USA GROUP, INC.,
real party in interest), MICHAEL L. ROBERTSON,
PAUL L. H. OUYANG, NUMERICAL
TECHNOLOGEES, INC., Y. C. (BUNO) PATI,
RICHARD MORA, NEW FOCUS, INC., KENNETH
E. WESTRICK, WILLIAM L. POTTS, JR.,
NOVATEL WIRELESS, INC., JOHN MAJOR,
MELVIN FLOWERS, ONVIA.COM, INC., GLENN
S. BALLMAN, MARK T. CALVERT, ONYX
SOFTWARE CORP., BRENT R. FREI, SARWAT
H. RAMADAN, RAZORFISH, INC. (SBI AND
COMPANY, real party in interest), JEFFREY A.
DACHIS, SUSAN BLACK, RETEK, INC., JOHN

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BUCHANAN, GREGORY A. EFFERTZ,
PINNACOR, INC. (formerly "SCREAMINGMEDIA,
INC.")., KEVIN C. CLARK, DAVID M. OBSTLER,
SILICON IMAGE, INC., DAVID D. LEE, DANIEL
K. ATLER, SELECTICA, INC., RAJEN JASWA,
STEPHEN BENNION, SIMPLEX SOLUTIONS,
INC. (CADENCE DESIGN SYSTEMS, INC., real
party in interest), PENELOPE A. HERSCHER, LUIS
P. BUHLER, SUPPORTSOFT, INC. (formerly
"SUPPORT.COM”), RADHA R. BASU, BRIAN M.
BEATTIE, TANNING TECHNOLOGY CORP.,
LARRY G. TANNING, HENRY F. SKELSEY,
TICKETS.COM, INC., W. THOMAS GIMPLE,
JOHN M. MARKOVICH, TUMBLEWEED
COMMUNICATIONS CORP., JEFFREY C. SMITH,
JOSEPH C. CONSUL, TRITON NETWORK
SYSTEMS, INC., HOWARD SPEAKS, KENNETH
R. VINES, VIANT CORP, (DIVINE, INC., real party
in interest), ROBERT L. GETT, M. DWAYNE
NESMITH, VITRIA TECHNOLOGY, INC., JOMEI
CHANG, PAUL AUVIL, GLOBESPANVIRATA,
INC. (formerly "VIRATA CORP.”), CHARLES
COTTON, ANDRE VOUGHT,

Defendants.

Ne Ne ee et ee ee ee ee ee ee ee ee ee ee ee ee ee ee tee es ee

Plaintiff makes the following allegations, except as to allegations specifically pertaining
to plaintiff and her counsel, based upon the investigation undertaken by plaintiff's counsel,
which included without limitation: (a) interviews with current and former employees of Credit
Suisse First Boston Corporation; (b) reviews of research reports published by Credit Suisse First
Boston Corporation relating to the corporate issuers named herein; (c) reviews of the
prospectuses of each corporate issuer named herein; and (d) an analysis of publicly-available
news articles and reports, stock price history data, public filings, press releases and other matters
of public records, and believe that substantial evidentiary support will exist for the allegations set

forth herein after a reasonable opportunity for discovery.

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NATURE OF ACTION

This is a class action on behalf of all purchasers of the common stock of the following
issuer companies during the Class Period described herein: Accelerated Networks, Inc.; Airspan
Networks, Inc.; At Road, Inc.; AvantGo, Inc.; Autoweb.com, Inc.; Bsquare Corp.; CacheFlow,
Inc.; Clarent Corp.; Commerce One, Inc.; Corillian Corp.; Centillium Communications, Inc.;
Digital Impact, Inc; ¢ Machines, Inc.; Efficient Networks, Inc.; E.piphany, Inc.; Evolve
Software, Inc.; Handspring Inc.; ImproveNet, Inc.; Informatica Corp.; InterNAP Network
Services Corp.; iPrint.com, Inc.; Intraware, Inc.; InterTrust Technologies Corp.; Interwoven,
Inc.; Luminent, Inc.; Lante Corp.; VA Linux Systems; Lightspan Partnership, Inc.; McData
Corp.; MultiLink Technology Corp.; MP3.com, Inc.; Numerical Technologies, Inc.; New Focus,
Inc.; Novatel Wireless, Inc.; Onvia.com, Inc.; Onyx Software Corp.; Razorfish, Inc.; Retek, Inc.;
ScreamingMedia, Inc.; Silicon Image, Inc.; Selectica, Inc.; Simplex Solutions, Inc.; Support.com,
Inc.; Tanning Technology Corp.; Tickets.com, Inc.; Tumbleweed Communications Corp.; Triton
Network Systems, Inc.; Viant Corp.; Vitria Technology, Inc.; Virata Corp. (collectively

hereinafter, the “Issuers”’).

JURISDICTION AND VENUE

i. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. §§ 1331 and 1337, Section 27 of the Securities Exchange Act of 1934 (the “Exchange Act”)
(15 U.S.C. § 78aa), Section 22(a) of the Securities Act of 1933 (the “Securities Act”) (15 U.S.C. §
TTv), and 28 U.S.C. § 1367(a).

2. This action arises under Sections 10(b) of the Exchange Act (15 U.S.C. § 78j(b) and

78(a)) and Rule 10b-5 promulgated thercunuer (17 C.F.R. § 240.10b-5), Section 20(a) of the

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Exchange Act, Sections 12(a}2) and 15 of the Securities Act (15 U.S.C. §§ 771{a)(2) and 770),
common law respondeat superior, common law fraud, and the Florida Blue Sky Law (F.S.A. §
317.301).

3. Venue is proper in this district pursuant to Section 27 of the Exchange Act, Section
22 of the Securities Act, and 28 U.S.C. § 1391(b). At all times herein mentioned, defendant Credit
Suisse First Boston Corporation maintained an office in and transacted business in this district at
1111 Brickell! Avenue, in Miami, Florida.

4. In connection with the acts alleged in this complaint, the defendants, directly or
indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.
PARTIES
Plaintiff
5. Plaintiff, personally and as successor in interest to the estate of her deceased

husband, Peter Lin, purchased Commerce One securities in the open market during the Subclass
Nine Period.
Bank Defendants

6. Defendant CREDIT SUISSE FIRST BOSTON CORPORATION (“CSFBC’”) is an
investment bank. CSFBC is a corporation organized and existing under the laws of Massachusetts.
At all relevant times, CSFBC was a registered broker-dealer and member of the National
Association of Securities Dealers, Inc. (“NASD”). CSFBC was a lead underwriter for the initial

public offerings (“IPOs”) completed by each of the Issuers, defined below and listed in Exhibit A

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hereto. Atall relevant times, CSFBC had a duty to promptly disseminate truthful and accurate
information with respect to the IPOs and the Issuers.

7. CSFBC is a wholly-owned subsidiary of defendant CREDIT SUISSE FIRST
BOSTON (USA), Inc. (“CSFB-USA”). CSFB-USA is a Delaware corporation.

8. CSFB-USA is a wholly-owned subsidiary of defendant CREDIT SUISSE FIRST
BOSTON, INC. (“CSFBI”). CSFBI is a Delaware corporation.

9. CSFBLis jointly owned by the defendant Swiss Bank CREDIT SUISSE FIRST
BOSTON (“CS”) and the defendant Swiss holding company, CREDIT SUISSE GROUP ¢“CSG").
CSG, in addition to partially owning CSFBL, also wholly owns CS. CS and CSG are Swiss business
entities.

10. | OnNovember 3, 2000, CS acquired an underwriter, Donaldson Lufkin & Jenrette
Inc ("DLJ"). As a result of this acquisition, CSFBI changed its organizational structure, and
CSFBC, one of CSFBI's (and CS’s) principal U.S. registered broker-dealers, became a subsidiary of
DLJ, and DLJ changed its name to Credit Suisse First Boston (USA), Inc. (*CSFB-USA").

11. Defendant JOHN M. HENNESSY was a member of the Board of Directors of CSG
in 1998, 1999, 2000, and from January 2001 through June of 2001, He was also simultaneously
Chairman of Private Equity of CS during all or part of the same period of time.

12. Defendant ALLEN D. WHEAT was a member of the Executive Board of CSG in
1998, 1999, 2000, and part of 2001. He was also simultaneously Chairman of the Executive Board
of CS, as well as Chief Executive Officer of CS during all or part of the same period of time.

13. Defendant RICHARD THORNBURGH is a member of the Board of Directors of
CSG and previously occupied this position in 1998, 1999, 2000, and 2001. He also served as Chief

Financial Officer and/or Chief Risk Officer for CSG throughout the same period of time, and

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presently also serves as Chief Risk Officer. In addition to his duties with CSG, he was also Vice
Chairman of the Executive Board of CS from April 1, 1999 through 2000, and some or all of 2001.
Stmulianeously, for all or suns part of that time, he also served as Chief Financial Officer for CS.

14. Defendant CHARLES WARD was a member of the Executive Board of CS in 1998,
11999, 2000, and some or all of 2001. He was also simultaneously Co-Head of Investment Banking
and Private Equity for CS during some or all of the same period of time. In addition, he was
appointed president of CS in March of 2000.

15. | Defendant DAVID A. DENUNZIO was Head of Private Equity of CS in 1998,
1999, and most or all of 2000.

16. Defendant EDWARD NADEL, an attorney, was elected Vice President of Merchant
Capital, Inc. in January of 2000. Throughout the period of time from January 1999 through
December of 2000, he served as Vice President and/or in-house counsel for the Legal and
Compliance Department of CS and/or Private Equity of CS.

17, Defendants FRANK QUATTRONE, GEORGE BOUTROS, and WILLIAM
(“Bill”) BRADY (collectively “QBB”) were under a direct employment agreement (as of June
1998) with CS as the heads of CSFBC's (and CS's) Technology Group (the "Technology Group").
Defendants QBB, JOHN HODGE, and JACK TEJAVANDA were members of the investment
banking team hired from Deutsche Bank AG to start-up the Technology Group. Collectively,
Quattrone, Boutros, Brady, Hodge, and Tejavanija, will be at times referred to collectively as the
“Original Members”.

18. Atall relevant times QBB and John Hodge were the authorized managers of the
CSFBC Technology Group (collectively, the “Technology Group Managers”).

19. At times, the institutional defendants CSFBC (including its Technology Group),

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CSFB-USA, CSFBI, CS, CSG and the individual defendants Quattrone, Boutros, Brady, Hodge,
and Tejavanija will be referred to collectively as the “Bank Defendants.”

20.  Quattrone, Boutros, Brady, Hodge, and Tejavanija will be at times collectively
referred to as the “Individual Bank Defendants.”

Issuer Defendants

21. Issuer defendant AIRSPAN NETWORKS, INC. is headquartered in Boca Raton,
Florida. At ail relevant mes ERIC D. STONESTROM was the Chief Executive Officer (*CEO”)
for the company, and signed the Registration Statement for the Offering. At all relevant times,
JOSEPH J. CAFFARELL] was the Senior Vice President and Chief Financial Officer (“CFO”) for
the company, and signed the Registration Statement for the company’s public offering (“Offering”).

22. Issuer defendant AT ROAD, INC., is headquartered in Fremont, California. At all
relevant times KRISH PANU was the CEO, President, Chairman of the Board (“Chairman”) for the
company, and signed the Registration Statement for the Offering. At all relevant times, THOMAS
C. HOSTER was the Senior Vice President and CFO for the company, and signed the Registration
Statement for the Offering.

23. — Issuer defendant OCCAM NETWORKS, INC. (formerly "ACCELERATED
NETWORKS, INC.”) is headquartered in Santa Barbara, California. At all relevant times SURESH
NIHALANI was the CEO, Chairman, President and Director for the company, and signed the
Registration Statement for the Offering. At all relevant times, FREDERIC T. BOYER was the Vice
President, Secretary, and CFO for the company, and signed the Registration Statement for the
Offering.

24. Issuer defendant AVANTGO, INC. is headquartered in Hayward, California, At all

relevant times RICHARD OWEN was the CEO and Director for the company, and signed the

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Registration Statement for the Offering. At all relevant times, DAVID B. COOPER, JR. was the
CFO for the company, and signed the Registration Statement for the Offering.

25. Issuer defendant AUTOWEB.COM, INC. (AUTOBYTEL, real party in interest) is
headquartered in Irvine, California. At all relevant times DEAN A. DEBIASE was the CEO,
President and a Director for the company, and signed the Registration Statement for the Offering.
Atall relevant times, SAMUEL M. HEDGPETH III was the Vice President, Treasurer, and CFO
for the company, and signed the Registration Statement for the Offering.

26. Issuer defendant BSQUARE CORP. is headquartered in Bellevue, Washington. At
all relevant times WILLIAM T. BAXTER was the CEO, President, and Chairman for the company,
and signed the Registration Statement for the Offering. At all relevant times, BRLAN V. TURNER
was the Senior Vice President, Secretary, and CFO for the company, and signed the Registration
Statement for the Offering.

27. Issuer defendant BLUE COAT SYSTEMS, INC. ( formerly "CACHEFLOW,
INC.") is headquartered in Sunnyvale, California. At all relevant times BRIAN M. NESMITH was
the CEO, President, and a Director for the company, and signed the Registration Statement for the
Offering. At all relevant times, MICHAEL J, JOHNSON was the Vice President, Secretary, and
CFO for the company, and signed the Registration Statement for the Offering.

28. Issuer defendant CLARENT CORP. (VERSO TECHNOLOGEES, INC., real party
in interest) is headquartered in Redwood City, California. At all relevant times JERRY SHAW-
YAU CHANG was the CEO, President, and a Director for the company, and signed the Registration
Statement for the Offering. At all relevant times, RICHARD J. HEAPS was the CFO, Chief
Operating Officer, General Counsel, and Secretary for the company, and signed the Registration

Statement for the Offering.

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29. Issuer defendant COMMERCE ONE, INC. is headquartered in Walnut Creek,
Califomia Atal relevant times MARK B. HOFFMAN was the CEO, President, and Chairman for
the company, and signed the Registration Statement for the Offering. At all relevant times, PETER
F. PERVERE was the Vice President and CFO for the company, and si gned the Registration
Statement for the Offering.

30. Issuer defendant CORILLIAN CORP. is headquartered in Beaverton, Oregon. At
all relevant times TED F. SPOONER was the CEO and Chairman for the company, and signed the
Registration Statement for the Offering. At all relevant times, STEVEN SIPOWICZ was the CFO
and Secretary for the company, and signed the Registration Statement for the Offering.

31. Issuer defendant CENTILLIUM COMMUNICATIONS, INC. is headquartered in -
Fremont, California. At all relevant times FARAJ AALAEI was the CEO and a Director for the
company, and signed the Registration Statement for the Offering. At all relevant times, JOHN W.
LUHTALA was the Vice President and CFO for the company, and signed the Registration
Statement for the Offering.

32. Issuer defendant DIGITAL IMPACT, INC. is headquartered in San Mateo,
Califomia. Atall relevant times WILLIAM C. PARK was the CEO and Chairman for the
company, and signed the Registration Statement for the Offering. At all relevant times, DAVID
OPPENHEIMER was Vice President, Treasurer, Secretary, and CFO for the company, and signed
the Registration Statement for the Offering.

33. Issuer defendant EMACHINES, INC. is headquartered in Ervine, California. At all
relevant times STEPHEN A. DUKKER was the CEO and a Director for the company, and signed
the Registration Statement for the Offering. Atall relevant times, STEVEN H. MILLER was the

CFO, Secretary, and Vice President for the company, and signed the Registration Statement for the
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Offering.

34. Issuer defendant EFFICIENT NETWORKS, INC. is headquartered in Dallas, Texas.
At all relevant times MARK A. FLOYD was the CEO, President, and Chairman for the company,
and signed the Registration Statement for the Offering. At all relevant times, JILL S. MANNING

was the Vice President and CFO for the company, and signed the Registration Statement for the

Offering

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Offering.

34, Issuer defendant EFFICIENT NETWORKS, INC. is headquartered in Dallas, Texas.
At all relevant tmcs MARK A. FLOYD was the CEO, President, and Chairman for the company,
and signed the Registration Statement for the Offering. At all relevant times, JILL S. MANNING
was the Vice President and CFO for the company, and signed the Registration Statement for the
Offering.

35. _ Issuer defendant EPIPHANY, INC. is headquartered in San Mateo, Califomia. At
all relevant times ROGER S. SIBONI was the CEO, President, and a Director for the company, and
signed the Registration Statement for the Offering. At all relevant times, KEVIN J. YEAMAN was
the CFO for the company, and signed the Registration Statement for the Offering.

36. _ Issuer defendant EVOLVE SOFTWARE, INC. is headquartered in Emeryville,
California. At all relevant times JOHN P. BANTLEMAN was the CEO, President, and a Director
for the company, and signed the Registration Statement for the Offering. At all relevant times,
DOUGLAS S. SINCLAIR was the CFO, Corporate Secretary, and Treasurer for the company, and
signed the Registration Statement for the Offering.

37. Issuer defendant HANDSPRING, INC. is headquartered in Mountain View,
California. At all relevant times DONNA L. DUBINSKY was the CEO, President, and a Director
for the company, and signed the Registration Statement for the Offering. At all relevant times,
BERNARD J. WHITNEY was the CFO and Secretary for the company, and signed the Registration
Statement for the Offering.

38. Issuer defendant IMPROVENET, INC. is headquartered in Redwood City,
Califomia. At all relevant times RONALD B. COOPER was the CEO, President, and a Director for

the company, and signed the Registration Statement for the Offering. At all relevant times,

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RICHARD G. REECE was the Senior Vice President and CFO for the company, and signed the
Registration Statement for the Offering.

39. Issucr defendant INTERNAP NETWORK SERVICES CORP. is headquartered in -
Seattle, Washington. At all relevant times ANTHONY C. NAUGHTIN was the CEO and a
Director for the company, and signed the Registration Statement for the Offering. At all relevant
times, PAUL E. MCBRIDE was the Vice President and CFO for the company, and signed the
Registration Statement for the Offering.

40. Issuer defendant INFORMATICA CORP. is headquartered in Palo Alto, California.
At all relevant times GAURAV S. DHILLON was the CEO for the company, and signed the
Registration Statement for the Offering. At all relevant times, CRAIG L. KLOSTERMAN was the
CFO for the company, and signed the Registration Statement for the Offering.

41. Issuer defendant PRINT TECHNOLOGEES, INC. (formerly “IPRINT.COM",
MADETOORDER.COM, INC., real party in interest) is headquartered in Menlo Park, California.
At all relevant times ROYAL P. FARROS was the CEO, President, and Chairman for the company,
and signed the Registration Statement for the Offering. At all relevant times, JAMES P.
MCCORMICK was the CFO and Secretary for the company, and signed the Registration Statement
for the Offering.

42. Issuer defendant INTRAWARE, INC. is headquartered in Orinda, California. At all
relevant times PETER H. JACKSON was the CEO and a Director for the company, and signed the
Registration Statement for the Offering. At all relevant times, DONALD M. FREED was the Vice
President and CFO for the company, and signed the Registration Statement for the Offering.

43. Issuer defendant INTERTRUST TECHNOLOGIES CORP. is headquartered in

Santa Clara, California. At all relevant times VICTOR SHEAR was the CEO and Chairman for the
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company, and signed the Registration Statement for the Offering. At all relevant times, ERWIN N.
LENOWITZ was the CFO, Secretary, and Vice Chairman of the Board for the company, and signed
the Registration Statement for the Offering.

44. Issuer defendant INTERWOVEN, INC. is headquartered in Sunnyvale, California.

At all relevant times MARTIN BRAUNS was the CEO, President, and a Director for the company,

and signed the Registration Statement for the Offering. At all relevant times, DAVID M. ALLEN

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company, and signed the Registration Statement for the Offering. At all relevant times, ERWIN N.
LENOWTTZ was the CFO, Secretary, and Vice Chairman of the Board for the company, and signed
the Registration Statement for the Offering.

44. Issuer defendant INTERWOVEN, INC. is headquartered in Sunnyvale, California.
At all relevant times MARTIN BRAUNS was the CEO, President, and a Director for the company,
and signed the Registration Statement for the Offering. At all relevant times, DAVID M. ALLEN
was the Vice President and CFO for the company, and signed the Registration Statement for the
Offering.

45. Issuer defendant LUMINENT, INC. is headquartered in Chadsworth, Califomia. At
all relevant times WILLIAM R. SPIVEY was the CEO, President, and a Director for the company,
and signed the Registration Statement for the Offering. At all relevant times, ERIC BLACHNO
was the Vice President, Secretary, and CFO for the company, and signed the Registration Statement
for the Offering.

46. Issuer defendant LANTE CORP. (SBI AND COMPANY, real party in interest) is
headquartered in Chicago, Hinois. At all relevant times C. RUDY PURYEAR was the CEO,
President, and a Director for the company, and signed the Registration Statement for the Offering.
At all relevant times, BRIAN HENRY was the Vice President and CFO for the company, and
signed the Registration Statement for the Offering.

47. Issuer defendant VA SOFTWARE CORPORATION (formerly "VA LINUX
SYSTEMS") is headquartered in Fremont, California. At all relevant times LARRY M.
AUGUSTIN was the CEO, President, and a Director for the company, and signed the Registration
Statement for the Offering. At all relevant times, TODD B. SCHULL was the Vice President and

CFO for the company, and signed the Registration Staternent for the Offering.
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48. Issuer defendant LIGHTSPAN PARTNERSHIP, INC. is headquartered in San
Diego, California. At all relevant times JOHN T. KERNAN was the CEO and Chairman for the
company, and signed the Registration Statement for the Offering. At all relevant times,
KATHLEEN R. MCELWEE was the Vice President and CFO for the company, and signed the
Registration Statement for the Offering.

49. Issuer defendant MCDATA CORPORATION is headquartered in Broomfield,
Colurady. Ac all relevant tines JOHN F. MCDONNELL was use CEO, President, and Chairman
for the company, and signed the Registration Statement for the Offering. At all relevant times, DEE
J. PERRY was the Vice President and CFO for the company, and signed the Registration Statement
for the Offering.

50. Issuer defendant MULTILINK TECHNOLOGY CORP. is headquartered in
Somerset, New Jersey. At all relevant times RICHARD N. NOTTENBURG was the CEO,
President, and Co-Chairman for the company, and signed the Registration Statement for the
Offering. At all relevant times, ERIC M. PILLMORE was the Vice President, Secretary, and CFO
for the company, and signed the Registration Statement for the Offering.

51. Issuer defendant MP3.COM (VIVENDI UNIVERSAL NET USA GROUP, INC.,
real party in interest) is headquartered in San Diego, California. At all relevant times MICHAEL L.
ROBERTSON was the CEO and Chairman for the company, and signed the Registration Statement
for the Offering. At all relevant times, PAUL L. H. OUYANG was the Vice President and CFO for
the company, and signed the Registration Statement for the Offering.

52. Issuer defendant NUMERICAL TECHNOLOGEES, INC. is headquartered in San
Jose, California. At all relevant times Y.C. (BUNO) PATI was the CEO, President, and a Director

for the company, and signed the Registration Statement for the Offering. At all relevant times,

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RICHARD MORA was the Senior Vice President and CFO for the company, and signed the
Registration Statement for the Offering.

33. Issuer Uefendant NEW FOCUS, INC. is headquartered in San Jose, California. At
all relevant times KENNETH E. WESTRICK was the CEO and a Director for the company, and
signed the Registration Statement for the Offering. At all relevant times, WILLIAM L. POTTS, JR.
was the CFO for the company, and signed the Registration Statement for the Offering.

54, Issuer defendant NOVATEL WIRELESS, INC. ts headquartered in San Diego,
California. At all relevant times JOHN MAJOR was the CEO and Chairman for the company, and
signed the Registration Statement for the Offering. At all relevant times, MELVIN FLOWERS was
the Vice President, Secretary, and CFO for the company, and signed the Registration Statement for
the Offering.

55. Issuer defendant ONVIA.COM, INC. is headquartered in Seattle, Washington. At
all relevant times GLENN S. BALLMAN was the CEO, President, and a Director for the company,
and signed the Registration Statement for the Offering. At all relevant times, MARK T. CALVERT
was the Vice President, Secretary, and CFO for the company, and signed the Registration Statement
for the Offering.

56. _ Issuer defendant ONYX SOFTWARE CORP. is headquartered in Bellevue,
Washington. At all relevant times BRENT R. FREI was the CEO and Chairman for the company,
and signed the Registration Statement for the Offering. At all relevant times, SARWAT H.
RAMADAN was the Vice President, Secretary, Treasurer, and CFO for the company, and signed
the Registration Statement for the Offering.

57. Issuer defendant RAZORFISH, INC. (SBI AND COMPANY, real party in interest)

is headquartered in Washington, D.C. At all relevant times JEFFREY A. DACHIS was the CEO,
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President, Treasurer, and a Director for the company, and signed the Registration Statement for the
Offering. At all relevant times, SUSAN BLACK was the CFO for the company, and signed the
Registration Statement for the Offering.

58. Issuer defendant RETEK, INC. is headquartered in Minneapolis, Minnesota. At all
relevant times JOHN BUCHANAN was the CEO, a Director, and Chairman for the company, and
signed the Registration Statement for the Offering. At all relevant times, GREGORY A. EFFERTZ
was the Vice President, Treasurer, Secretary, and CFO for the company, and signed the Registration
Statement for the Offering.

59. Issuer defendant PINNACOR, INC. (formerly "SCREAMINGMEDIA, INC.”) is
headquartered in New York, New York. Atall relevant times KEVIN C. CLARK was the CEO
and a Director for the company, and signed the Registration Statement for the Offering. At all
relevant times, DAVID M. OBSTLER was the CFO for the company, and signed the Registration
Statement for the Offering.

60. Issuer defendant SILICON IMAGE, INC. is headquartered in Sunnyvale, California.
Atall relevant times DAVID D. LEE was the CEO, President, and Chairman for the company, and
signed the Registration Statement for the Offering. At all relevant times, DANIEL K. ATLER was
the Vice President and CFO for the company, and signed the Registration Statement for the
Offering.

61. Issuer defendant SELECTICA, INC. is headquartered in San Jose, California. At all
relevant times RAJEN JASWA was the CEO, President and Chairman for the company, and signed
the Registration Statement for the Offering. At all relevant times, STEPHEN BENNION was the
CFO, Vice President, and Secretary for the company, and signed the Registration Statement for the

Offering.

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62. Issuer defendant SIMPLEX SOLUTIONS, INC. (CADENCE DESIGN SYSTEMS,
INC., real party in interest) is headquartered in Sunnyvale, Califomia. At all relevant times
PENELOPE A. HERSCHER was the CEO and Chairman for the company, and signed the
Registration Statement for the Offering. At all relevant times, LUIS P. BUHLER was the CFO for
the company, and signed the Registration Statement for the Offering.

63. Issuer defendant SUPPORTSOFT, INC. (formerly "SUPPORT.COM") is
headquartered in Redwood City, California. At all relevant umes RADHA R. BASU was the CEO,
President, and a Director for the company, and signed the Registration Statement for the Offering.
At all relevant times, BRIAN M. BEATTIE was the CFO and Senior Vice President for the
company, and signed the Registration Statement for the Offering.

64. Issuer defendant TANNING TECHNOLOGY CORP. is headquartered in Denver,
Colorado. At all relevant times LARRY G. TANNING was the CEO, President, and Chairman for
the company, and signed the Registration Statement for the Offering. At all relevant times, HENRY
F. SKELSEY was the Vice President, CFO, and a Director for the company, and signed the
Registration Statement for the Offering.

65. Issuer defendant TICKETS.COM, INC. is headquartered in Costa Mesa, California.
At all relevant times W. THOMAS GIMPLE was the CEO, President, and a Director for the
company, and signed the Registration Statement for the Offering. At all relevant times, JOHN M.
MARKOVICH was the Vice President and CFO for the company, and signed the Registration
Statement for the Offering.

66. Issuer defendant TUMBLEWEED COMMUNICATIONS CORP. is headquartered
in Redwood City, California. At all relevant times JEFFREY C. SMITH was the CEO, President,

and Chairman for the company, and signed the Registration Statement for the Offering. At ail
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relevant times, JOSEPH C. CONSUL was the Vice President and CFO for the company, and signed
the Registration Statement for the Offering.

67. Issuer defendant TRITON NETWORK SYSTEMS, INC. is headquartered in
Orlando, Florida. At all relevant times HOWARD (SKIP) SPEAKS was the CEO, President, and a
Director for the company, and signed the Registration Statement for the Offering. At all relevant
times, KENNETH R. VINES was the Senior Vice President and CFO for the company, and signed
the Registration Statement for the Offering.

68. Issuer defendant VIANT CORP. (DIVINE, INC. , real pasty in interest) is
headquartered in Boston, Massachusetts. At all relevant times ROBERT L. GETT was the CEO,
President, and a Director for the company, and signed the Registration Statement for the Offering.
At all relevant times, M. DWAYNE NESMITH was the Vice President and CFO for the company,
and signed the Registration Statement for the Offering.

69. Issuer defendant VITRIA TECHNOLOGY, INC. is headquartered in Sunnyvale,
California. At all relevant times JOMEI CHANG was the President and CEO for the company, and
signed the Registration Statement for the Offering. At all relevant times, PAUL AUVIL was the
CFO for the company, and signed the Registration Statement for the Offering.

70. —_ Issuer defendant GLOBESPANVIRATA, INC. (formerly "VIRATA CORP.") is
headquartered in Santa Clara, California. At all relevant times CHARLES COTTON was the CEO
and a Director for the company, and signed the Registration Statement for the Offering. At all
relevant times, ANDREW VOUGHT was the Senior Vice President, Secretary, and CFO for the
company, and signed the Registration Statement for the Offering.

71. The individual defendants identified in paragraphs 21 through 70 are hereinafter

sometimes referred to as the “Individual Issuer Defendants.”
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72. The Individual Issuer Defendants and the Issuers themselves (identified in
paragraphs 21 through 70) will at times be referred to collectively as the “Issuer Defendants.”
73. The Bank Defendants and the Issuer Defendants are, at times, referred to collectively

as the “Defendants.”

* * »

74. — All Individual Issuer Defendants and Individual Bank Defendants are appropriately
treated as a group for pleading purposes; and it is also appropriate to presume that the false and
misleading information conveyed in each Issuer's Registration Statements, Prospectuses, Research
Reports, and other public filings, press releases, and other publications as alleged herein are the
collective actions of the narrowly defined group of Individual Issuer Defendants and Individual
Bank Defendants identified above. Each of the Individual Issuer Defendants, by virtue of his high
level position with an Issuer, directly participated and was integrally involved in the management of
that Issuer, was directly involved in the day to day operations of that Issuer and was privy to
confidential proprietary information concerning that Issuer, its operations, finances, financial
condition, products, and present and future business prospects as alleged herein. Such Individual
Issuer Defendants were personally involved in drafting, producing, reviewing, authorizing, and/or
disseminating the false and misleading statements alleged herein, and/or were provided with copies
of misleading research reports by CSFBC (or the Technology Group), Issuer's press releases,
Issuer's SEC filings, and other alleged misleading publications of, or about, the Issuer prior to or
shortly after their issuance, were aware that the false and misleading statements were being issued
regarding that Issuer and approved or ratified these statements. Likewise, cach of the Individual
Bank Defendants, by virtue of his high level position and/or central role in managing the

Technulugy Group, directly participated and/or was integrally involved in the management of the

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Technology Group. Each was directly involved in the day to day operations of the Technology
Group and was privy to confidential proprietary information concerning the Technology Group’s
handling of cach Issucr’s IPO stock offering, later offerings, production of revenue estimates, and
Issuer's interaction with the Technology Group's research analysts. Each was aware of the
operations, finances, financial condition, products, and present and future business prospects of each
Issuer as alleged herein. Such Individual Bank Defendants were personally involved in drafting,
producing, reviewing, and/or disseminating the false and misleading statements alleged herein,
and/or were provided with copies of misleading research reports by CSFBC's (or the Technology
Group's) analysts regarding Issuer, Issuer's press releases, Jssuer's SEC filings, and other alleged
misleading publications of, or about, the Issuer prior to or shortly after their issuance, were aware
that the false and misleading statements were being issued regarding that Issuer and approved or
ratified these statements.

75,  CSFBC was a managing underwriter of each of the Issuer's offerings identified by
their prospectus date in Appendix A and Appendix B below. CSFBC had a duty to make certain
that complete, accurate, and truthful information with respect to the Issuer’s operations, financial
condition, earnings, and future business prospects was contained in the Registration Statement and
Prospectus, pursuant to which the offering was made. As part of the offering, CSFBC purported to
conduct or participate in an investigation known as a “due diligence” investigation, into the
financial condition, business operations, prospects and financial, accounting, and management

control systems of each Issuer.

CONSPIRACY AND CONCERTED ACTION

76.  Incommitting the wrongful acts alleged herein, Quattrone, Boutros, and Brady

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(“QBB”), the Technology Group, CSFBC and each of the Issuer Defendants (collectively,
hereinafter the “Conspirators”) have pursued a conspiracy, common enterprise, and/or common
course of conduct and acted in concert with and conspired with one another, in furtherance of their
common plan, scheme, or design. During all relevant times hereto, the Conspirators, and each of
them, initiated a course of conduct with the purpose and effect, inter alia, to fraudulently obtain
money from the investing public by deceiving them regarding the accuracy of the each Issuer's IPO
price and each Issuer’s financial condition and future revenue prospects, thereby creating the
appearance that the Issuers’ revenue growth would be unpredictable. In furtherance of this plan,
conspiracy, and course of conduct, the Conspirators, and each of them, took the actions as herein set
forth.

77. QBB, the Technology Group, and CSFBC were collectively the central actors in the
conspiracy (the “Core Conspirators”). These Core Conspirators developed the system of fraud
described herein in paragraphs 90, recruited the Issuer Defendants to participate in the wrongful
acts, and ultimately executed the conspiracy with each of the Issuers.

78. Each Individual Issuer Defendant, because of his or her position of control and
authority as an officer and/or director of the Issuer, was able to and did control the contents of the
various quarterly and annual financial reports, revenue estimates, SEC filings, and press releases for
the Issuer with which he or she was employed. The Core Conspirators provided each Individual
Issuer Defendant with copies of that Issuer's reports, releases, and filings alleged to have been
misleading herein prior to or shortly after their issuance and cach Individual Issuer Defendant had
the ability and opportunity to prevent their issuance or to cause thern to be corrected. Because of
their Board membership and/or executive and managerial positions with the Issuers, each of the

Individual Issuer Defendants had access to non public information about that Issuer’s business,

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finances, future business prospects, and revenue expectations via access to intemal corporate
documents, conversations, connections with corporate officers and employees, attendance at Board
mectings and committces thereof and via reports and information provided to them in connection
therewith. The Individual Issuer Defendants also participated directly in the Core Conspirators’
scheme to profit from the fraudulent acts by personally owning or Selling stock of the Issuer to the
public and/or directing Issuer's sale of stock to the venture funds established and managed by the
Core Conspirators as described herein.

79. The Conspirators accomplished their conspiracy, common enterprise, or common
course of conduct of artificially affecting the price of Issuers’ stock through the issuance of false
and misleading quarterly and annual reports, SEC filings and reports, research reports, press releases
to the public, and other sales-related communications to the public, which manipulated,
misrepresented, and failed to disclose the true facts regarding Issuers’ expected earnings, markets,
business, revenues, management, financial condition, and future prospects. Each of the
Conspirators was a direct and substantial participant in the conspiracy, common enterprise, and
common course of conduct complained of herein.

80. Each of the Conspirators is sued both individually and as a co-conspirator, and the
liability of each arises from the fact that each engaged in all or part of the unlawful acts charged
herein. In addition, there are other persons, the identities of whom are presently unknown to
Plaintiff, who conspired in the commission of the wrongs alleged herein. Each of the Defendants,
by acting as herein described, did so knowingly or in such a reckless or grossly negligent manner as

to constitute a fraud and deceit upon Issuers’ shareholders.

PLAINTIFFS’ CLASS ACTION ALLEGATIONS

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81. Plaintiff brings this action as aclass action pursuant to Federal Rule of Civil
Procedure 23(b\(1) and, in the alternative, (b){3) on behalf of herself and the members of a class
("Class") of plaintiffs, consisting of all persons and entities who purchased common stock of cach
Issuer during the dates set forth in Exhibit A, inclusive (the “Class Period”), and who were damaged
thereby.

82. The Class Period is comprised of fifty Subclass Periods as set forth in Exhibit A.
Each Subclass of plaintiffs consists of all persons and entities who purchased that Issuer's securities
in the open market during that Subclass Period. Each Subclass Period begins after the point in time
of each Issuer’s initial offering, and does not include purchases made in conjunction with the Initial
public offering. Excluded from the Class are the Defendants, officers and directors of the
Company, the members of their immediate families and their legal representatives, heirs,
successors, or assigns, and any entity in which Defendants have or had a controlling interest.

83. As alleged herein, Defendants knowingly or recklessly disseminated materially false
and misleading information to the investing public regarding, inter alia, the Issuers’ revenue
expectations, Defendants’ conduct had the intended effect of creating the false impression among
purchasers that the Issuers’ revenue expectations were unpredictable. These actions artificially
affected the prices plaintiffs paid for Issuers’ securities during the Class Period.

84. Shares of Issuers’ securities were outstanding and actively and openly traded on the
NASDAQ, an efficient market in which the price of the Issuers’ stocks reflected publicly
disseminated information about each Issuer, and millions of shares were traded during the Class
Period.

85. The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to plaintiffs at this time and
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can only be ascertained through appropriate discovery, Plaintiff believes that there are at least
thousands of members of the Class. Record owners and other members of the Class may be
identified from records maintained by the Issuers or their transfer agents and may be notified of the
pendency of this action by mail, using the form of notice similar to that customarily used in
securities class actions.

86. Plaintiffs claims are typical of the claims of the members of the Class as all
members of the Class are similarly affected by Defendants’ wrongful conduct in violation of federal
and state law that is complained of herein.

87. _ Plaintiff will fairly and adequately protect the interests of the members of the Class
and have retained counsel competent in class and securities litigation.

88, Common questions of law and fact exist as to all members of the Class and
predominate over any questions affecting solely individual members of the Class. Among the
questions of Jaw and fact common to the Class are:

a. whether the federal securities and other laws were violated by Defendants’ acts
as alleged herein;

b. whether Defendants participated in and pursued the common course of conduct
complained of herein;

c. whether documents, press releases and other statements disseminated to the
investing public and the Issuers’ shareholders during the Class Period misrepresented material
facts about the business, management, products, sales, markets, financial condition, and future
business prospects of Issuers;

d. whether statements made by Defendants to the investing public during the Class

Period misrepresented material facts about the business, future prospects, and finances of the
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Issuers;

¢. whether the Prospectuses, Analysts’ Research Reports, and other public
statements made by Defendants misrepresented and/or failed to disclose material facts;

f. whether the market prices of Issuers’ securities during the Class Period were
artificially affected due to the material misrepresentations and omissions and failure to correct
the material misrepresentations and omissions complained of herein; and

g. whether the members of the Class have sustained damages and, if so, the proper
measure of damages.

89. Acclass action is superior to al} other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
damages suffered by individual Class members may be relatively small, the expense and burden of
individual litigation make it impossible for members of the Class to individually redress the wrongs

done to them. There will be no difficulty in the management of this class action.

GENERAL DESCRIPTION OF THE FRAUD

90. The alleged fraud, in its essence, has two components: First, CSFBC, the
Technology Group, and each Issuer would effectuate an initial public offering (“IPO”) for each
Issuer at a per-share offering price that was inaccurate. CS and/or CSFBC’s sales staff then made
selective disclosures of the fact of the inaccuracy of the IPO pricing to members of the investing
public. Second, CSFBC, the Technology Group, and each Issuer planned to and did act to defraud
the market by knowingly disseminating false expectations about the Issuer's prospective financial
performance, including false reports of Issuer's expected revenues and earnings. The intended

combined effect of their fraud was to manipulate each Issuer's stock price, so that, inter alia,

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CSFBC, the Technology Group, and each Issuer could profit from the manipulations.

TECHNOLOGY GROUP’S OPPORTUNITY TO COMMIT FRAUD

91. To accomplish the fraud described in paragraph 90 above, CSFBC needed an
opportunity to influence and conspire with each Issuer in setting the IPO price, and also an
opportunity to influence and conspire with the Issuer in disseminating information to the market
regarding the Issuer’s expected financial performance.

92. Typically, the direct liaison between an investment bank and a company in
executing an IPO are the investment bankers, who are employed by the investment bank. Executing
IPOs, as well as other financing transactions for companies, is their primary employment function.

93. In July of 1998, CS hired Frank Quattrone (“Quattrone”) and several other
investment bankers from Deutsche Bank AG to run a technology investment banking group (the
Technology Group) for CS and CSFBC.

94.  Atall relevant times, the Technology Group’s operations were based in Silicon
Valley. At all relevant times, Quattrone was the head of the Technology Group, and he was granted
the authority by CSFBC to employ and terminate employees in the Technology Group at will.

95,  Quattrone was granted unusual autonomy by CSFBC to structure the Technology
Group in a manner in which he deemed reflected an optimal business strategy, including an
integration of investment banking activities with equity-research analysts’ activities.

96. In furtherance of this strategy, Quattrone established a separate research department
for his Technology Group (‘Technology Research Team”), which included equity research analysts
that would publish CSFBC research reports on technology companies with which CSFBC did

business or might do business.

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97. The Technology Research Team reported directly to Quattrone. Quattrone both
supervised and paid the Technology Research Team.

98. Onc of the chief tasks of an equity rescarch analyst working for an underwriter is to
disseminate information to the public markets regarding companies’ expected financial
performance. This information is disseminated both orally and through the writing of periodic
research reports, which are widely disseminated to the public market. The public markets view this
information as material, and its dissemination by an analyst can affect the price of a company's
stock.

99. The Technology Research Team included a number of “All-Star” analysts who were
well recognized in the public marketplace and whose published opinions were influential on the
prices of the securities they opined. The prospect of receiving research coverage from one of these
influential “All-Star” analysts in the Technology Research Team increased the likelihood that a
company would select CSFBC and the Technology Group for its prospective IPO.

100. The Technology Group, at the direction of Quattrone, used the direct involvement of
the Technology Research Team's research analysts in all stages of the IPO process (Pre-IPO, IPO
Marketing, and Post-IPO) as a marketing device to lure potential clients to its IPO practice.

101. Analysts in the Technology Research Team published research reports on each of
the companies that the Technology Group brought public in an IPO.

102. Quattrone and the investment bankers in the Technology Group exerted direct
influence on what the research analyst in the Technology Research Team wrote in their published
research reports.

103. As Forbes reported on September 23, 2001:

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(TJn Quattrone’s shop, research was expected to serve the bankers”
interests ... [O}thers say he tried to bully them. “I'll have you out of here
Monday morning if you say that”... managing director recalls Quattrone
telling an analyst who wanted to issue a less than flattering report about a
client. “Do you want to work in this firm? Do you want to be a team
player? When it comes time for bonus review, all this will be
remembered.”

104. The Technology Group maintained, and carried out, a policy of participating only in
IPOs in which CSFBC would be designated the “Lead” manager or, at a minimum, a “Co-Lead”
manager of the underwriting.

105. The Lead or Co-Lead manager (also referred to as the “bookrunning™ Manager(s) of
any IPO exert a dominant position over any other investment banking syndicate-members who are
involved in the selling of the company’s stock in the IPO. This includes dominance over
conducting the due-diligence of a company’s financial condition, the review and dissemination of
expectations about a company’s future financial performance, and the final determination of the
company’s stock price in the IPO.

106. The Technology Group was able to richly capitalize on its enhanced operating
structure, moving to the forefront in all technology IPOs. As reported in Bloomberg News on June
27, 2001, “(Jn 2000, Quattrone’s group was the undisputed king of the tech initial public offering
business. It was one of Wall Street’s top moneymaking endeavors, completing 47 deals—one out
of every four computer, software, Intemet and semiconductor initial public offerings.”

Additionally, on June 28, 2001, Bloomberg News issued a follow-up report stating that CSFBC was
“the No. 1 underwriter of initial stock sales for computer, software, Intemet and semiconductor ~

companics in 1999 and 2000, garncring 24 percent of the market.”

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TECHNOLOGY GROUP’S MOTIVE

107. CSFBC, Quattrone, and each member of the Technology Group, including the other
investment bankers and the research analysts in the Technology Research Team, had a direct
financial incentive to (1) conduct as many IPOs as possible, and (2) take steps to ensure that an
Issuer's stock price rose after the IPO.

108. CSFBC profited directly from fees collected from taking a company to IPO. The
more IPOs performed, the more foes CSFBC collected.

109. Quattrone and members of his Technology Group also profited directly from
conducting as much IPO business as possible. This was due to a revenue-sharing agreement that
Quattrone and the Technology Group had with CSFBC and/or CS, which compensated them with
half of the revenue (after certain costs) generated by the Technology Group. The profit was to be
distributed by Quattrone to himself and his Technology Group employees.

110. As The Wall Street Journal reported on May 3, 2001, “ [w]ith a revenue-sharing
agreement with CSFB after certain costs, the [Quattrone] group had as much as $500 million to
divide among its members in 1999, according to some former and current CSFB employees.”

11}. Additionally, as The Wall Street Journal reported on November 13, 2001, “Mr.
Quattrone’s pay was based on production. Thus, during the heady days for technology stocks, when
CSFB was the premier underwniter of such offerings, he earned huge annual sums that approached
$100 million, the people familiar with the firm say.”

112. Among those compensated from the Technology Group’s share of IPO revenue
were the analysts in the Technology Research Team. Quattrone had final authority to determine the
analysts’ bonuses.

113. CSFBC's standard practice was to compensate its research analysts for their
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participation in generating investment banking business. As The Wall Street Journal reported on
May 6, 2002, “[clopies of job-offer letters from . . . Credit Suisse First Boston to candidates for
research-unalyst positions show that Wall Street analysts are paid, in part, for investment-banking
business they help generate.” :

114. In addition to their financial interest in conducting as much IPO business as possible,
CSFBC, Quattrone, and the members of the Technology Group (including the other investment
bankers and the research analysts in the Technology Research Team) had a financial interest in
taking actions that would cause Issuers’ stock prices to rise after the [PO.

115, The perception that CSFBC sought to create was that its underwniting services
created outsized economic returns. The desired outcome was to increase future demand for its IPO
services. In addition, after the IPO date, CSFBC profited from its activities as a market-maker
(buying and selling stocks for the public in the aftermarket for a fee) in the Issuers’ stock. CSFBC
and the Technology Group's scheme was to manufacture the perception among buyers that large
economic retums accrued to holders of an Issuer's stock after a CSFBC(Technology Group)-led
IPO. This had the desired effect of attracting additional buying demand and consequently trading
volume that would not otherwise have occurred. Thus, CSFBC’s profits from market-making
trading were increased.

116. In addition, Quattrone and his associates in the Technology Group sought to profit
personally from CSFBC and the Technology Group's underwriting activities by establishing hedge
funds. These hedge funds took pre-IPO stock from an Issuer client and then sold the stock after
conducting the Issuer’s IPO. As reported in The Wall Street Journal reported on May 3, 2001:

Mr. Quattrone and two top CSFB aides—George Boutros and William

Brady, his mergers and corporate-finance chiefs, respectively—were
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general partners of the fund through a partnership named QBB
Management. The general partnership allowed the three executives to
invest personally in the companies the fund invested in, some of which

Mr. Quattrone’s group brought public only months later. .. .

[Quattrone] and two colleagues made a total of about $2 million after
paying a bargain price for shares of Interwoven, Inc., an internet software
firm, a few months before CSFB took Interwoven public, according to

regulatory filings.

117. These funds were instrumental to the Technology Group’s overall fraudulent
scheme, because inter alia, they allowed the Technology Group to curry favor with potential clients
of its IPO services, and allowed the members of the Technology Group to profit directly from their
fraudulent activities.

118. CSFBC also sought to profit from these activities, allocating money to Quattrone to
similarly invest on its behalf in pre-IPO stock in clients about to go public.

119. As reported in The Wall Street Journal reported on May 3, 2001:

As part of his dea] with CSFB, which he joined in 1998, Mr. Quattrone
was given $25 million each year to invest for the firm in potential
underwriting clients about to go public. Mr. Quattrone told associates the

fund would not only help the bank win underwriting business, but deliver

arich investment return as well.

120. In addition to the above hedge funds, CSFBC also engaged in pre-IPO venture

capital investments in several of its IPO offerings through other venture capital affiliates.

TECHNOLOGY GROUP’S AND CSFBC’S ACTUAL KNOWLEDGE (SCIENTER)

121. CSFBC and the Technology Group had actual knowledge that their misstatements

and omissions were fraudulent, and they engaged in a marketing effort to sell their fraudulent
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scheme.

122. For each Issuer's [PO, the Issuer had actual knowledge of the misstatements and
omissions described above because it had discussed with the Technology Group the pricing of the
Issuer's stock in the IPO, as well as the expectations for the Issuer's prospective financial
performance, including revenue growth.

ISSUERS’ MOTIVE

123. Each Issuer had an interest in having its stock price trade dramatically higher than
the IPO offering price. This was because creating the perception that holders in the Issuer's stock
were accruing large economic returns would attract additional buying demand by other investors
that would not otherwise have occurred. Additionally, this perception of large economic returns
would increase the amount of publicity afforded to the Issuer from its IPO.

124. Each Issuer also had a direct financial interest in influencing the stock price so it
would appreciate post-IPO as much as possible. This was for several reasons, including but not
limited to: (1) each Issuer’s stock would be more attractive to potential purchasers in any future
stock offerings by that Issuer because, in part, the rise in the Issuer’s stock price since IPO would be
suggestive of further stock price rises for new purchasers, (2) any future sales of stock by the Issuer
to the public at a higher stock price would raise money at a higher dollar-for-equity rate than had
been garnered in the IPO, and (3) a higher stock price for the Issuer would be advantageous in
seeking acquisition or merger opportunities with other companies.

125. Individual Issuer Defendants also had a direct financial incentive in having the stock
price appreciate as much as possible after the IPO. This is because they personally owned stock in

the Issuer, and a higher stock price directly increased their personal wealth. In addition, a “lockup

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agreement” made with CSFBC in connection with the IPO of cach Issuer prevented the Individual

Issuer Defendants from selling their shares of the Issuer for a significant period of time beyond the
IPO date. It was, thus, in their best interest for the Issuer's stock price to continuc to rise post-IPO,
at least until such time as they could sell their shares in the Issuer and realize profits.

126. CSFBC and the Technology Group proposed to each Issuer that a higher stock price,
post-IPO, would be advantageous in effectuating further sales of the Issuer's stock in so-called
“Piggyback Offerings.” CSPBC and the Technology Group also proposed to Individual Issuer
Defendants that they would be able to shorten the period of time that they were required to hold
their existing stock in the Issuer (as required by the “lockup agreement”), and participate as sellers
in these Piggyback Offerings of Issuer’s stock.

127, As The Wall Street Journal reported on February 17, 2000, CSFB used “piggyback”
transactions to accelerate corporate insider's financial gains from public offerings:

Corporate executives are supposed to be bound for a time before they can
cash in on the price run-ups in their companies’ IPOs. But now, some

executives have been given a kcy to indirectly open those lockup

agreements.

The secret lies not just in the typical ‘follow on’ sale to an initial public
offering ~ that is, additional sales of new stock by the company. Instead,
the trendy maneuver is a hybrid stock offering dubbed a piggyback
offering.

It works like this: Before the expiration of the traditional lockup period
that keeps corporate executives and other insiders from selling, the
company retums to the market with a new sale of stock that includes both

new shares from the company and those held by the insiders.

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In the past, insiders — including venture capitalist and other founding
investors—would have had to wait at least six months to sell any of their
shares after an IPO. With the piggybacks, they can unload a portion of
their holdings in as little as 90 days.

Some of Wall Street's biggest firms, which once rigidly held new
companies to lockup agreements, have eased up . . . Credit Suisse Group’s
Credit Suisse First Boston . . . are among the firms that have ied

piggyback deals so far this year.

ISSUERS’ OPPORTUNITY

128. It is unusual even among employees working for the same investment bank that
investment bankers would have direct influence over, and be able to explicitly conspire with, the
rescarch analysts.

129. As reported in Bloomberg News on May 3, 2001:

“Normally, there's a sort of dotted-line relationship between analysts and
investment banking,” said Samuel Hayes, a professor of investment

banking at Harvard Business School. “In this case, Frank Quattrone had

total supervision of these people. It was a doomed relationship.”
130. The Technology Group and CSFBC presented to each Issuer an unusual opportunity
to create the appearance of unpredictable revenue growth and consequently influence the price of

each Issuer's security.

ISSUERS’ ACTUAL KNOWLEDGE (SCIENTER)
131. Each Issuer had actual knowledge that its IPO pricing was inaccurate because each

Issuer and/or the Individual Issuer Defendants had discussions with the Technology Group -

regarding the pricing of the Issuer's stock for the IPO.

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132. In addition, each Issuer also had actual knowledge that the forecasts of the Issuer’s
future revenues (that were to be disseminated and published) were intended to create the appearance
of unpredictable revenuc growth because cach Issuer and/or the Individual Issucr Defendants had

also discussed those forecasts with the Technology Group.

MISTATEMENTS AND OMMISSIONS IN EACH ISSUER’S PROSPECTUS

133. Each Issuer’s IPO Prospectus contained statements listing principal factors
considered in determining the public offering price. These statements are described with
particularity for each Issuer in Exhibit C.

134. These statements omitted to state the material fact that CSFBC, the Technology
Group and each Issuer had knowingly set an inaccurate proposed offering price range (and
consequently the public offering price), and that CS and/or CSFBC's sales staff made selective
disclosures of this fact to members of the investing public.

135. . The fact of this inaccuracy was a necessary disclosure. Without it, the statements in
the Prospectus listing the principal factors considered in determining the public offering price were
misleading because they seriously misrepresented the actual process used to determine each Issuer’s
offering price.

136. The statutory safe harbor provided for forward-looking statements under certain
circumstances does not apply to any of the allegedly false statements pleaded herein regarding the
Issuers’ prospectuses. To the extent, however, that there were any forward-looking statements, the
statutory safe harbor does not apply to any of the allegedly false statements pleaded herein
regarding Issuer’s Prospectus because those statements were made in connection with an initial

public offering of stock, and such statements are excepted under 15 U.S.C. § 78u-5(b) of the statute.

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137. The “Bespeaks Caution” doctrine does not apply to the allegedly false staternents
pleaded herein. This is because those statements substantially affected the “total mix” of
information provided to investors, and there were no meaningful, reasonably-specific cautionary
statements that identified important factors that could cause actual results to differ materially from
those in the purportedly forward-looking statements; in addition, the particular speakers knew that
the particular forward-looking statements were false, and/or the forward-looking statements were
authonzed and/or approved by an execuuive officer of CSFBC and/or of the Issuer company who

knew that those statements were false when made.

MISTATEMENTS AND OMMISSIONS IN CSFBC’S RESEARCH REPORTS
138. CSFBC and the Technology Group published research reports for each Issuer that

contained statements discussing the forecasted revenues of each Issuer, including a projected
income statement for each Issuer. These statements are described with particularity for cach Issuer
in Exhibit D.

139. These staternents failed to reveal, however, the material fact that the forecasted
quarterly and annual revenues were set by the Issuer, CSFBC, and the Technology Group with the
end of creating the appearance of unpredictable revenue growth. This artifice is described above in
paragraph 90 and is incorporated by reference herein.

140. The material fact of the creation of this appearance of unpredictable revenue growth
was a necessary disclosure. Without it, the statements in the research reports discussing the
forecasted revenues (and the projected income statement) of each Issuer were misleading since
those statements purport to accurately present the objective beliefs of its authors. The authors were

in fact engaging in a fraudulent scheme to purposely create an appearance of unpredictable revenue

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growth expected by each Issuer. Investors who relied in good faith upon the veracity of these

forecasts were duped into expecting that each Issuer's revenues would grow unpredictably.

141, The mi ts and omissions described in paragraphs 138-140 were made wilt
CSFBC’'s (and the Technology Group's) actual knowledge, as described above in paragraphs 121-
122 , and incorporated herein.

142. The misstatements and omissions described in paragraphs 138-140 were made with
cach Issuci’s actual knowledge, as described above in paragraphs 131-132 , and incorporated
herein.

143. The statutory safe harbor does not apply to any forward-looking statements pleaded
herein. Alternatively, to the degree that the statutory safe harbor does apply to any forward-looking
Statements pleaded herein, defendants are still liable because, the speakers knew that the forward-
looking statements were false when issued, and/or the forward-looking statements were authorized
and/or approved by an executive officer of CSFBC, and/or of the Issuer company who knew that
those statements were false when made. In addition, there were no meaningful cautionary
statements identifying important factors that could cause actual results to differ materially from
those in the purportedly forward-looking statements.

144. The “Bespeaks Caution” doctrine does not apply to the allegedly false statements
pleaded herein. This is because those statements substantially affected the “total mix” of
information provided to investors, and there were no meaningful reasonably-specific cautionary
Statements that identified important factors that could cause actual results to differ materially from
those in the purportedly forward-looking statements. In addition, the speakers knew that the
forward-looking statements were false, and/or the forward-looking statements were authorized

and/or approved by an executive officer of CSFBC and/or of the Issuer company, who knew that
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those statements were false when made.

FRAUDULENT SCHEME AND DECEITFUL COURSE OF BUSINESS

145. The fraudulent misstatements and omissions described In paragraphs 133-144 above
and incorporated herein were individual components of the Core Conspirators’ larger fraudulent
scheme described above in paragraph 90, and incorporated herein.

146. The Core Conspirators, as the center and nexus of the conspiracy, engaged in this
fraudulent scheme as its regular course of business, including the development of standardized
practices and models to assist their scheme.

147. CSFBC repeated this fraudulent scheme with each new Issuer's IPO performed by
its Technology Group. By virtue of its repetition, this fraudulent scheme became a deceitful course

of business for the Core Conspirators (CSFBC, the Technology Group, and QBB).

CSG AND CS ASSIST AND PARTICIPATE

148. CSG and CS assisted and participated in the fraudulent scheme described in the
above paragraphs. CSG and CS accomplished this by, inter alia, sharing officers and/or directors of
its Executive Boards or Board of Directors with subsidiaries that profited directly from the fraud
alleged above. The assisting and participating officers and directors included John M. Hennessy,
Allen D. Wheat, David A. DeNunzio, Richard Thornburgh, Charles Ward, and Edward Nadel. This
commonality of membership between the officers and directors of CSG and CS with those of the
subsidiaries ensured that CSG and CS were generally aware of, directed, authorized, and sponsored
the activities of the subsidiaries.

149. Atall relevant times, CS had a direct and active relationship with QBB and also the

Technology Group. CS directly employed QBB by virtue of its July 1998 employment contract

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with QBB, and simultaneously employed the remainder of the Technology Group through CS's
wholly owned subsidiaries, In addition, the contract with QBB provided for CS's direct, active, and
continuing investment in the activitics of QBB and the Technology Group by requiring CS to create
and fund venture investment funds for (and with) QBB and the Technology Group.

150. In addition, at all relevant times, CSG employed through its wholly owned
subsidiaries QBB and the Technology Group. In addition, CSG at all times had the authority and
power to prevent the venture fund activities of the Technology Group and QBB.

15t. These funds were instrumental to the Technology Group’s overall fraudulent
scheme, because inter alia, they allowed the Technology Group to curry favor with potential clients
of its IPO services, and allowed the members of the Technology Group to profit directly from their
fraudulent activities.

152. CS and CSG each had a general awareness that its role was part of an overall activity
that was improper. Executive members and/or senior managers had raised concerns about the
propriety and/or legality of these venture funds, and these venture fund transactions were not part of
the normal course of business for CS or CSG. Altematively, CS and CSG knew or should have
known that something improper was occurring because CS and CSG had a special duty to the

investing public by virtue of its underwriting, investment advisory, and broker dealer operations.

PURPOSEFUL DESTRUCTION OF EVIDENCE OF WRONGDOING

153. In anticipation of litigation, and to eliminate evidence of wrongdoing, members of
the Technology Group, at the direction of its senior management, purposely destroyed records, files,
and other relevant evidence relating to the violations of securities laws alleged in this complaint.

KNOWINGLY FALSE STATEMENTS JOINT AND SEVERAL LIABILITY

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154, The Defendants and each of them are jointly and severally liable for the alleged
fraud, since, as discussed in the paragraphs above, each of them knowingly made misstatements and
omissions and cach of them knew that the Plaintiff and other Members of the Class were likely to

reasonably rely on them.

INSIDER TRADING IN THE AFTERMARKET BY THE BANK DEFENDANTS

155, After each IPO, the Bank Defendants sold the Issuer’s stock that the Bank
Defendants had purchased prior to the IPO through venture capital investments by the hedge funds
established by QBB and the Technology Group, and/or through other venture capital affiliates of the
Bank Defendants.

156. At the time that the Bank Defendants sold the Issuer stock that they had bought pre-
IPO as described above, they were in possession of material, non-public information affecting the
price of the publicly traded stock.

157, The Bank Defendants were in possession of this material information both from
their fiduciary role as the underwriter of each Issuer's IPO and from their complicity with each
Issuer in the public dissemination of fraudulent information regarding the expected financial
performance of the Issuer. The dissemination of fraudulent information included the publication of
research reports by CSFBC and/or the Technology Group’s research analysts that had the purpose
of creating the appearance of unpredictable revenue growth.

158. The Bank Defendants sold the Issuers’ stock that they had purchased pre-IPO to the
public marketplace in the aftermarket period at prices that were inflated by these material
misrepresentations, The Bank Defendants had knowledge of these material misrepresentations, and

were complicit in them, but the fact of the misrepresentations was unknown to the public

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marketplace.

INSIDER TRADING IN THE AFTERMARKET BY THE
INDIVIDUAL ISSUER DEFENDANTS

159. After each IPO, the Individual Issuer Defendants also personally sold their Issuer’s
stock that they had received prior to the IPO. At the time the Individual Issuer Defendants sold
their pre-IPO stock, they were in possession of material, non-public information affecting the price
of the publicly traded stock.

160. The Individual Issuer Defendants were in possession of this material information
through their complicity with the Bank Defendants in the public dissemination of fraudulent
information regarding the expected financial performance of their Issuer. The dissemination of
frandutent information included the publication of research reports by CSFBC and/or the
Technology Group’s research analysts that had the purpose of creating the appearance of
unpredictable revenue growth.

161. The Individual Issuer Defendants sold their Issuer’s stock that they had acquired pre:
IPO at prices that were inflated by these material misrepresentations. The Individual Issuer
Defendants had knowledge of these material misrepresentations, and were complicit in them, but

the fact of the misrepresentations was unknown to the public marketplace.

INSIDER TRADING IN THE FOLLOW-ON _ (“SECONDARY”)
OFFERING BY THE BANK DEFENDANTS

162. This subsection applies only to the Bank Defendants’ sales in the Secondary

Offerings identified in Exhibit B (“Secondary Offerings”).
163. At the time of each Secondary Offering, the Bank Defendants were in possession of

material. non-public information affecting the price of the Issuer’s publicly traded stock. This

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information is described above in paragraph 157 and incorporated herein by reference.

164. The Bank Defendants participated as selling shareholders in each Secondary
Offering and sold some or all of their pre-IPO stock in each Sccondary Offering at a price that was
inflated by these material misrepresentations. The Bank Defendants had knowledge of these
material misrepresentations, and were complicit in them, but the fact of the misrepresentations was

unknown to the public marketplace.

INSIDER TRADING IN THE FOLLOW-ON (SECONDARY)

OFFERING BY THE ISSUER

165. This subsection applies only to those Issuers who had Secondary Offerings, as
identified in Exhibit B (“Secondary Offerings”) below.

166. At the time of each Issuer's Secondary Offering. the Issuer was in possession
(through its executive officers and/or directors) of material, non-public information affecting the
Price of that Issuer's publicly traded stock. This information is described above in paragraph 160
and incorporated herein by reference.

167. The Issuers sold some of their stock in the Secondary Offering at a price that was
inflated by these material misrepresentations. Each Issuer had knowledge of these material
misrepresentations, and were complicit in them, but the fact of the misrepresentations was unknown

to the public marketplace.

INSIDER TRADING IN THE FOLLOW-ON (SECONDARY)

OFFERING BY THE INDIVIDUAL ISSUER DEFENDANTS

168. This subsection applies only to the Individual Issuer Defendants’ sales of their
Issuer’s stock in the Secondary Offerings identified in Exhibit B ("Secondary Offerings”) .

169. At the time of each Issuer's Secondary Offering, the Individual Issuer Defendants

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were in possession of material, non-public information affecting the price of that Issuer’s publicly
traded stock. This information is described above in paragraph 160 and incorporated herein by
reference,

170. The Individual Issuer Defendants participated as selling shareholders in their
Issuer's Secondary Offering and sold some or all of their pre-IPO stock in the offering at a price that
was inflated by these material misrepresentations. The Individual Issuer Defendants had knowledge
of these material misrepresentations, and were complicit in them, but the fact of the

misrepresentations was unknown to the public marketplace.

FIRST CLAIM: FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT AND
RULE 10b-5 PROMULGATED THEREUNDER BY THE CORE CONSPIRATORS (BY

PLAINTIFF AND CLASS MEMBERS AGAINST OBB, THE TECHNOLOGY GROUP,
AND CSFBC)}

171. Plaintiff incorporates by reference and realleges the allegations as set forth above.

172. This Count is based upon Section 10(b) of the Exchange Act, 15 U.S.C. Section
78j(b), and Rule 10b-5 promulgated thereunder.

173. During the Class Period, the Defendants, singularly and in concert, engaged in a
plan, scheme, and unlawful conspiracy and course of conduct, pursuant to which they knowingly
and/or recklessly engaged in acts, transactions, practices, and courses of business which operated as
a fraud upon Plaintiff and other members of the Class, and made various untrue statements of
material facts and omitted to state material facts necessary in order to make the statements madc not
misleading to Plaintiff and other Class members. The purposes and effect of said scheme was to
create the illusion of unpredictable revenue growth by each Issuer so that Defendants could profit
from the purchase or sale of resulting price-manipulated securities owned by them, profit from

increased underwriting and market making fees resulting from the price manipulation, and induce

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Plaintiff and the members of the Class to purchase common stock at artficially manipulated prices.

174. During the Class Period, the Defendants, pursuant to said plan, scheme, and
unlawful conspiracy and course of conduct, knowingly and recklessly issued, caused to he issued.
and participated in the issuance of false and misleading statements to the investing public which
were contained in the various documents and releases specified herein, and failed to disclose
material facts to the investing public.

175. The Defendants knew or recklessly disregarded the fact that the aforcsaid acts and
practices, misleading statements, and omissions would adversely affect the price of each Issuer's
common stock.

176. The Defendants herein knew or recklessly disregarded the fact that the aforesaid acts
and practices, misleading statements, and omissions would adversely affect the ability to market the
Issuer’s common stock. The Defendants, by acting as hereinabove described, did so knowingly or in
such a reckless or grossly negligent manner as to constitute a deceit and fraud upon Plaintiff and the
members of the Class.

177. The Defendants are liable as direct participants in the wrongs complained of herein.
The Defendants had a duty to promptly disseminate accurate and truthful information with respect
to each Issuer's operations, financial condition, and anticipated revenues so that the price of the
Issuer's common stock would be based on truthful and accurate information. The Defendants
participated in the wrongdoing complained of in order to create and continue the illusion of
unpredictability of Issuers’ prospects for revenue growth.

178. As aresult of the dissemination of the aforementioned false and misleading reports,
releases and financial statements, the price of each Issuer’s common stock was artificially

manipulated throughout the Class Period. In ignorance of the purposeful scheme designed, inter
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alia, to create the appearance of unpredictable revenue growth, which was concealed by the
Defendants, Plaintiff and the members of the Class purchased Issuer securities at artificially
manipulated prices relying upon the integrity of the securities markets and were damaged thereby.

179, Had Plaintiff and the members of the Class known of the materially adverse
information not disclosed by the Defendants, they would not have purchased the securities of Issuer
at all or, if so, not at the artificially manipulated prices they did.

180. By virtue of the foregoing, the defendants cach violated Section 10(b) of the
Exchange Act and Rule 10b-5 promulgated thereunder.

181. Asa direct and proximate result of defendants’ wrongful conduct, Plaintiff and other
members of the Class suffered damages in connection with their purchases of the Issuers” securities

during the Class period.

SECOND CLAIM: FOR VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT
AND RULE 10b-5 PROMULGATED THEREUNDER BY ISSUER DEFENDANTS (BY

PLAINTIFF AND/OR CLASS MEMBERS AGAINST EACH ISSUER & INDIVIDUAL
ISSUER DEFENDANTS)

182. Plaintiff incorporates by reference and realleges the allegations as set forth ahove.

183. This Count is based upon Section 10(b) of the Exchange Act, 15 U.S.C. Section
78j(b), and Rule 10b-5 promulgated thereunder.

184. During the Class Period, the Defendants, singularly and in concert, engaged in a
plan, scheme, and unlawful conspiracy and course of conduct, pursuant to which they knowingly
and/or recklessly engaged in acts, transactions, practices, and courses of business which operated as
a fraud upon Plaintiff and other members of the Class, and made various untrue statements of
material facts and omitted to state material facts necessary in order to make the statements made not

misleading to Plaintiff and other Class members. ‘The purpose and effect of said scheme was to
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create the illusion of unpredictable revenue growth so that Defendants could profit from the
purchase or sale of resulting price-manipulated securities owned by them and induce Plaintiff and
the members of the Class to purchase common stock at artificially manipulated prices.

185. During the Class Period, the Defendants, pursuant to said plan, scheme, and
unlawful conspiracy and course of conduct, knowingly and recklessly issued, caused to be issued,

and participated in the issuance of false and misleading statements to the investing public which

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create the illusion of unpredictable revenue growth so that Defendants could profit from the
purchase or sale of resulting price-manipulated securities owned by them and induce Plaintiff and
the members of the Class to purchase common stock at artificially imvanipulated prices.

185. During the Class Period, the Defendants, pursuant to said plan, scheme, and
unlawful conspiracy and course of conduct, knowingly and recklessly issued, caused to be issued,
and participated in the issuance of false and misleading statements to the investing public which
were contained In the various documents and releases specified herein, and failed to disclose
material facts to the investing public.

186. The Defendants knew or recklessly disregarded the fact that the aforesaid acts and
practices, misleading statements, and omissions would adversely affect the price of the Issuer's
common stock.

187. The Defendants herein knew or recklessly disregarded the fact that the aforesaid acts
and practices, misleading statements, and omissions would adversely affect the ability to market the
Issuer's common stock. The Defendants, by acting as hereinabove described, did so knowingly or in
such a reckless or grossly negligent manner as to constitute a deceit and fraud upon Plaintiff and the
members of the Class.

188. The Defendants are liable as direct participants in the wrongs complained of herein.
The Defendants had a duty to promptly disseminate accurate and truthful information with respect
to Issuer’s operations, financial condition, and revenues so that the price of the Issuer’s common
stock would be based on truthful and accurate information. The Individual Issuer Defendants,
because of their position of control and authority, were able to and did, directly or indirectly, control
the content of the various financial reports, statements, and press releases of Issuer. The Defendants

participated in the wrongdoing complained of in order to create and continue the illusion of

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unpredictability of Issuers’ prospects for revenue growth.

189. As a result of the dissemination of the aforementioned false and misleading reports,
releases and financial statements, the price of the Issucr’s common stuck was anificially
manipulated throughout the Class Period. In ignorance of the purposeful scheme designed, inter
alia, to create the appearance of unpredictable revenue growth, which was concealed by the
Defendants, Plaintiff and the members of the Class purchased Issuer securities at artificially
manipulatcd prices relying upon the Integrity of the securities markets and were damaged thereby.

190, Had Plaintiff and the members of the Class known of the Materially adverse
information not disclosed by the Defendants, they would not have purchased the securities of Issuer
at all or, if so, not at the artificially manipulated prices they did.

191. By virtue of the foregoing, the defendants each violated Section 10(b) of the
Exchange Act and Rule 10b-5 promulgated thereunder.

192, As a direct and proximate result of defendants’ wrongful conduct, Plaintiff and other
members of the Class suffered damages in connection with their purchases of the Issuers’ securities

during the Class period.

THIRD CLAIM: FOR VIOLATIONS OF SECTION 15 OF THE SECURITIES ACT

SEA IN NE EN IE EAI To OR OLE SECURITIES ACT
{AGAINST THE INDIVIDUAL DEFENDANTS ONLY BY PLAINTIFF AND CLASS
MEMBERS)

{93. Plaintiff incorporates by reference and realleges the allegations as set forth above.

194. By reason of their positions as senior managers and/or directors as alleged above, the
Individual Defendants had the power to influence, and exercised such power, to cause Issuer to
engage in the unlawful acts and conduct complained of herein.

195. By reason of such wrongful conduct, the Individual Defendants are liable pursuant

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to Section 15 of the Securities Act. As a direct and proximate result of the Individual Defendants”
wrongful conduct, Plaintiff and the other members of the Class suffered damages in connection with

their purchases of Issuers’ securities during the Class Period.

FOURTH CLAIM: FOR VIOLATIONS OF
SECTION 12(a)(2) OF THE SECURITIES ACT

(BY PLAINTIFF AND CLASS MEMBERS AGAINST DEFENDANT CSFBC)

196. Plaintiff incorporates by reference and realleges the allegations as set forth above.

197. This count is brought pursuant to Section 12(a)(2) of the Securities Act, 15 U.S.C. §
77\(a)(2), on behalf of Plaintiff and other members of the Class against CSFBC. It does not sound
in fraud.

198. CSFBC, as underwriter and dealer manager of Issuers’ Offerings, solicited the
purchase of Issuers’ securities by Plaintiff and the Class Members and offered those securities on
behalf of itself.and Issuers; and CSFBC was motivated (at least in part) in doing so, by desire to
serve its own financial! interests and/or those financial interests of persons deemed to be a “seller” of
the Issuer securities under the federal securities laws and related state laws.

199. As detailed above, the Prospectus for each Issuer’s Offering contained several
material misstatements and omitted to state several material facts which were necessary to make the
statements made, in light of the circumstances in which they were made, not misleading.

200. Asa result, in contravention of Section 12(a){2) of the Securities Act, CSFBC
offered and sold securities to Plaintiff and the Class Members by means of a prospectus or oral
communication which included an untrue statement of material fact or omitted to state a material
fact necessary to make the statements made, in light of the circumstances in which they were made,

not misleading, by the use of means or instrumentalities in and of interstate commerce or by use of

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the mails, where Plaintiff did not know of the untruths and/or omissions and where CSFBC knew
or, in the exercise of reasonable care, could have known of them.

201. Plaintiff and the other members of the Class, hereby tender to CSFBC the Issuer
securities which they purchased in the Offerings and still hold, and Plaintiff and the other members
of the Class demand rescission of that purchase, together with restitution and repayment of the
consideration which Plaintiff and the other members of the Class paid in connection therewith, plus
interest.

202. Less than three years has elapsed from the time that the securities upon which this
Count is brought were sold to the public to the time of the filing of this action. Less than one year
has elapsed from the time when Plaintiff discovered or reasonably could have discovered the facts

upon which this Count is based to the time of the filing of this action.

FIFTH CLAIM: FOR VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT BY
THE TECHNOLOGY GROUP MANAGERS

(BY ALL PLAINTIFF AND CLASS MEMBERS AGAINST THE TECHNOLOGY GROUP
MANAGERS ONLY)

203. Plaintiff incorporates by reference and realleges the allegations as set forth above.
This claim for relief is based on Section 20(a) of the Exchange Act.

204. Atall relevant times, the Technology Group Managers, by virtue of their offices,
directorships, and the specific acts heretofore described, were controlling persons of the Technology
Group within the meaning of Section 20(a) of the Exchange Act.

205. Atal relevant times, pursuant to their positions of control, the Technology Group
Managers possessed the power to direct, or cause the direction of, the Technology Group's
management, operations, business, and Policies. In addition, the Technology Group Managers

possessed the power to directly or indirectly control or influence the specific corporate policy which

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governed the Technology Group’s management, operations, business, and Policies. As such and at
all relevant times, the Technology Group Managers were controlling persons of the Technology
Group within Section 20(a) of the Exchange Act.

206. The Technology Group Managers had the power and influence, and exercised the
same, to cause the Technology Group to engage in the illegal conduct and practices complained of
herein.

207. By reason of their position of control over the Technology Group, as alleged above,
the Technology Group Managers are liable jointly and severally with and to the same extent as the
Technology Group is liable to Plaintiff and the other members of the Class for the damages which
they suffered in connection with their purchases of Issuers’ securities during the Class Period as a

result of the wrongful conduct alleged herein.

SIXTH CLAIM: FOR CSFBC’S VIOLATIONS OF
SECTION 20(a) OF THE EXCHANGE ACT

(BY ALL PLAINTIFF AND CLASS MEMBERS AGAINST. CSFBC ONLY)

208. Plaintiff incorporates by reference and realleges the allegations as set forth above.
This claim for relief is based on Section 20(a) of the Exchange Act.

209. As alleged above, at all relevant times CSFBC employed the Technology Group as
an agent of its corporation. CSFBC, by virtue of its corporate position of control, authority,
employment, and/or contract was a controlling person of the Technology Group within the meaning
of Section 20(a) of the Exchange Act.

210. Atal relevant times, pursuant to its position of control, CSFBC possessed the power
to direct, or cause the direction of, the Technology Group’s management, operations, business, and

Policies. In addition, CSFBC possessed the power to directly or indirectly control or influence the

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specific corporate policy which governed the Technology Group’s management, operations,
business, and Policies. As such and at all relevant times, CSFBC was a controlling person of the
Technology Group within Section 20(a) of the Exchange Act.

211. In addition, CSFBC as an underwriter and/or broker and/or dealer had a duty to the
public with respect to the Technology Group. CSFBC failed in this duty by, among other things,
failing to maintain adequate oversight and/or hiring and/or training standards for the Technology
Group. Further, CSFBC failed to adequately supervise the Technology Group, and failed to enforce
any adequate standards which they had.

212. By reason of their position of control over the Technology Group, as alleged above,
CSFBC is liable jointly and severally with and to the same extent as the Technology Group is liable
to Plaintiff and the other members of the Class for the damages which they suffered in connection
with their purchases of Issuers’ securities during the Class Period as a result of the wrongful conduct

alleged herein.

SEVENTH CLAIM: FOR CS’S VIOLATIONS OF
SECTION 20(a) OF THE EXCHANGE ACT

(BY ALL PLAINTIFF AND CLASS MEMBERS AGAINST CS ONLY)

213. Plaintiff incorporates by reference and realleges the allegations as set forth above.
This claim for relief is based on Section 20(a) of the Exchange Act.

214. As alleged above, at ali relevant times CS wholly owned CSFBC and/or the
Technology Group. CS, by virtue of its ownership position of CSFBC and/or the Technology
Group and control, authority, employment, and/or contract was a controlling person of CSFBC
and/or the Technology Group within the meaning of Section 20(a) of the Exchange Act.

215. At all relevant times, pursuant to its position of control, CS possessed the power to

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direct, or cause the direction of, CSFBC and/or the Technology Group's management, operations,
business, and Policies. In addition, CS possessed the power to directly or indirectly control or
influence the specific corporate policy which governed CSFBC and/or the Technology Group's
Management, operations, business, and Policies. As such and at all relevant times, CS was a
controlling person of CSFBC and/or the Technology Group within Section 20(a) of the Exchange
Act.

216. In addition, CS as an investment advisor and/or broker and/or dealer had a duty to
the public with respect to CSFBC and/or the Technology Group. CS failed in this duty by, among
other things, failing to maintain adequate oversight and/or hiring and/or training standards for
CSFBC and/or the Technology Group. Further, CS failed to adequately supervise CSEBC and/or
the Technology Group, and failed to enforce any adequate standards which they had.

217. By reason of their position of control over CSFBC and/or the Technology Group, as
alleged above, CS is liable jointly and severally with and to the same extent as CSFBC and/or the
Technology Group is liable to Plaintiff and the other members of the Class for the damages which
they suffered in connection with their purchases of Issuers’ securities during the Class Period as a

result of the wrongful conduct alleged herein.

EIGHTH CLAIM: FOR CSG’S VIOLATIONS OF

SECTION 20(a) OF THE EXCHANGE ACT
(BY ALL PLAINTIFF AND CLASS MEMBERS AGAINST CSG ONLY)

218. Plaintiff incorporates by reference and realleges the allegations as set forth above.
This claim for relief is based on Section 20a) of the Exchange Act.
219. As alleged above, at all relevant times CSG wholly owned CSFBC. CSG, by virtue

of its ownership position of CSFBC and/or the Technology Group and control, authority,

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employment, and/or contract was a controlling person of CSFBC and/or the Technology Group
within the meaning of Section 20(a) of the Exchange Act.

220. Atall relevant times, pursuant to its position of control, CSG possessed the power to
direct, or cause the direction of, CSFBC and/or the Technology Group’s management, operations,
business, and Policies. In addition, CSG possessed the power to directly or indirectly control or
influence the specific corporate policy which governed CSFBC and/or the Technology Group’s
management, operations, business, anu Policies. As such and at all relevant times, CSG was a
controlling person of CSFBC and/or the Technology Group within Section 20(a) of the Exchange
Act.

221. In addition, CSG as an investment advisor and/or broker and/or dealer had a duty to
the public with respect to CSFBC and/or the Technology Group. CSG failed in this duty by, among
other things, failing to maintain adequate oversight and/or hiring and/or training standards for the
CSFBC and/or the Technology Group. Further, CSG failed to adequately supervise the Technology
Group, and failed to enforce any adequate standards which they had.

222. By reason of their position of control over CSFBC and/or the Technology Group, as
alleged above, CSG is liable jointly and severally with and to the same extent as CSFBC and/or the
Technology Group is liable to Plaintiff and the other members of the Class for the damages which
they suffered in connection with their purchases of Issuers” securities during the Class Period as a

Tesult of the wrongful conduct alleged herein.

NINTH CLAIM: FOR EACH ISSUER’S VIOLATIONS OF
SECTION 20(a) OF THE EXCHANGE ACT
(BY ALL PLAINTIFF AND CLASS MEMBERS AGAINST EACH ISSUER ONLY)

223. Plaintiff incorporates by reference and realleges the allegations as set forth above.

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This claim for relief is based on Section 20(a) of the Exchange Act.

224.  Asalleged above, at all relevant times each Issuer employed its Individual Issuer
Defendants. Lach Issuer, by virtue of its corporate position of employment, control, and authority
was a controlling person of its Individual Issuer Defendants within the meaning of Section 20(a) of
the Exchange Act.

225. At all relevant times, pursuant to its position of control, each Issuer possessed the
power to direct, or cause the direction of, its Individual Issuer Defendants” management, uperations,
business, and Policies. In addition, each Issuer possessed the power to directly or indirectly control
or influence the specific corporate policy which governed its Individual Issuer Defendants’
management, operations, business, and Policies. As such and at all relevant times, each Issuer was a
controlling person of its Individual Issuer Defendants within Section 20{a) of the Exchange Act.

226. By reason of its position of control over its Individual Issuer Defendants, as alleged
above, each Issuer is liable jointly and severally with and to the same extent as its Individual Issuer
Defendants are liable to Plaintiff and the other members of the Class for the damages which they
suffered in connection with their purchases of each Issuer’s securities during the Class Period as a

result of the wrongful conduct alleged herein.

TENTH CLAIM: FOR CSFBC’S LIABILITY UNDER RESPONDEAT SUPERIOR FOR

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THE FRAUDULENT_ACTS OF THE
TECHNOLOGY GROUP (BUT NOT INCLUDING OBB)
(BY ALL PLAINTIFF AND CLASS MEMBERS AGAINST CSFBC ONLY)

227. Plaintiff incorporates by reference and realleges the allegations as set forth above.
This claim for relief is based on the common law of respondeat superior.
228. As alleged above, CSFBC at all relevant times employed the Technology Group as

an agent of its corporation.

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229. As alleged above, the acts of the Technology Group in carrying out its fraudulent
scheme were committed while acting within the scope of its employment to CSFBC, The scope of
the Technology Group’s employment included investment banking, equity research, and equity
sales activities for CSFBC, and the fraudulent scheme was executed by means of the same
activities.

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229. As alleged above, the acts of the Technology Group in carrying out its fraudulent
scheme were committed while acting within the scope of its employment to CSFBC. The scope of
the Technology Group's empluymeit included invesument banking, equity research, and equity
sales activities for CSFBC, and the fraudulent scheme was executed by means of the same
activities.

230. CSFBC was negligent in allowing the fraudulent acts of the Technology Group to be
executed and continued. CSFBC knew, or should have known, of all or at least some part of the
Technology Group's fraudulent activities and that knowledge required CSFBC to investigate,
control, and prevent the Technology Group from carrying out its fraudulent scheme. In addition, or
in the alternative, CSFBC was negligent in supervising the activities of the Technology Group
because the Technology Group could not have carried out its fraudulent scheme without the support
and operations of CSFBC.

231. In addition, as a securities underwriter and/or broker and/or dealer, CSFBC had a
non-delegable duty to the public, based upon the public’s trust, to diligently and adequately
supervise its operations, including the operations of the Technology Group. CSFBC failed in this
duty by failing to adequately supervise the Technology Group. Among other things, CSFBC failed
to maintain adequate oversight and/or hiring and/or training standards for the Technology Group,
and/or failed to enforce any adequate standards which they had.

232. By reason of its position of employrnent over the Technology Group, as alleged
above, CSFBC is liable jointly and severally with and to the same extent as the Technology Group
is liable to Plaintiff and the other members of the Class for the damages which they suffered in
connection with their purchases of Issuers’ securities during the Class Period as a result of the

wrongful conduct alleged herein.
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ELEVENTH CLAIM: FOR CS’S LIABILITY UNDER RESPONDEAT SUPERIOR FOR
THE FRAUDULENT ACTS OF OBB AND/OR THE TECHNOLOGY GROUP (BY ALL
PLAINTIFF AND CLASS MEMBERS AGAINST CS ONLY)

233. Plaintiff incorporates by reference and realleges the allegations as sct forth above.
This claim for relief is based on the common law of respondeat superior.

234. As alleged above, CS at all relevant times employed QBB and/or the Technology
Group as an agent of its corporation.

235. As alleged above, the acts of the QBB and/or the Technology Group in carrying out
its fraudulent scheme were committed while acting within the scope of its employment to CS. The
scope of the QBB and/or the Technology Group’s employment included investment banking, equity
research, and equity sales activities for CS, and the fraudulent scheme was executed by means of the
same acttvities.

236. CS was negligent in allowing the fraudulent acts of the QBB and/or the Technology
Group to be executed and continued. CS knew, or should have known, of all or at least some part of
the QBB and/or the Technology Group’s fraudulent activities and that knowledge required CS to
investigate, control, and prevent the QBB and/or the Technology Group from casrying out its
fraudulent scheme. In addition, or in the alternative, CS was negligent in supervising the activities
of the QBB and/or the Technology Group because the QBB and/or the Technology Group could not
have carried out its fraudulent scheme without the support and operations of CS.

237. In addition, as a securities underwriter and/or broker and/or dealer, CS had a non-
delegable duty to the public, based upon the public's trust, to diligently and adequately supervise its
operations, including the operations of the QBB and/or the Technology Group. CS failed in this
duty by failing to adequately supervise the QBB and/or the Technology Group. Among other things,

CS failed to maintain adequate oversight and/or hiring and/or training standards for the QBB and/or
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the Technology Group, and/or failed to enforce any adequate standards which they had.

238. By reason of its position of employment over the QBB and/or the Technology
Group, as alleged above, CS is Hable juintly and severally with and to the same extent as the QBB
and/or the Technology Group is liable to Plaintiff and the other members of the Class for the
damages which they suffered in connection with their purchases of Issuers” securities during the

Class Period as a result of the wrongful conduct alleged herein.

TWELVTH CLAIM: FOR EACH ISSUER'S LIABILITY UNDER RESPONDEAT

SUPERIOR FOR THE FRAUDULENT ACTS OF ITS INDIVIDUAL ISSUER
DEFENDANTS

(BY ALL PLAINTIFF AND CLASS MEMBERS AGAINST EACH ISSUER ONLY)

239. Plaintiff incorporates by reference and realleges the allegations as set forth above.

This claim for relief is based on the cc law of respondeat superior.

240. As alleged above, at all relevant times each Issuer employed its Individual Issuer
Defendants.

241. As alleged above, the acts of each Issuer’s Individual Issuer Defendants in carrying
out their fraudulent scheme with the Technology Group were committed while acting within the
scope of their employment with Issuer. The scope of each Issuer's Individual Issuer Defendants’
employment included working with the Issuer’s underwriters in preparing the initial public offering,
disclosing accurate financial information (including financial forecasts) to the underwriters,
disclosing accurate financial intormation (including tinancial forecasts) to the equity research
analysts, disseminating truthful information to the public through the underwriters, and
disseminating truthful information to the public through the equity research analysts. The corporate
officer’s fraudulent scheme was executed by means of the same activities.

242. Each Issuer was negligent in allowing the fraudulent acts of its Individual Issuer

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Defendants to be executed and continued. Each Issuer knew, or should have known, of alt or at
least some part of its Individual Issuer Defendants’ fraudulent scheme and that knowledge required
each Issuer to investigate, control, and prevent their Individual Issuer Defendants from carrying out
the fraudulent scheme. In addition, or in the altemative, each Issuer was negligent in supervising
the activities of its Individual Issuer Defendants because the Individual Issuer Defendants could not
have carried out their fraudulent scheme without the support and operations of Issuer.

243. In addition, as a registered public company, each Issuer had a non-delegable duty to
the public, based upon the public’s trust, to diligently and adequately supervise its Individual Issuer
Defendants’ communications to the public. Each Issuer failed in this duty by failing to adequately
supervise their Individual Issuer Defendants, and/or to maintain adequate oversight standards for its
Individual Issuer Defendants.

244, By reason of its position of employment over its Individual Issuer Defendants, as
alleged above, each Issuer is liable jointly and severally with and to the same extent as the
Individual Issuer Defendants are tiable to Plaintiff and the other members of the Class for the
damages which they suffered in connection with their purchases of Issuers’ securities during the

Class Period as a result of the wrongful conduct alleged herein.

THIRTEENTH CLAIM: FOR VIOLATIONS OF COMMON LAW FRAUD
(BY PLAINTIFF AND CLASS MEMBERS AGAINST ALL DEFENDANTS)

245, Plaintiff incorporates by reference and realleges the allegations as set forth above.

246. ‘This Count is based upon common law fraud.

247. During the Class Period, the Defendants, singularly and in concert, engaged in a
plan, scheme, and unlawful conspiracy and course of conduct, pursuant to which they knowingly

and/or recklessly engaged in acts, transactions, practices, and courses of business which operated as

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a fraud upon Plaintiff and other members of the Class, and made various untrue statements of
material facts and omitted to state material facts necessary in order to make the statements made not
misleading to Plaintiff and other Class members. The purposes and effect of said scheme was to
create the illusion of unpredictable revenue growth so that Defendants could profit from the
purchase or sale of the resulting price-manipulated securities owned by them and induce Plaintiff
and the other members of the Class to purchase common stock at artificially manipulated prices.

248. During the Class Period, the Defendants, pursuant to said plan, scheme, and
unlawful conspiracy and course of conduct, knowingly and recklessly issued, caused to be issued,
and participated in the issuance of false and misleading statements to the investing public which
were contained in the various documents and releases specified herein, and failed to disclose
material facts to the investing public.

249. The Defendants knew or recklessly disregarded the fact that the aforesaid acts and
practices, misleading statements, and omissions would adversely affect the price of the Issuers’
common stock.

250. The Defendants herein knew or recklessly disregarded the fact that the aforesaid acts
and practices, misleading statements, and omissions would adversely affect the ability to market the
Issuers’ common stock. The Defendants, by acting as hereinabove described, did so knowingly or
in such a reckless or grossly negligent manner as to constitute a deceit and fraud upon Plaintiff and
the other members of the Class.

251. The Defendants are liable as direct participants in the wrongs complained of herein.
The Defendants had a duty to promptly disseminate accurate and truthful information with respect
to Issuer's operations, financial condition, and earnings so that the price of Issuers’ common stock

would be based on truthful and accurate information. The Defendants participated in the
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wrongdoing complained of in order to continue the illusion of the unpredictability of Issuers’
prospects for revenue growth.

252. AS aresult of the dissemination of the aforementioned false and misleading reports,
releases and financial statements, the price of Issuers’ common stock was artificially manipulated
throughout the Class Period. In ignorance of the purposeful scheme designed to create the illusion
of unpredictable revenue growth, which was concealed by the Defendants, Plaintiff and the other
members of the Class justifiably relied on the talse and misleading reports, releases, and financial
statements, and as a result, purchased Issuer securities at artificially manipulated prices and were
damaged thereby.

253. Had Plaintiff and the other members of the Class known of the materially adverse
information not disclosed by the Defendants, they would not have purchased the securities of Issuer
at all or, if so, not at the artificially manipulated prices they did.

254. By virtue of the foregoing, the defendants each committed fraud.

255, As adirect and proximate result of defendants’ wrongful conduct, Plaintiff and other
members of the Class suffered damages in connection with their purchases of the Issuers’ securities

during the Class period.

FOURTEENTH CLAIM: FOR VIOLATIONS OF FLORIDA BLUE SKY LAW
(BY PLAINTIFF AND CLASS MEMBERS AGAINST ALL DEFENDANTS)

256. Plaintiff incorporates by reference and realleges the allegations as set forth above.
257. This Count is based upon the Florida Blue Sky Law, F.S.A. Section 517.301.
258. During the Class Period, the Defendants, singularly and in concert, engaged ina

plan, scheme, and unlawful conspiracy and course of conduct, pursuant to which they knowingly

and/or recklessly engaged in acts, transactions, practices, and courses of business which operated as

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a fraud upon Plaintiff and other members of the Class, and made various untruc statements of
material facts and omitted to state material facts necessary in order to make the statements made not
misleading to Plaintiff and other Class members. The purposes and cffect of said scheme was to
create the illusion of unpredictable revenue growth so that Defendants could profit from the
purchase or sale of resulting price-manipulated securities owned by them and induce Plaintiff and
the other members of the Class to purchase common stock at artificially manipulated prices.

259. During the Class Period, the Defendants, pursuant to said plan, scheme, and
unlawful conspiracy and course of conduct, knowingly and recklessly issued, caused to be issued,
and participated in the issuance of false and misleading statements to the investing public which
were contained in the various documents and releases specified herein, and failed to disclose
material facts to the investing public.

260. The Defendants knew or recklessly disregarded the fact that the aforesaid acts and
practices, misleading statements, and omissions would adversely affect the price of Issuers’
common stock.

261. The Defendants herein knew or recklessly disregarded the fact that the aforesaid acts
and practices, misleading statements, and omissions would adversely affect the ability to market the
Issuers’ common stock. The Defendants, by acting as hereinabove described, did so knowingly or
in such a reckless or grossly negligent manner as to constitute a deceit and fraud upon Plaintiff and
the other members of the Class.

262. The Defendants are liable as direct participants in the wrongs complained of herein.
The Defendants had a duty to promptly disseminate accurate and truthful information with respect
to Issuers’ operations, financial condition, and earings so that the price of the Issuers’ common

stock would be based on truthful and accurate information. The Defendants participated in the
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wrongdoing complained of in order to continue the illusion of the unpredictability of Issuers’
prospects for revenue growth.

263. As aresult of the dissemination of the aforementioned false and mistcauing reports,
releases and financial statements, the price of Issuers’ common stock was artificially manipulated
throughout the Class Period. In ignorance of the purposeful scheme designed to create the illusion
of the unpredictability of revenue growth, which was concealed by the Defendants, Plaintiff and the
uther members of the Class purchased Issuer securities at artificially manipulated prices, justifiably
relying upon the false and misleading reports, releases and financial statements and were damaged
thereby.

264. Had Plaintiff and the other members of the Class known of the materially adverse
information not disclosed by the Defendants, they would not have purchased the securities of Issuer
at all or, if so, not at the artificially manipulated prices they did.

265. By virtue of the foregoing, the defendants each violated Florida Blue Sky Law,
F.S.A. Section 517.301.

266. Asa direct and proximate result of defendants’ wrongful conduct, Plaintiff and the
other members of the Class suffered damages in connection with their purchases of the Issuers’

securities during the Class period.

FIFTHTEENTH CLAIM: FOR NEGLIGENT MISREPRESENTATION
(BY PLAINTIFF AGAINST ALL DEFENDANTS)

267. Plaintiff incorporates by reference and realleges the allegations as set forth above.
268. With respect to the information provided to Plaintiff and other members of the Class
about the Issuers, Defendants owed Plaintiff and other members of the Class a duty of reasonable

care. Defendants knew that Plaintiff and the other members of the Class were relying upon the

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misrepresentations set forth in the Prospectuses about each Issuer's performance and financial
condition in assessing whether to purchase each Issuer's stock.

269. In order to induce plainuff and uiher members of the Class to purchase the stock,
Defendants made the misrepresentations and material omissions specified herein.

770. In fact, these representations were false in material respects, and Defendants knew
they were false or would have known they were false had they exercised reasonable care.

271. Moreover, Defendants knew that the Plaintiff and other members of the Class would
rely upon these false representations and omissions in assessing whether to purchase each Issuer's
stock.

272. Plaintiff and the other members of the Class relied reasonably relied on Defendants’
misrepresentations and material omissions, as they had no cause to believe that the Prospectus
contained materially false and misleading statements, and omissions of material fact.

273. Asadirect and proximate cause of Defendants’ negligent misrepresentations,
Plaintiff and the other members of the Class have been damaged. They would not have purchased

Issuers” stock but for the faise statements and omissions of Defendants.

PRAYER FOR JUDGMENT AND RELIEF
WHEREFORE, Plaintiffs pray for judgment and relief as follows:
1. Declaring that this lawsuit is properly maintainable as a class action and certifying
Plaintiffs as representatives of the Class;
2. Awarding compensatory damages against Defendants individually, jointly and severally
in an amount not yet fully ascertained, which when determined with sufficient specificity

will be alleged and proved at trial;

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3. Prejudgment interest at the maximum rate allowable by law;

4. Enjoining Defendants’ wrongful conduct,

5. Awarding to Plaintiff and the Class Members disgorgement of Defendants’ profits and
commissions;

6. Awarding Plaintiff her costs and disbursements and reasonable allowances for Plaintiff's
counsels’ and experts’, fees and expenses;

7. Awarding Plainuffs and the Class Members restitution and rescission as permitted by
Jaw;

8. Punitive damages in an amount to be determined at trial;

9. Granting such other and further relief as the Court may deem just and proper.

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JURY TRIAL DEMAND

Plaintiff hereby demands a jury trial pursuant to Federal Rules of Civil Procedure Rule

38(b).

Dated: afr fas
/

Dated: @ oF

(Ud

Dexter W. Lehtinen

Claudio Riedi

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seclaw @ureach.com

Attomeys for Plaintiffs

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Exhibit C

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE INITIAL PUBLIC OFFERING Do. of nw

SECURITIES LITIGATION

21 MC 92
ORDER

MICHAEL B. MUKASEY, U.S.D.J.

Pursuant to Rules 2, 15 and 16 of the Rules for the
Division of Business Among District Judges for this District, the
cases on the attached list ("IPO securities law cases") are
transferred to the docket of the Honorable Shira Scheindlin for
coordination and decision of pretrial motions, discovery, and
related matters other than trial. The coordinated proceedings
before Judge Scheindlin will proceed under the above docket
number, with the above caption.

Counsel are directed henceforth to file duplicate
originals of all papers under both the docket number set forth
above, and the original docket number of each case. Both docket
numbers are to be listed alongside the caption.

Upon the conclusion of proceedings before Judge

‘Scheindlin, any case that has not been either dismissed or

settled will be returned for trial to the judge to whom that case
was initially assigned, or to whom cases related to that case

were assigned.

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Any newly filed IPO securities law case is to be marked
as related to the above docket number. If such newly filed case
deals with an issuer’s securities that are the subject of an
earlier filed case, such newly filed case is to be marked as
related also to the lowest numbered docket number of the case

that involves such securities.

Dated: New York, New York Michael B. Mukasey,

August 8, 2001 . Chief Judge

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE: INITIAL PUBLIC OFFERING : ORDER
SECURITIES LITIGATION : 21 MC 92 = (SAS)

SHIRA A. SCHEINDLIN, U.S.D.Jd.:

An initial conference will be held on September 7, 2001
at 4:30 in the Ceremonial Courtroom, 9th Floor, 500 Pearl Street,
New York, New York. All counsel shail comply with the following
requirements.

I. Prior to the conference, counsel shall provide the Court
with the following documents in hard copy and on a floppy
disk as WordPerfect files (version 6, 7 or 8). The disk
shall be labeled “IPO - Firm Name”.

A. A document entitled “CASES” that lists all of the cases
in which counsel has appeared or intends to appear,
listed alphabetically by issuer, then by docket number
(e.g. Issuer: ADOBE

XYZ v. DEF Corp. et al. O01 Civ. 0123

ZYX v.._ FED Corp. et al. O01 Civ. 0125
SWR v. BCD Corp. et al. 01 Civ. 0234

Issuer: BINGO

BCD v. HIJ Corp. et al. O1 Civ. 1234
ABC v. OXR Corp. et al. O1 Civ. 2345
RPS v. DCB Corp. et al. O01 Civ. 3456

Issuer: CENSUS

PDF v. HIJ Corp. et al. O01 Civ. 2001
BZB v. KLM Corp. et al. O01 Civ. 2002
JKL v. SMW Corp. et al. 01 Civ. 2003);

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PDF _v. HIJ Corp. et al. 01 Civ. 2001
BZB v. KLM Corp. et al. 01 Civ. 2002

JKiL_v. SMW Corp. et al. 01 Civ. 2003);

B. A document entitled “MOTIONS” that indicates for each

case:

1. Whether counsel has moved for consolidation and/or
the appointment of a lead plaintiff and lead
counsel;

2. The dates that any such motions were submitted or
will be submitted;

3. Whether the Court has already ruled on
consolidation and/or the appointment of lead
plaintiff and lead counsel, and a summary of that
ruling;

Cc. A document entitled “RULE1-9" that includes a separate

Local Rule 1.9 statement for each party in each case.
These statements must also be filed with the Clerk of

the Court. See § IV, infra;

D. A document entitled “CONTACT” that provides counsel's

mailing address, telephone number, facsimile number and
e-mail address. Counsel shall also identify the
principal counsel designated to receive communications

from other counsel and from the Court, as well as a

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IV.

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second counsel who may be contacted if principal
counsel cannot be reached;

EB. A document entitled “NON-IPO” that lists all of the
cases counsel believes have wrongfully been transferred
to this consolidated proceeding.

At the conference, counsel who will appear in court shall

submit a typewritten appearance sheet, in duplicate,

prepared in advance of the conference.

At _ the conference, counsel shall be prepared to discuss the

following:

A. Appointment of plaintiffs’ liaison or co-liaison
counsel and defendants’ liaison or co-liaison counsel.
See Manual for Complex Litigation (Third) § 20.22 , at

26-29 (1995);

B. The briefing of common issues with respect to motions
to dismiss;

Cc. The briefing of issues that relate only to a particular
issuer.

All documents filed with the Clerk of the Court shall be

filed in duplicate, i.e. in the Master Docket and in the

individual case docket.

The parties are reminded that the Private Securities

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Litigation Reform Act (PSLRA) requires that evidence be
preserved during the pendency of any stay of discovery. See
15 U.S.C. § 78u-4(b) (3) (C) (i) .?

VI. Any suggestions for agenda items are welcome and must be
sent to the Court ten days in advance of the scheduled

conference.

cheindlin

Dated: New York, New York
August 8, 2001

1 That section provides:

During the pendency of any stay of discovery
pursuant to this paragraph, unless’ otherwise
ordered by the court, any party to the action with
actual uotice of the allegations contained in the
complaint shall treat all documents, data
compilations (including electronically recorded or
stored data), and tangible objects that are in the
custody or control of such person and that are
relevant to the allegations, as if they were the
subject of a continuing request for production of
documents from an opposing party under the Federal
Rules of Civil Procedure.

15 U.S.C. § 78u-4(b) (3) (C) (1)

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Exhibit D

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE INITIAL PUBLIC OFFERING — :
ANTITRUST LITIGATION > 01 Civ. 2014 (WHP)
x

CONSOLIDATED AMENDED CLASS ACTION COMPLAINT

LOVELL & STEWART, LLP MILBERG WEISS BERSHAD HYNES
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(212) 608-1900 New York, New York 10119-0165
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(610) 667-7706

WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
270 Madison Avenue
New York, NY 10016
(212) 545-4600

Plaintiffs’ Executive Committee
(Additional Counsel on Signature Page)

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This is a class action alleging violations of federal and state antitrust laws. Plaintiffs
make the following allegations upon information and belief based upon the investigation of their
counsel, except as to the allegations specifically pertaining to plaintiffs and their counsel.

I, SUMMARY OF ALLEGATIONS

1. During the Class Period (as defined at § 25), the defendants combined, conspired
and agreed to require from customers consideration in addition to the underwriters’ discount (the
“anti-competitive charges") for allocations of shares of initial public offerings of certain
technology-related companies (see Exhibit A hereto)! and to inflate the aftermarket prices for
such Class Securities, in violation of Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1, and
State antitrust laws.

2. These technology-related companies that issued the Class Securities did not sell
directly to the public the shares of their initial public offerings ("IPOs") of common stock.
Instead, such companies sold their IPO stock to intermediaries known as "underwriters." The
underwriters sold 100% of such IPO stock to the public during the relevant period. They did so
in combinations, or "syndicates," of underwriters.

3. During 1999-2000, one or more of the defendants was the lead underwriter(s) in
approximately 90% of the dollar value of the IPOs of technology-related companies and
approximately 87% of the dollar value of all equity IPOs. See § 76 n. 3. The lead underwriter
substantially controls an underwriting. By virtue of the facts alleged herein, the defendants
dominated or had market power in the relevant market during the Class Period. See {9 75-78

infra.

Exhibit A lists "Class Securities" and related information.

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4, As further described herein, pursuant to defendants’ combination, conspiracy and
agreement:

(a) Each defendant required customers to pay to defendants the IPO price for the
relevant Class Security plus additional anticompetitive charges. See 6 infra.

(b) Each defendant required customers to agree, in order to obtain IPO shares of Class
Securities, to make "tie in purchases" of such Class Securities in the aftermarket at levels above
the respective IPO prices. See § 7 infra.

5. Defendants commonly organized themselves into groups — known as "syndicates"
~ to underwrite and market IPOs. Defendants abused the preexisting practice of combining into
underwriting syndicates by implementing the unlawful agreement alleged herein through such
syndicates, including through "road shows", other communications, information sharing, and
other aspects and work of their underwriting syndicates as alleged at J] 51-59 infra. Indeed,
various defendants jointly agreed upon the amounts, prices and/or timing of the tie-in purchases
that various customers were required to make in order to receive allocations of shares of Class
Securities on initial public offerings. Moreover, with respect to the Class Securities, defendants
agreed to permit the lead underwriter in each syndicate to sell all of the shares being underwritten
(if deemed beneficial to further the conspiracy to inflate the aftermarket prices or to receive the
anticompetitive charges or otherwise), but to pay all underwriters in such syndicate even when
they did not sell any of the Class Securities. This undisclosed "centralizing" agreement further
enhanced defendants’ market power.

6. Defendants’ unlawful combination, conspiracy and agreement and their

substantial market power enabled them to extract the anticompetitive charges from their

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customers and Class members. The defendants agreed that customers would be required to pay
to the underwriters the public offering price plus the additional consideration of the
anticompetitive charges for IPO shares of Class Securities. Defendants did not disclose these
anticompetitive charges in prospectuses for Class Securities. The defendants agreed that such
anticompetitive charges could take several forms. These included non-competitively determined
commissions on the purchase and sale of other securities, purchases of an issuer’s shares in
follow-up or "secondary" public offerings (for which the underwriters would earn underwriting
discounts), commitments to purchase other, less attractive secunities, or the laddered purchases
described in the next paragraph. Pursuant to defendants’ agreement, the amount of the required
consideration was frequently based upon a percentage of the profits obtained by the customer in
connection with the purchase of IPO shares.

7. The defendants leveraged their extensive market power by agreeing to require
that, in order to obtain IPO shares of a Class Security, customers had to place bids for and/or
purchase quantities of such Class Security in the aftermarket at prices above the IPO price in
order to systematically and significantly inflate the after-market prices of IPOs — a practice
known as “laddering." The laddered purchases were made at the direction of defendants (or their
co-conspirators) for defendants’ purpose of inflating the aftermarket prices of Class Securities in
order to increase defendants' revenues. Specifically, the defendants’ individual and collective
revenue in connection with their underwriting activity depended, among other things, on the

change in a stock’s price shortly following the IPO. Through the laddering practices and other

elements of their unlawful agreement, defendants did cause the prices of the Class Securities to

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trade at significantly inflated prices on the first day of trading and thereafter in the aftermarket
until the practices were publicly disclosed. “The result was that defendants significantly increased
their underwriting market share and created billions of dollars of additional revenues for
themselves that they would not have made in the absence of their unlawful agreement. See J 74
infra.

8. These laddered purchases, other purchases made by defendants and their co-
conspirators, other elements of defendants’ unlawful agreement, and the momentum of
defendants’ increasing market power had a cumulative effect on the relevant market. These
factors and the defendants’ increasing effectiveness began consistently to inflate the trading
volume and prices of the Class Securities by substantial amounts. Between 1981 and 1996, the
average price increase on the first day of trading of equity IPOs was approximately 8%. As the
direct result and cumulative effect of defendants’ implementation of their anticompetitive
agreement, during the Class Period, the average price increase on the first day of trading in Class
Securities was in excess of 60% and during 1999-2000 was in excess of 70%. Moreover,
defendants' agreement caused more shares to be traded and attracted more trading interest for
defendants’ market-making operations on the first trading day and thereafter. From 1981 until
1996, the average volume of trades on the first day of trading of IPOs in general was roughly
one-third the number of shares publicly offered. This volume dramatically increased during
1999-2000.

9. Plaintiffs and Class members were injured in their business or property by
defendants’ violation of the antitrust laws in that plaintiffs and Class members paid the
anticompetitive charges and inflated aftermarket prices caused by such unlawful agreement.

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II. JURISDICTION AND VENUE

10. Plaintiffs bring this action ‘under Section 4 of the Clayton Act, 15 ULS.C. §§ 15;
for treble damages to recover for injuries sustained by plaintiffs and Class members arising from
violations by defendants of the federal antitrust laws, including Section 1 of the Sherman
Antitrust Act, 15 U.S.C. § 1. This Court has supplemental jurisdiction over the state law claims
alleged in the second and third claims for relief pursuant to 28 U.S.C. § 1367(a).

Il. Venue is proper in this judicial district pursuant to 15 U.S.C. § 22 and 28 U.S.C.
§ 1391(b) and (c), because each of the defendants resides, is licensed to do business or maintains
an office and/or the claims arose in this District. Many of the wrongful acts alleged herein took
place in this District.

12. NY. Gen. Bus. Law § 340 applies to the claims of all Class members. All but
one of the named defendants have their principal places of business in New York. The anti-
competitive scheme of the defendants was conceived, developed, agreed to and deployed in and
from New York. The bulk of the defendants’ underwriting services in connection with the Class
Securities was performed in New York. Many members of the Class also have additional state
law claims under the laws of States in which they reside other than New York.

TI. PLAINTIFFS

13. Except where otherwise alleged, each plaintiff identified below purchased, among

others, the Class Securities identified below during the Class Period. Except where otherwise

alleged, these purchases were made in the aftermarket at the inflated prices caused by defendants’

conduct.

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~ (a) Plaintiff Mita Aggarwal, a resident of New Jersey, and Mita Aggarwal IRA

purchased Ariba, Inc. securities.

(b) Plaintiff Estelle L. Augustine, a resident of Ohio, purchased Marketwatch.com,
Inc. securities.

(c) Plaintiff Tom Barnett, a resident of South Carolina, purchased Ariba, Inc.
securities.

(d) Plaintiff Anupkumar Bhasin, a resident of Maryland, purchased Rediff.com India,
Ltd. securities.

(e) Plaintiff Glen Billing, a resident of Texas, purchased Marimba, Inc. securities.

(f) Plaintiff Joe Braswell, a resident of Maryland, purchased PlanetRx.com Inc.
securities.

(g) Plaintiff Troy Brooks, a resident of Alberta, Canada, purchased Wireless
Facilities, Inc. securities.

(h) Plaintiff Anita Budich, a resident of Arizona, purchased VA Linux Systems, Inc.
securities.

(1) Plaintiff Thomas E. Burke, a resident of Massachusetts, purchased
Storagenetworks, Inc. securities from defendant Salomon Smith Barney, Inc. on June 30, 2000.

(j) Plaintiff Don K. Burris, a resident of Georgia, purchased MP3.com Inc. securities.

(k) Plaintiff Louis Capolino, a resident of New Jersey, purchased Global Crossing,
Ltd. securities from defendant Salomon Smith Barney, Inc. on February 24, 1999 and on

September 14, 1999,

(1) Plaintiff Jerry Cobb, a resident of Florida, purchased iVillage, Inc. securities.

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(m) _ Plaintiff Max Cohen, a resident of New York, purchased Starmedia Networks,
Inc. securities from defendant Salomon Smith Barney, Inc. on September 8, 2000.

(n) Plaintiff Ray L. Cox, a resident of Tennessee, purchased Freemarkets, Inc. and
Ventro Corp. securities.

(0) Plaintiffs Buddy and Eileen Dukeman, residents of Pennsylvania, purchased
Priceline.com securities.

(p) Plaintiff Joyce Dunn, a resident of California, purchased Global Crossing, Ltd.
securities from defendant Morgan Stanley Dean Witter & Co. on January 26, 2000,

(q) Plaintiff David Federico, a resident of California, purchased Navisite, Inc.
securities.

(r) Plaintiff Robert Grovich, a resident of California, purchased Corvis Corp.
securities.

(s) Plaintiff Joe Goldgrab, a resident of New York, purchased Gadzoox Networks,
Inc. securities.

(t) Plaintiff Bob Harper, a resident of Mississippi, purchased Rhythms
Netconnections, Inc. securities.

(u) Plaintiff David Hoffman, a resident of California, purchased F5 Networks Inc.
securities from defendant J.P Morgan Chase Securities (then Chase H&Q) on March 6, 7 and 10,
2000, and on April 14, 2000.

(v) Plaintiff Bruce J. Jiorle, a resident of New Jersey, purchased Internet Capital

Group, Inc. securities.

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(w) Plaintiff H. Wayne Jones is a resident of the State of Georgia. Mr. Jones

purchased at artificially inflated prices the common stock of Ariba, Inc. after the IPO for that
security.

(x) Plaintiff Susan Katz, a resident of New York, purchased Liberate Technologies,
Inc. securities.

(y) Plaintiff Glenn Kerr, a resident of Maryland, purchased Calico Commerce, Inc.
securities.

(z) Plaintiff Irving Lassoff, a resident of Pennsylvania, purchased Net2000
Communications, Inc. securities from defendant Morgan Stanley Dean Witter & Co. on
November 30, 2000.

(aa) Plaintiff Roderick Lau, a resident of the city of Calgary, Alberta, Canada,
purchased Netzero, Inc. securities.

(bb) Plaintiff Elizabeth Bates Lester, a resident of Michigan, and the Elizabeth Bates
Lester Trust purchased Internet Capital Group, Inc. securities from defendant Merrill Lynch,
Pierce, Fenner & Smith, Inc. on November 1, 1999.

(cc) Plaintiff James W. Lester, a resident of Michigan, and the James W. Lester Trust
purchased Internet Capital Group, Inc. securities from defendant Merrill Lynch, Pierce, Fenner &
Smith, Inc. on August 30, 1999, December 22, 1999, January 10, 20000, October 10, 2000, and

November 10, 2000.

(dd) Plaintiff Solomon Lissanu, a resident of Virginia, purchased Netzero, Inc.

securities.

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(ee) Plaintiff Raymond Litwin, a resident of Maryland, purchased Opus360 Corp.
securities.

(ff) Plaintiff Local 144 Nursing Home Pension Fund, located in New York, purchased
Aether Systems, Inc. from defendant Robertson Stephens, Inc. on March 21, 2000; Extreme
Networks Incorporated from defendant Robertson Stephens, Inc. on March 22, 2000 and October
13, 2000 and from defendant Morgan Stanley & Co., Incorporated on October 2, 2000; and
Liberate Technologies from a predecessor entity of J.P. Morgan Chase & Co. on March 6, 2000.

(gg) Plaintiffs Michele and Bill Lucia, residents of New York, purchased 50 shares of
Infonet Services Corp. common stock directly from defendant Merrill Lynch, Pierce, Fenner &
Smith, Inc. ("Merrill Lynch") as part of the Infonet IPO. In connection with this allocation;
defendant Merrill Lynch, the lead underwriter for that IPO, required that Mr. and Mrs. Lucia pay
anticompetitive charges, and Mr. and Mrs. Lucia did pay the anticompetitive charges, in the
forms of additional purchases of this security in the aftermarket, at inflated prices and at
excessive commissions. Mr. and Mrs. Lucia purchased twenty-five shares of Buy.com Inc.
common stock directly from defendant Merrill Lynch as part of the Buy.com Inc. IPO. In
connection with this allocation, defendant Merrill Lynch, the lead underwriter for that IPO,
required that Mr. and Mrs. Lucia pay anticompetitive charges, and Mr. and Mrs. Lucia did pay
the anticompetitive charges, in the forms of additional purchases of this security in the
aftermarket, at inflated prices and at excessive commissions.

(hh) Plaintiff Robert Malafronte, a resident of Illinois, purchased Commerce One, Inc.

and Lante Corp. securities.

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(ii) Plaintiff Binh Nguyen, a resident of Washington, purchased Internet Capital
Group, Inc. securities.

(jj) Plaintiff David Pazarella, a resident of New York, purchased Calico Commerce,
Inc. securities.

(kk) Plaintiff Demetrios Petratos, a resident of Louisiana, purchased Autoweb.com,
Inc. securities.

(il) Plaintiff Carlos Reeberg, a resident of Arizona, purchased VerticalNet, Inc.
securities.

(mm) Plaintiff Hans Reihl, a resident of Berg, Germany, purchased Digimarc Corp.
securities.

(nn) Plaintiff Norman Ross, a resident of Florida, purchased iBeam Broadcasting Corp.
securities from defendant Morgan Stanley Dean Witter & Co. on September 22, 2000 and on
December 1, 2000.

(oo) Plaintiff Rachel Schwartz, a resident of New York, purchased Multex.com Inc.
securities.

(pp) Plaintiff Mark Sculnick, a resident of New York, purchased InterTrust
Technologies Corp. securities.

(qq) Plaintiff Edward Seltzer, a resident of Nevada, purchased Net2Phone Inc.
securities.

(rr) Plaintiff Kenneth Shives, a resident of Pennsylvania, purchased Ariba, Inc.

securities.

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(ss) Plaintiff Farideh Sigari, a resident of California, purchased Selectica, Inc.
securities.

(tt) Plaintiff Efriam Simcha, a resident of New York, purchased Red Hat Inc., VA
Linux Systems, Inc., Microstrategy, Inc. and Priceline.com Inc. securities.

(uu) Plaintiff Henry Sklanowsky, a resident of California, purchased Priceline.com
securities.

(vv) Plaintiff Robert Tarantino, a resident of New York, purchased from defendant
Credit Suisse First Boston Vitria Technology, Inc. securities on September 22, 1999, October 13,
1999, January 21, 2000, April 11, 2000, July 10, 2000 and July 13, 2000.

(ww) Plaintiff Enrico Tavani, a resident of Antibes, France, purchased Optio Software,
Inc. securities.

(xx) Plaintiff Robert H. Thomas, a resident of Texas, purchased Internet Capital
Group, Inc. securities.

(yy) Plaintiff Anthony Voto, a resident of New York, purchased Marimba, Inc.
securities.

(zz) Plaintiff Heinz Wahl, a resident of Frankenthal, Germany, purchased Doubleclick,
Inc. securities.

(aaa) Plaintiff Philip Warner, a resident of Massachusetts, purchased Wireless
Facilities, Inc. securities.

(bbb) Plaintiff Matthew Weiner, a resident of New York, purchased Palm, Inc.

securities.

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(ccc) Plaintiff Michael Weiss, a resident of Michigan, purchased Merrill Lynch B2B
Internet HOLDRs Depository Receipts.

(ddd) Plaintiff Ross Wiczer is a resident of the State of Maryland. Mr. Wiczer
purchased at artificially inflated prices the common stock of Priceline.com, Inc. after the IPO for
that security.

(eee) Plaintiff Bert Zauderer, a resident of Pennsylvania, purchased Merrill Lynch B2B
Internet HOLDRs Depository Receipts.

(fff) Plaintiff Deming Zhous, a resident of Illinois, purchased Avici Systems, Inc.
securities.

IV. DEFENDANTS

14, Defendant BEAR, STEARNS & CO. INC., defined to include all predecessor
entities, is a corporation organized and existing under the laws of the State of Delaware, with its
principal place of business in New York, New York.

15. Defendant CREDIT SUISSE FIRST BOSTON CORPORATION ("CSFB"),
defined to include all predecessor entities, including, but not limited to, Donaldson Lufkin &
Jenrette Securities Corporation ("DLJ") and any related DLJ entities, is a corporation organized
and existing under the laws of the Commonwealth of Massachusetts, with its principal place of
business in New York, New York.

16. Defendant DEUTSCHE BANK ALEX. BROWN ("Alex Brown"), defined to
include all predecessor entities, is a corporation organized and existing under the laws of the

State of Delaware, with its principal place of business in New York, New York.

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17. Defendant GOLDMAN SACHS & CO. ("Goldman"), defined to include all
predecessor entities, is a corporation organized and existing under the laws of the State of
Delaware, with its principal place of business in New York, New York.

18. Defendant J. P;. MORGAN CHASE & CO., defined to include all predecessor
entities, including, but not limited to, Hambrecht & Quist LLC ("H&Q) and any related H&Q
entities, is a corporation organized and existing under the laws of the State of Delaware, with its
principal place of business in New York, New York.

19. Defendant LEHMAN BROTHERS, INC., defined to include all predecessor
entities, is a corporation organized and existing under the laws of the State of Delaware, with its
principal place of business in New York, New York.

20. Defendant MERRILL LYNCH, PIERCE, FENNER & SMITH, INC., defined
to include all predecessor entities, is a corporation organized and existing under the laws of the
State of Delaware, with its principal place of business in New York, New York.

21. Defendant MORGAN STANLEY & CO., INCORPORATED ("Morgan
Stanley"), defined to include all predecessor entities, including, but not limited to Morgan
Stanley Dean Witter & Co. and related entities, is a corporation organized and existing under the
laws of the State of Delaware, with its principal place of business in New York, New York.

22. Defendant ROBERTSON STEPHENS, INC. ("Robertson Stephens"), defined to
include all predecessor entities, is a corporation organized and existing under the laws of the
State of Delaware, with offices in New York, New York.

23. Defendant SALOMON SMITH BARNEY, INC., defined to include all
predecessor entities, is a corporation organized and existing under the laws of the

Commonwealth of Massachusetts, with its principal place of business in New York, New York.

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V. CO-CONSPIRATORS “

24. Various investment banks and market makers, not named as defendants in this
Complaint, participated in and knowingly and intentionally profited from the violations alleged
herein and performed acts and made statements in furtherance thereof.

VI. CLASS ALLEGATIONS

25. Plaintiffs bring this action on behalf of themselves and all persons who between
March 9, 1997 and December 6, 2000 (the "Class Period") purchased Class Securities on the
initial public offering and paid the anticompetitive charges and/or purchased Class Securities in
the aftermarket and were damaged thereby.?

26. Excluded from the Class are each defendant, any investment banks which
participated as syndicate members in any of the Class Securities, and all co-conspirators and each
of their respective officers and directors, members of their immediate families, their legal
representatives, heirs, successors or assigns and any entity in which any of the defendants or any
excluded person has a controlling interest. Also excluded are all issuers of Class Securities and
all officers, directors or affiliates of any issuers of the Class Securities.

27. Members of the Class are so numerous that joinder of all members is
impracticable. While the precise number of members of the Class is unknown at this time, it is
believed to number at least in the tens of thousands of members. Hundreds of millions of shares

of Class Securities were sold by defendants to members of the Class during the Class Period.

Plaintiffs reserve the right to amend, supplement or alter the definition of the Class in plaintiffs'
class motion pursuant to Rule 23 of the Federal Rules of Civil Procedure.

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28. _ Plaintiffs will fairly and adequately protect the interests of the members of the
Class and have no interests which are contrary to or are in conflict with those of the Class that ~
they seek to represent. Plaintiffs have retained competent counsel experienced in class action
litigation of this type to protect the Class and prosecute this action vigorously.

29. _ Plaintiffs’ claims are typical of the claims of the other members of the Class since
all of their damages arise from and were caused by the same unlawful conduct engaged in by
Defendants.

30. A class action is superior to other available methods, if any, for the fair and
efficient adjudication of this controversy because, among other reasons, joinder of all members
of the Class is impracticable. Furthermore, the expense and burden of individual litigation make
it impracticable for the members of the Class individually to redress the wrongs done to them.
Plaintiffs know of no difficulty that will be encountered in the management of this litigation that
would preclude its maintenance as a class action.

31. Common questions of law and fact exist as to all members of the Class and
predominate over any questions affecting solely individual Class members. Such questions
include:

(a) whether defendants entered into the combination, conspiracy and agreement
complained of herein;

(b) whether the alleged combination, conspiracy and agreement violated federal and
state antitrust laws;

(c) whether the combination, conspiracy and agreement caused injury to the business

or property of plaintiffs and the other members of the Class;

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(d) the appropriate measure of damages: and

(e) whether plaintiffs and the other members of the Class are entitled to declaratory
relief.

32. Because defendants have acted on grounds generally applicable to the entire
Class, damages and declaratory relief are appropriate with respect to the Class as a whole.

Vil. INTERSTATE TRADE AND COMMERCE, AND BACKGROUND

33. Each defendant has thousands of brokerage account customers who entrust it with
various monies, properties and orders to buy securities. The customers, including plaintiffs and
Class members, for whose business the defendants purportedly compete, are located throughout
the United States and elsewhere. The orders and the transactions of plaintiffs and Class members
in Class Securities were entered and made in interstate commerce. Defendants sold across state
lines to Class Members many billions of dollars worth of Class Securities.

34. The orders and transactions of plaintiffs and Class Members include orders to buy
shares in the initial public offering of or aftermarket for Class Securities.

35, IPOs are commonly conducted through investment banks as underwriters,
including defendants.

36.  Inan IPO, underwriting investment banks typically purchase from an issuer its
initial public offering of stock at a price agreed upon with the issuer. The underwriters also agree
with the issuer: (a) to charge an agreed-upon underwriters’ discount representing the
underwriters’ disclosed compensation, and (b) to offer the entire issue of stock to the public at
the sum of (1) the agreed-upon purchase price paid to the issuer, plus (2) the agreed-upon

underwriters’ discount and commission. This sum is the "IPO price."

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37. Underwriter syndicates of investment banks developed from the need of bankers
to pool capital resources in order to underwrite securities. This development was further
necessitated by the passage of the Glass-Steagall Act. The conditions that justified combining
into syndicates in order to underwrite IPO shares, however, no longer applied or became less
pertinent by the mid-1990s due to changes in the net capital rules, dramatic increases in the
capital of U.S. investment banks, and the relaxation (and eventual repeal) of Glass-Steagall.

38. Nonetheless, defendants still regularly combined with one another during the
Class Period into underwriting syndicates. One or more of the defendants served as the lead or a
lead underwriter of the underwriting syndicates for approximately 73% of the total dollar amount
of all equity underwritings and 71% of the total dollar amount of technology-related IPOs during
1997. By virtue of their unlawful agreement alleged herein, defendants’ comparable market
share had grown to approximately 87% and 90%, respectively, by 1999-2000.

39. Defendants further concentrated their market power within the underwriting
syndicates during the Class Period: all defendants reduced competition among themselves by
agreeing that whichever of them was lead underwriter in a particular syndicate could itself
distribute all the shares of each Class Security (if deemed beneficial to maximize the aftermarket
prices of the Class Securities and the anticompetitive charges or for other advantages). Any
member of the syndicate who did not sell the number of shares allocated to it as stated in the
prospectus, or, indeed, any shares, nevertheless shared in the underwriters’ discount. These
procedures would be applicable reciprocally in each syndicate for which one of the defendants

was a lead underwriter. Defendants further abused their combination in syndicates by jointly

concealing the centralizing agreement from customers.

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40. Defendants worked individually and in concert among themselves and with co-

conspirator market-makers to inject demand into the market for Class Securities and to inflate ©
aftermarket prices. Through the foregoing steps, their unlawful agreement and other conduct,
defendants increased their power in and dominated the relevant market. See § 78 infra.

41. Beginning prior to March 9, 1997, and throughout the Class Period, defendants
combined, conspired and agreed to require from customers the anticompetitive charges and to
inflate the aftermarket prices for the Class Securities.

42. The anticompetitive charges caused the actual consideration paid to defendants for
Class Securities to be greater than the IPO price and, correspondingly, inflated defendants’
revenues. The defendants agreed that such anticompetitive charges could take several forms.
These included non-competitively determined commissions on the purchase and sale of other
securities, purchases of an issuer's shares in follow-up or "secondary" public offerings (for which
the underwriters would earn underwriting discounts), commitments to purchase other, less
attractive securities, or the laddered purchases described herein. Pursuant to defendants’
agreement, the amount of the required consideration was frequently based upon a percentage of
the profits obtained by the customer in connection with the purchase of IPO shares. Also, as
defendants’ combination and conspiracy evolved and became more effective, defendants'
demands on their customers increased.

43. Defendants’ combination, conspiracy and agreement unreasonably restrained

interstate trade and commerce by inflating defendants’ charges and revenues and the aftermarket

prices for Class Securities in billions of dollars worth of interstate transactions.

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VIN. THE MAKING AND IMPLEMENTATION OF
DEFENDANTS’ UNLAWFUL AGREEMENT

44. Defendants had the opportunity to make and manage their unlawful agreement
and monitor their compliance with the agreement through, among others, the steps and means
alleged in the succeeding paragraphs.

45. During and prior to the Class Period, defendants continuously communicated and
worked together as co-underwriters and members of underwriting syndicates, as market makers,
and in the other capacities alleged below.

46. Also, defendants collaborated with one another in trade organizations such as the
Securities Industry Association ("SIA"), including as members of SIA’s Syndicate Committee.
The SIA advanced defendants’ individual and collective interests in increasing their revenues,
reducing their costs, and inflating what the public pays to financial intermediaries.

47. Further, defendants frequently communicated with one another as members of the
National Association of Securities Dealers, Inc. ("NASD") where they jointly participated in the
trading of securities on the NASD's automated quotation system, commonly known as
NASDAQ, and are and were members of various national and regional exchanges, including the
New York Stock Exchange ("NYSE") and the American Stock Exchange ("AMEX"). Various
defendants also combined to create various joint ventures in the securities market, including
Stock Edge LLC, a stock trading vehicle for virtually all defendants, and Bond Book LLC, a

bond trading system for virtually all defendants.

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48. In addition to the foregoing, defendants had numerous other regular meetings,
including meetings among their top investment bankers, legal officers and marketing managers’
prior to and during the Class Period.

49. Defendants implemented their unlawful combination, conspiracy and agreement
through and in connection with their agreements to combine together into underwriting
syndicates for Class Securities.

50. Defendants conducted their underwritings together in varying combinations and
worked with other defendants at multiple times during the Class Period. For example, in
underwritings of Class Securities in which Goldman was the lead underwriter, CSFB was a co-
underwriter more than 35 times, Morgan Stanley was a co-underwriter more than 23 times, and
Robertson Stephens was a co-underwriter more than 25 times. Similarly, in underwritings of
Class Securities in which CSFB was lead underwriter, Robertson Stephens was a co-underwriter
more than 38 times.

51. Defendants had, through the foregoing means and others, frequent
communications among themselves and with other defendants about IPOs, Class Securities, their
division of revenues, the aftermarket prices of Class Securities, the anticompetitive charges and
tie-purchases alleged herein and related matters.

52. During the foregoing communications and underwritings, defendants were all
aware that the amount of the anticompetitive charges and future underwriting business

Opportunities depended upon whether, and the extent to which, the price of the newly offered

common stock increased during aftermarket trading. The more that prices increased in

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aftermarket trading, the more that defendants’ customers were attracted to IPOs and the more
revenues that defendants, individually and collectively, could make from IPOs.

53. Inorder to implement their anticompetitive and unlawful agreement alleged
herein, various defendants jointly took the steps, had the further communications, and made the
further agreements alleged in the succeeding paragraphs.

54. Defendants, jointly and individually, hosted "road shows" during which customers
were introduced to the issuer and its managers and during which the offering was described.
Defendants also conducted telephone calls, meetings and other regular communications prior to
the IPOs of Class Securities. During, or as part of these communications, including
communications separate and apart from the "road shows," defendants, at times jointly, made
inquiries of customers or others interested in purchasing Class Securities concerning the number
of shares that such person would be willing to purchase in the aftermarket and the prices such
person would be willing to pay for such shares.

55. Representatives of different defendants discussed and communicated with each
other about the requirement of tie-in purchases, the amount of increase in Class Securities prices
after IPOs and related matters.

56. As part of defendants’ agreement, various defendants disclosed to each other ona
reciprocal basis the identities of the customers to whom they allocated, or intended to allocate,
Class Securities. In order to monitor whether the customers complied with the preconditions to
receiving allocations, these communications among defendants included discussions of
customers’ trades, as well as cooperation in supplying various data to one another and third

parties.

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57. In furtherance of their conspiracy, defendants jointly informed customers of the
terms of the tie-in purchases that they required for participation in the IPOs.

58. Various defendants jointly used as a criterion in determining the levels of
Participation by non-defendant underwriters in a given syndicate whether and, if so, the extent to
which, those underwriters adhered to the anticompetitive requirements described herein. With
respect to defendants and non-defendant co-conspirators, the agreement was to reward those
underwriters from deal to deal for their adherence to the agreement on a reciprocal basis
regardless of the identity of the lead underwriter.

59. Various officers, partners and employees of defendants moved to similar positions
with other defendants. In their new positions, such persons continued to engage in the same
unlawful conduct described herein on behalf of their new employers and the conspiracy and
combination alleged herein.

60. In connection with the offering of the Class Securities, defendants pre-committed
their research analysts to issue positive reports shortly following the offering (known among
defendants as "booster shots") and systematically to take other steps to help sell and promote the
Class Securities in the IPO and the aftermarket. At times, defendants would take Other actions
designed to maintain a level of credibility.

61. Throughout the Class Period, defendants and their co-conspirators all undertook
other overt acts which furthered the conspiracy's objectives by inflating the prices of Class
Securities in the aftermarket.

62. Defendants were required to and did have compliance procedures, practices and

reports which promptly informed defendants of the amount of commissions, charges, and other

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payments that their customers were making and the customers’ commissions-to-equity ratios and
turnover ratios, and whether the customers were paying any anticompetitive charges. Defendants
were all aware of the effects of their unlawful agreement upon their customers, and each
defendant monitored their customers’ trades and accounts from one IPO to the next to ensure that
customers were paying the corresponding anticompetitive charges. Defendants provided
information to and received information from paid subscription services, among others, relating
to commissions paid to defendants by various customers.

63. As aresult of the foregoing, and other communications, all defendants were aware
that each of them was complying with their unlawful agreement. Indeed, CSFB, for example,
has repeatedly and conspicuously stated that its practices in connection with IPOs during the
relevant time period were consistent with the practices employed by the other underwriters.

64. In the foregoing circumstances, it was in the individual and collective revenue
maximizing interests of all defendants to agree on and impose the additional anticompetitive
charges and the requirement of tie-in or laddered purchases.

IX. VIOLATIONS ALLEGED

65. During the Class Period, defendants combined, conspired and agreed to require
from customers the anticompetitive charges and to inflate the aftermarket prices for Class
Securities.

66. Defendants shared a common motive to require their anticompetitive charges.and
inflate aftermarket prices of Class Securities; only by acting together and through joint action and
agreement among themselves and their co-conspirators were Defendants able to require and

obtain the anticompetitive charges and inflate the prices of the Class Securities after the IPOs.

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Such charges and inflated prices greatly increased defendants’ individual and collective
revenues.

67. The Defendants’ combination, conspiracy and agreement was not disclosed to,
approved by, or regulated by the NASD or the SEC.

68. Application of antitrust laws to the unlawful combination, conspiracy and
agreement alleged herein would not subject defendants to standards of conduct that would
conflict with anything in the federal securities laws or the rules or regulations of the SEC or
NASD.

69. This Complaint does not challenge any statute, rule, regulation or interpretation
by the SEC or any self regulatory organization, including any statute, rule, regulation or
interpretation relating to price stabilization efforts (i.¢., efforts in the aftermarket to retard the
decline of the prices at levels below the IPO price).

X. EFFECT OF THE CONSPIRACY

70. The aforesaid combination, conspiracy and agreement had the effect, among other
things, of imposing on plaintiffs and Class members an additional anticompetitive charge in
order to purchase Class Securities in the initial offering.

71. The aforesaid combination, conspiracy and agreement had the additional effect,
among other things, of artificially inflating the aftermarket prices and the consideration paid by
plaintiffs and Class members for the Class Securities to levels above that which would have
existed in a competitive market. With regard to IPOs during the Class Period of technology-

related companies in the amount of $20,000,000 or more, those IPOs in which a defendant served

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as the lead underwriter had a first day percentage increase in price that, on average, was
approximately twice as high as that of IPOs for which no defendant was the lead underwriter. -

72. The aforesaid combination, conspiracy and agreement had the effect of increasing
defendants’ revenues.

73. The aforesaid combination, conspiracy and agreement also had the effect of
injecting substantial, accumulating demand for Class Securities into the market. This injected
demand and the increasing prices of the Class Securities, in turn, attracted additional customer
interest in, and demand for, the Class Securities. The totality of defendants’ conduct, as
described herein, was specifically intended to and did have the cumulative and reinforcing effect
of inflating aftermarket prices of Class Securities, drawing in more participants and inducing
them to buy or pay higher prices for Class Securities.

74. Asa result of their unlawful agreement and increases in the prices of Class
Securities following the offerings, defendants were able to attract dramatically more IPO
business. Defendants’ agreement caused more shares to be traded and attracted more trading
interest for defendants’ market making operations on the first trading day and thereafter. Until
1998, the average volume of trades on the first day of trading was roughly one-third the number
of shares publicly offered. Average volume dramatically increased during 1998-2000.
Accordingly, defendants were able to charge and make, in the aggregate, billions of dollars in
additional revenues from (a) the collection of additional underwriting charges, commissions and
fees, as well as the anticompetitive charges obtained in initial public offerings, (b) increased

customer trading business resulting from inflated trading volumes, and (c) other sources.

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XI. RELEVANT MARKET

75. Each defendant possessed a series of attributes that, collectively, permitted it to be

a leading underwriter of equity IPOs. These attributes included financial and reputational capital;
substantial sales and customer base; established trustworthiness and relationships; and sufficient
due diligence, analytical, market making, and other specialized staff, experience and expertise.
Firms that did not possess this series of attributes were not effective competitors, were not
effective production substitutes and could not overcome the barriers to entry to be a leading
underwriter of equity IPOs.

76. Enhancing each defendant's foregoing series of attributes, each defendant also

possessed, or developed during the Class Period, a second series of attributes that, collectively
and in combination with its first series of attributes alleged above, permitted it to be a leading
underwriter of IPOs of technology-related companies in the relevant market.? These attributes
included specialized analytical and due diligence expertise in technology-related companies;
sufficient staff conversant with technology companies, experience with technology-related
companies; other attributes that enabled each defendant to create or adeptly employ the
vocabulary, systems and valuation (or supposed valuation) methodologies that could rank,
compare, and lend legitimacy to the technology-related companies; and the commitment of

reputational and financial capital to build and create a market for initially selling to the public

> A "technology-related" company includes all Class Securities and the securities of any other
company that qualified for or was assigned by Thomson Financial Securities Data the following
U.S. Department of Commerce Standard industrial Classification Codes: 3571, 3572, 3575,
3577, 3578, 3661, 3663, 3669, 3674, 3812, 3823, 3825, 3826, 3827, 3829, 3841, 3845, 4812,
4813, 4899, 7370, 7371, 7372, 7373, 7374, 7375, 7378 or 7379; or was classified by Thomson
Financial Securities Data as "High Tech."

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and then trading in the IPO stocks of the technology-related companies. Firms that did not
possess this combination of attributes were not effective competitors, were not effective
production substitutes and could not overcome the barriers to entry to be underwriters of IPOs of
technology-related companies.

77. As.is recognized by investors and market participants, (a) tech-related companies
are a distinct market, and (b) there is a line of demarcation in underwriting between issues of IPO
securities that raise less than $20,000,000 and those that raise $20,000,000 or more. Defendants
did not find it cost-effective to serve and generally did not serve as lead underwriters for
technology-related or other companies that issued IPO securities raising less than $20,000,000.
The market for initially selling to the public and subsequently trading in IPO securities of
technology-related companies which raised less than $20,000,000 is a distinct market.

78. The relevant market is the market for initially selling to the public and thereafter
trading securities of issuers in technology-related companies in initial public offerings of stock
listed on U.S. exchanges or over-the-counter markets in a total dollar issue of $20 million or
more. In the alternative, the relevant market is the market for initially selling to the public and
thereafter trading securities for all equity issuers in initial public offerings of stock listed on U.S.
exchanges or over-the-counter markets raising $20 million or more.

XII. INJURY TO PLAINTIFFS AND CLASS MEMBERS

79. Plaintiffs and Class members were injured in their business or property by
defendants’ violations of the antitrust laws in that plaintiffs and Class members paid the

anticompetitive charges and/or the inflated aftermarket prices caused by defendants’ unlawful

combination, conspiracy and agreement.

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FIRST CLAIM FOR RELIEF FOR VIOLATION OF
SECTION 1 OF THE SHERMAN ACT
AGAINST DEFENDANTS

80. Plaintiffs incorporate by reference the allegations of paragraphs | through 79, as if
fully set forth herein.

81. Defendants entered into a combination, conspiracy and agreement in unreasonable
restraint of trade in violation of Section 1 of the Sherman Act.

82. The purpose and effect of defendants’ unlawful combination, conspiracy and
agreement was to require plaintiffs and other members of the Class to pay anticompetitive
charges to defendants and inflated prices for Class Securities in the aftermarket.

83. By reason of the foregoing, plaintiffs and the other members of the Class have
been damaged in their business and property.

SECOND CLAIM FOR RELIEF FOR

VIOLATION OF NEW YORK GENERAL
BUSINESS LAW § 340 AGAINST DEFENDANTS

84. Plaintiffs incorporate by reference the allegations of paragraphs 1 through 79
above as if fully set forth herein.

85. Defendants’ unlawful conduct constitutes a violation of N.Y. General Business
Law § 340. Through such conduct, which defendants engaged in in New York, defendants
restrained competition and the free exercise of activities in the conduct of business, trade and
commerce and in the furnishing of services in New York.

86. Defendants’ restraints of business, trade and commerce have substantially affected

business, trade and commerce in the State of New York.

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87. By reason of the foregoing, plaintiffs and the other members of the Class have
been damaged.

THIRD CLAIM FOR RELIEF FOR VIOLATION
OF ANTITRUST LAWS OF OTHER STATES

88. Plaintiffs incorporate by reference the allegations of paragraphs 1 through 79
above as if fully set forth herein.

89.  Byreason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Arizona Revised Stat. §§ 44-1401, ef seg. with respect to purchases of
Class Securities in Arizona.

90. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Cal. Bus. & Prof. Code § 17200, ef seg. with respect to purchases of Class
Securities in California.

91. By reason of the foregoing, Defendants have entered into agreements in restraint
of trade in violation of D.C. Code Ann. §§ 28-4503, ef seg. with respect to purchases of Class
Securities in the District of Columbia.

92. By reason of the foregoing, Defendants have entered into agreements in restraint
of trade in violation of Fla. Stat. §§ 501.201, ef seg. with respect to purchases of Class Securities
in Florida.

93.  Byreason of the foregoing, Defendants have entered into agreements in restraint
of trade in violation of Kan. Stat. Ann. §§ 50-101, et seq. with respect to purchases of Class

Securities in Kansas.

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94. __ By reason of the foregoing, Defendants have entered into agreements in restraint
of trade in violation of La. Rev. Stat. §§ 51: 137, ef seq. with respect to purchases of Class
Securities in Louisiana.

95. By reason of the foregoing, Defendants have entered into agreements in restraint
of trade in violation of Me. Rev. Stat. Ann. 10, § 1101, ef seg. with respect to purchases of Class
Securities in Maine.

96. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Mass. Ann. Laws ch. 93A, ef seq. with respect to purchases of Class
Securities in Massachusetts.

97. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Mich. Comp. Laws Ann. §§ 445.773, ef seq. with respect to purchases of
Class Securities in Michigan.

98. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Minn. Stat. §§ 325D.52, ef seg. with respect to purchases of Class
Securities in Minnesota.

99. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Miss. Code. Ann. §§ 75-21-1, ef seg. with respect to purchases of Class
Securities in Mississippi.

100. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Nev. Rev. Stat. Ann § 598A, ef seq. with respect to purchases of Class

Securities in Nevada.

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101. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of New Jersey Antitrust Act, N.J. Stat. Ann §§56:9-1, ef seg. with respect to
purchases of Class Securities in New Jersey.

102. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of N.M. Stat. Ann. §§ 57-1-1, ef seq. with respect to purchases of Class
Securities in New Mexico.

103. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of N.C. Gen. Stat. §§ 75-1, ef seq. with respect to purchases of Class
Securities in North Carolina.

104. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of N.D. Cent. Code § 51-08. 1-01, ef seq. with respect to purchases of Class
Securities in North Dakota.

105. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of S.D. Codified Laws Ann. § 37-1, ef seq. with respect to purchases of
Class Securities in South Dakota.

106. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Tenn. Code Ann. §§ 47-25-101, et seq. with respect to purchases of Class
Securities in Tennessee.

107. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Vt. Stat. Ann. 9, § 2453, et seq. with respect to purchases of Class

Securities in Vermont.

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108. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of W. Va. Code §§ 47-181, ef seq. with respect to purchases of Class
Securities in West Virginia.

109. By reason of the foregoing, defendants have entered into agreements in restraint
of trade in violation of Wis. Stat. § 133.01, ef seg. with respect to purchases of Class Securities in
Wisconsin.

110. Plaintiffs and members of the Class have been damaged by reason of the

foregoing.

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PRAYER FOR RELIEF

WHEREFORE, plaintiffs pray:

a. That this action be maintained as a class action under Rule 23(b)(2) and
(3) of the Federal Rules of Civil Procedure;

b. ‘That the unlawful combination, conspiracy and agreement alleged herein
be adjudged, decreed and declared to be in unreasonable restraint of trade or commerce in
violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and a violation of the antitrust laws of
the states identified herein;

C. That plaintiffs and the Class recover damages, as provided by law, and that
judgment be entered in favor of plaintiffs and the Class and against defendants in an amount to
be trebled as provided by law;

d. That plaintiffs and the Class recover their costs of this suit, including
reasonable attorneys' fees and expenses as provided by law; and

€. That plaintiffs and the Class be granted such other or further relief as may
appear just and proper to this Court.

Dated: New York, New York
January 2, 2002

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Other Plaintiffs' Counsel

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Exhibit A

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KEY TO EXHIBIT A

The following abbreviations are used in Exhibit A:

Bear Stearns & Co., Inc. = BS

Credit Suisse First Boston Corporation = CSFB

Deutsche Bank Alex. Brown = ALEX BROWN

Goldman Sachs & Co. = GS

J. P. Morgan Chase & Co. = JPM CHASE

Lehman Brothers, Inc. = LEH

Merrill Lynch Pierce Fenner & Smith Incorporated = MERRILL
Morgan Stanley & Co., Incorporated = MSDW

Robertson Stephens, Inc. = ROBERTSON

Salomon Smith Barney, Inc. = SALOMON

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EXHIBIT A

ISSUER

Storage Dimensions, Inc.
Macrovision Corp

ProMedCo Management Co
NeoMagic Corp

Logitech International SA
BEA Systems Inc
AccelGraphics Inc

On Sale inc.

Rambus Inc

Amazon.com Inc

General Cable Corp

LHS Group Inc

RF Micro Devices Inc

Melita International Corp
Cardima, Inc.

PSW Technologies Inc
Iridium World Communications
Peapod Inc

Star Telecommunications Inc
Genesys Telecommun Labs
Aris Corp

StarTek Inc

Aurora Biosciences Corp
Great Plains Software Inc
MAS Technology Ltd

Metrika Systems Corp

Qwest Communications Corp
Waterlink inc

3Dfx Interactive Inc

Pierce Leahy Corp

Schick Technologies inc

TSI International Software Ltd
8x8 Inc

Vista Medical Technologies Inc
Axiom Inc

Telegroup Inc

At Home Corp
SulzerMedica(Sulzer AG)
Monarch Dental Corp

lonica Group Plc

Galileo International inc

DEFENDANT
UNDERWRITER

SALOMON
JPM CHASE
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Bioreliance Corp

Corsair Communications Inc
information Management Assocs
EDAP SA

Ocular Sciences Inc

Pegasus Systems Inc

QAD Inc

Hyseq Inc

Innova Corp

Omtool Ltd

Syntel Inc

Television Azteca SA de CV
Positron Fiber Systems Corp
Kendle International Inc
Castle Dental Centers Inc
MegaBios Corp

Box Hill Systems Corp
ProBusiness Services Inc

JD Edwards & Co

Pervasive Software Inc
Network Solutions Inc
NextLink Communications Inc
Bell Canada International inc
Best Software Inc

Omega Research Inc
Power-One Inc

RSL Communications Ltd
Corixa Corp

OSI Systems Inc

SPR Inc

SCM Microsystems Inc
Microcell Telecommunications
Taiwan Semiconductor Mnfr Co
intelligent Polymers Ltd
Concord Communications Inc
China Telecom Hong Kong Ltd
AmeriPath Inc

Int! Manufacturing Svcs Inc
ITC Deltacom Inc

MMC Networks Inc
Metromedia Fiber Network Inc
Faroudja Inc

Excel Switching Corp

Somnus Medical Technologies
Magyar Tavkozlesi(MagyarCom)
SportsLine USA Inc

Hypercom Corp

Telstra Corp Ltd(Australia)

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Software AG Systems inc
Preview, Travel inc

American Physician Partners
PRT Group Inc

Gene Logic Inc

RealNetworks Inc

Teligent Inc

Electric Lightwave Inc

Applied Micro Circuits Corp
Nanophase Technologies Corp
Gilat Communications Ltd
USWeb Corp

ICOS Vision Systems Corp
Focal Inc

Flexilnternational Software
Power Integrations Inc

Spiros Development Corp I
Information Advantage Software
integrated Electrical Services
Steven Myers & Associates Inc
VeriSign Inc

Artisan Components Inc

USN Communications

BMJ Medical Management Inc
Global Telesystems Group, Inc.
Vysis Inc(BP Amoco PLC)
Visual Networks

CDNow Inc

Province Healthcare Co

Icon CMT Corp

Micromuse, Inc

DoubleClick inc

Nutraceutical International
Ladish Co Inc

Reltec Corp

DSET Corp

Fundtech Ltd

CuraGen Corp

Exodus Communications Inc
ISS Group Inc

ONIX Systems inc

Shire Pharmaceuticals Group
Transgene

Schein Pharmaceutical tnc
Nanogen Inc

Horizon Medical Products Inc
Broadcom Corp

Manhattan Associates Inc

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US LEC Corp

Mobius Management Systems Inc
Aspec Technology Inc

Provant Inc

First Virtual Corp

Brio Technology

Amkor Technology Inc

Tristar Aerospace Co
Hyperion Telecommunications
Caliber Learning Network inc
MGC Communications, Inc.
Evolving Systems Inc

Verio Inc

Icon PLC

L-3 Communications Holdings
Carreker-Antinori Inc

CONM21 Inc

Atlantic Data Services Inc
AnswerThink Consulting Group
Uitimate Software Group Inc
Inktomi Corp

Aztec Technology Partners Inc
MicroStrategy Inc

Paradigm Geophysical Ltd
NetGravity Inc

Asymetrix Learning Systems Inc
software.net Corp

Unigraphics Solutions Inc
Amdocs Ltd.

Cognizant Technology Sotutions
interplay Entertainment
International Integration Inc
SCC Communications Corp
King Pharmaceuticals Inc
Cumulus Media Inc

Celestica Inc

MIPS Technologies !nc
Allegiance Telecom Inc
Citadel Communications Corp
Broadcast.Com Inc

Actuate Software Corp
SkyePharma PLC

Equant NV

Bindview Development
Echelon Corp

Carrier Access Corp

Maxtor Corp

Northeast Optic Network Inc

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Cyberian Outpost

Eclipsys, Corp

Pilot Network Services
GeoCities

Convergys(Cincinnati Bell)
Global Crossing

24/7 Media Inc

Entrust Technologies Inc

Crown Castle Intemational
Digital River, inc.

Terayon Communication Systems
eBay Inc

Swisscom AG

iXOS Software AG

NTT Mobile Commun Network Inc
EarthWeb Inc

theglobe.com Inc

E-Tek Dynamics Inc
Ticketmaster Online-CitySearch
uBID Inc

Exchange Applications tnc
Xoom.com Inc

InfoSpace.com Inc

Concur Technologies Inc
MarketWatch.com Inc

Covad Communications Group Inc
NVidia Corporation

Allaire Corp

Tut Systems Inc

Smith-Gardner & Associates Inc
MedE America Inc

Perot Systems Corp

Albany Molecular Research Inc
Pacific Internet Ltd.

Modem Media. Poppe Tyson Inc
Vialog Corp
Healtheon Corp

Prodigy Communications Corp
VerticalNet Inc

Catapult Communications

United Pan Europe Communications, N.V.

Onyx Software Corp
SERENA Software Inc
Bookham Technology
Bottomline Technologies Inc
Vignette Corp

Pinnacle Holdings Inc
Intraware Inc

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pcOrder.com

Invitrogen Corp

Neon Systems Inc
RoweCom, Inc.
FlashNet Communications Inc
Multex.com inc

iVillage Inc
Autoweb.com Inc
MiningCo.com Inc
OneMain.com Inc

Valley Media
Autobytel.com Inc
Critical Path Inc

MKS Instruments Inc
Priceline.com Inc

ZDNet (Ziff-Davis inc)
PLX Technology Inc
Rhythms NetConnections
Extreme Networks Inc
USInternetworking Inc
Value America Inc

iTurf Inc

MIH Ltd

Sagent Technology Inc
Launch Media Inc

Net Perceptions Inc
Razorfish Inc
informatica Corp
Marimba Inc

Mpath Interactive Inc
AppliedTheory Corp
FlyCast Communications
MapQuest.com Inc
Destia Communications Inc

NorthPoint Communications Grp

Portal Software Inc

Radio One Inc

Silknet Software Inc

Latitude Communications Inc
AdForce Inc

Media Metrix Inc

NetObjects Inc

Maker Communications Inc
TheStreet.com
CareerBuilder Inc

Time Warner Telecom Inc
Copper Mountain Networks Inc
Scient Corp.

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Alloy Ontine Inc
Nextcard Inc

Redback Networks Inc
Nextera Enterprises Inc
eToys Inc

@plan.inc

CAIS Intemet Inc
TenFold Corp

Brocade Comm Sys Inc
barnesandnoble.com Inc
Juno Online Services Inc
Korea Telecom Corp
DLJ Direct

StarMedia Network Inc
Edgar Online Inc

Inet Technologies Inc
Private Business Inc
SalesLogix Corp

iXL Enterprises Inc

F5 Networks Inc

High Speed Access Corp

Network Access Solutions Corp
Online Resources & Commun

Wit Capital Group Inc
Back Web Technologies
drkoop.com Inc

Ditech Communications Corp

Phone.com Inc
Openwave Systems

Carelnsite Inc(Medical Mgr)

ESPS Inc

SBA Communications Corp

AppNet Systems Inc
Mail.com Inc

United Therapeutics Corp
Viant Corp

Student Advantage
Goto.Com Inc

Ariba Inc

Ramp Networks Inc
CyberSource Corp
GlobeSpan Inc
Software.com inc

TD Waterhouse Group Inc
Internet.com Corp
Juniper Networks
Persistence Software Inc
Stamps.com Inc

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US Search Corp.com

E-Loan Inc

Digital Island Inc

Network Plus Corp

nFront Inc

ShowCase Corp

Ask Jeeves inc

Clarent Corp

Commerce One inc

Primus Knowledge Solutions Inc
Salem Communications Corp
Interliant Inc

Liquid Audio Inc

China.com Corp

TIBCO Software Inc

Efficient Networks Inc
Audible Inc

National Info Consortium Inc
Ravisent Technologies Inc
Paradyne Networks Inc
Convergent Communications Inc
Gadzoox Networks Inc

Talk City Inc

Art Technology Group Inc
Engage Technologies Inc
Genentech Inc

Insight Commuaications Co Inc
MP3.COM Inc

Hoover's Inc

Scientific Learning Corp
Voyager.Net Inc

insweb Corp

Tanning Technology Corp
Allscripts inc

JFAX.com Inc

VersaTel Telecom international N.V.

Chemdex Corp
Ventro Corporation
Drugstore.com Inc
Quokka Sports Inc.
Liberate Technologies
Focal Communications Corp
Packeteer Inc

Digex Inc

NetlQ Corp

Accrue Software Inc
Biopure Corp
Net2Phone Inc

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1-800-Flowers.com Inc
SplitRock Services inc
Fairchild Semiconductor Int!
Quotesmith.com Inc
Internet Initiative Japan, Inc.
Homestore.com Inc

intemet Capital Group Inc
Mission Critical Software Inc
Pivotal Corp

Cobalt Group Inc

Interactive Pictures Corp

Tumbleweed Communications Corp

Internet Gold-Golden Lines Ltd
US Interactive Inc

Braun Consulting Inc
HotJobs.com Ltd
Mortgage.com Inc

Red Hat Inc

Active Software inc

IXnet Inc(IPC Information)
NetScout Systems Inc
Quest Software Inc
SilverStream Software Inc
Netro Corp

Wink Communications Inc
Agile Software Corp
Headhunter.net Inc
LookSmart Ltd
MyPoints.com inc
Garden.com Inc

Luminant Worldwide Corp
Vitria Technology Inc
E.piphany Inc

Kana Communications Inc
Broadbase Software Inc
interactive Intelligence Inc
Yesmail.com Inc

Alteon Websystems Inc
Ashford.Com Inc

eGain Communications Corp
Netzero Inc
Webstakes.com Inc
Bluestone Software Inc
Interspeed Inc

Keynote Systems Inc
AirGate PCS Inc

Foundry Networks Inc
FreeShop.com Inc

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ITXC Corp

Medscape Inc

FTD.COM INC

InterNAP Network Services Corp
NetSolve Inc

TiVo Inc

Radware Ltd

Digital Insight Corp

Daleen Technologies Inc
Golden Telecom, Inc.

Vixel Corp

Williams Communications Group
XM Satellite Radio Hidg Inc
Breakaway Solutions Inc
Silicon Image Inc

Calico Commerce Inc
PlanetRx.com Inc

DSL.net, Inc.

SmartDisk Corp
Homeservices Com Inc
Illuminet Holdings Inc
Interwoven Inc

TriZetto Group Inc
E-Stamp Corp

Jupiter Communications inc
Netcentives inc

iGo Corp

QuickLogic Corp
ReSourcePhoenix com
Women.com Networks
BSquare Corp

Satyan Infoway Ltd.

Radio Unica Communications Corp.

ZapMe! Corp

Aether Systems Inc
Sycamore Networks Inc

MCK Communications Inc
Navisite Inc

InterTrust Technologies Corp
Viador Inc.

JNI Corp

ECtel Ltd(EC! Telecom Ltd)
Data Return Corp

Spanish Broadcasting System
Predictive Systems Inc

Triton PCS Holdings Inc
Akamai Technologies Inc
Allied Riser Communications Co

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Chartered Semiconductor Manufacturing, Ltd SALOMON

Radware Ltd.

Thomson Multimedia(Thomson)
Be Free Inc

Pac-West Telecomm Inc
Tickets.com

Cobalt Networks Inc
WebVan Group Inc

Wireless Facilities Inc
Charter Communications Inc
Data Critical Corp

Expedia Inc

Next Level Communications
ASD Systems Inc

ibasis Inc

SonicWALL Inc

Finisar Corp

Sage Inc

CVC Inc

Immersion Corp

Rudolph Technologies Inc
Somera Communications tnc
Quintus Corp

Virata Corp

Agilent Technologies Inc
Terra Networks, S.A.

Alaska Communications Systems
iManage Inc

Korea Thrunet Co. Ltd.
MetaSolv Inc

Rainmaker Systems Inc
Retek Inc(HNC Software Inc)
CacheFlow Inc

i-Cable Communications Ltd
Symyx Technologies Inc
Lifeminders.Com Inc
Mediaplex Inc

SciQuest.com Inc
Deltathree.com Inc

Digital Impact Inc
Getthere.Com Inc
Management Network Group Inc
TeleCorp PCS Inc

Official Payments Corp
SmarterKids com Inc
OpenTV Corp(MIH Ltd)

Knot Inc

McAfee.com Corp

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Digimarc Corp

PFSweb Inc

AirNet Communications Corp
Harris Interactive Inc

Classic Communications Inc
Healthcentral.com Inc
Fogdog, inc.

Agency.com Ltd

Andover.net Inc

NetRatings Inc

Preview Systems Inc
Freemarkets Inc

JazzTel pic

MedicaLogic Inc/Medscape Inc
Tularik Inc

VA Linux Systems Inc

EI Sitio International Corp
Ebenx Inc

eSpeed !nc(Cantor Fitzgerald)
MotherNature.com tnc

Tritel Inc.

Caliper Technologies Corp
Optio Software Inc

Infonet Services Corp
Maxygen Inc

Xpedior Inc

2-Tel Technologies Inc
Egreetings Network Inc
C-bridge Internet Solutions
Ondisplay Inc

Neoforma.com Inc

Regent Communications, Inc.
Extensity Inc

T/R Systems Inc

Aspect Medical Systems Inc
724 Solutions Inc

Caminus Corp

interWAVE Communications
Quantum Effect Devices Inc
Sequenom Inc

SkillSoft Corp

Turnstone Systems Inc
IMPSAT Fiber Networks
Telaxis Communications Corp
Centra Software Inc
Antigenics Inc

Dobson Communications Corp.
Avanex Corp

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02/03/2000 Mediacom Communications Corp CSFB SALOMON
02/03/2000 Therma-Wave Inc LEH
02/04/2000 Alamosa PCS Holdings, Inc. LEH SSB
02/04/2000 FirePond Inc ROBERTSON
02/07/2000 Buy.com Inc MERRILL
02/08/2000 Fastnet Corp CSFB
02/08/2000 Vicinity Corp JPM CHASE
02/09/2000 Cypress Communications Corp BEAR
02/09/2000 Delano Technology Corp ROBERTSON
02/08/2000 Organic Inc GS
02/09/2000 Witness Systems Inc JPM CHASE
02/09/2000 Xcare Net Inc ROBERTSON
02/10/2000 Fargo Electronics tnc ROBERTSON
02/10/2000 Lante Corp CSFB
02/10/2000 Lightspan Partnership Inc CSFB
02/10/2000 Pets.com Inc MERRILL
02/10/2000 webMethods Inc MSDW
02/11/2000 _ Flag Telecom Holdings Ltd. SALOMON
02/11/2000 VIA NET.WORKS Inc CSFB
02/14/2000 Diversa Corp BEAR
02/14/2000 Savvis Communications Corp MERRILL MSDW
02/15/2000 Chordiant Software Inc ROBERTSON
02/15/2000 LendingTree inc MERRILL
02/15/2000 VarsityBooks.com Inc ROBERTSON
02/16/2000 Choice One Communications MSDW
02/37/2000 GigaMedia Ltd. GS
02/17/2000 Apropos Technology Inc JPM CHASE
02/17/2000 inforte Corp GS
02/22/2000 Nextel Partners Inc GS
02/23/2000 Merrill Lynch B2B HOLDRs MERRILL
02/24/2000 Carrier 1 International, Inc. MSDW
02/24/2000 Digitalthink Inc CSFB
02/24/2000 Merrill Lynch Internet Infrastructure HOLDRs MERRILL
02/24/2000 Intersil Corp CSFB SALOMON
02/25/2000 Hotel Reservations Network Inc CSFB
02/28/2000 Avenue A Inc MSDW
02/28/2000 Niku Corp GS
02/29/2000 MatrixOne Inc GS
02/29/2000 net.Genesis Corp JPM CHASE ALEX BROWN
02/29/2000 Onvia.com Inc CSFB

* 03/01/2000 Palm Inc(3Com Corp) GS
03/02/2000 Asialnfo Holdings, Inc. MSDW
03/02/2000 Prime Response Inc ROBERTSON
03/02/2000 Register.com Inc ALEX BROWN
03/02/2000 Switchboard Inc ROBERTSON
03/02/2000 UTStarcom Inc MERRILL
03/03/2000 Versata Inc CSFB
03/06/2000 Crayfish Co Ltd MSDW

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Net 2000 Communications Inc
FirstWorld Communications Inc
iprint.com Inc

Verado Holdings
HomeGrocer.com

OraPharma Inc

Selectica Inc

GT Group Telecom

OTG Software inc

Digitas Inc

FairMarket Inc

Infineon Technologies AG
ImproveNet Inc

Loudeye Technologies Inc
PSi Technologies Inc
Universal Access Inc

Uproar Inc

Integrated Information Systems
UASX Global Hoidings inc.
Netpliance Inc

Snowball.com inc

Aclara Biosciences Inc
Caldera Systems Inc

Blaze Software Inc

inSilicon Corp

Silicon Laboratories Inc
Viasystems Group Inc
eMachines Inc

Eprise Corp

ETINUUM INC

Intermune Pharmaceuticals Inc
ARTISTdirect Inc

IntraBiotics Pharmaceuticals
Websense Inc

Telocity Delaware Inc
ArrowPoint Communications Inc
Luminex Corp

Valueclick Inc

Oratec Interventions Inc
Ulticom Inc

GoAmerica Inc

i3 Mobile Inc

LivePerson Inc

Saba Software Inc

Sangamo BioScience Inc
Tanox Inc

Lexicon Genetics Inc
Numerical Technologies Inc

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Opus360 Corp

Exelixis Jnc

DDi Corp

HealthStream Inc

Corillian Corp

Nuance Communications tnc
Embarcadero Technologies Inc
Packard BioScience Co

PEC Solutions Inc

AT&T Wireless Group
Metawave Communications Corp
Praecis Pharmaceuticals Inc
ON Semiconductor Corp
Software Technologies Corp
Sonic Innovations Inc

Crown Media Holdings Inc
Orchid BioSciences Inc
Genomic Solutions Inc
Paradigm Genetics Inc
Sequoia Software Corp
iBeam Broadcasting Corp
New Focus Inc

US Unwired Inc

Nogatech Inc

Pixelworks Inc
coolsavings.com inc
Integrated Circuit Systems Inc
Centillium Communications inc
Sonus Networks Inc

Sirenza MicroDevices
Stanford Microdevices Inc
First Horizon Pharmaceutical
ONI Systems Corp
CrossWorlds Software Inc
Exult Inc

Ubiquitel inc

Community Health Systems Inc
Intuitive Surgical Inc
Rediff.com India Ltd.
Handspring Inc

Accelerated Networks Inc
ClickSoftware Ltd

Charles River Labs Int Inc
Manufacturers Services Ltd
Click Commerce Inc

eFunds Corp

Stratos Lightwave Inc

Marvell Technology Group Ltd

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06/27/2000 Genuity Inc MSDW SALOMON
06/28/2000 CareScience Inc ALEX BROWN
06/28/2000 Capstone Turbine GS

06/28/2000 Virage Inc CSFB
06/29/2000 Mobile Telesystems OJSC ALEX BROWN
06/29/2000 Exfo Electro-Optical Engineering MERRILL
06/29/2000 Storagenetworks Inc GS

06/30/2000 Mobility Electronics Inc ALEX BROWN
07/10/2000 Axcelis Technologies(Eaton) GS

07/10/2000 Entegris Inc MERRILL
07/11/2000 Divine Interventures Inc ROBERTSON
07/12/2000 Sunrise Telecom Inc JPM CHASE
07/12/2000 Triton Network Systems Inc CSFB
07/13/2000 | Many inc ROBERTSON
07/13/2000 Network Engines Inc CSFB
07/14/2000 Omnivision Technologies Inc ROBERTSON
07/17/2000 _ Decode Genetics, Inc. MSDW
07/18/2000 Support.com Inc CSFB
07/18/2000 Transgenomic Inc JPM CHASE
07/19/2000 Airspan Networks Inc CSFB
07/19/2000 Vascular Solutions Inc SALOMON
07/20/2000 Corio Inc GS

07/20/2000 SMTC Corp LEH
07/20/2000 Talarian Corp LEH
07/21/2000 Variagenics Inc CSFB
07/24/2000 Blue Martini Software Inc 5 GS

07/24/2000 Evoke Communcations inc SALOMON
07/25/2000 Gemini Genomics PLC JPM CHASE
07/25/2000 Interland Inc BEAR
07/26/2000 Mainspring Inc MSDW
07/26/2000 Rita Medical Systems Inc SALOMON
07/26/2000 TyCom Ltd(Tyco Int! Ltd) GS SALOMON
07/27/2000 Avici Systems Inc MSDW
07/27/2000 Corvis Corp CSFB
07/27/2000 Discovery Partners tnt'l Inc JPM CHASE
07/27/2000 Genencor International inc MERRILL
07/27/2000 iMumina Inc GS

07/27/2000 Lexent Inc CSFB
07/27/2000 ValiCert Inc ALEX BROWN MERRILL
07/27/2000 Webex Communications Inc GS

07/31/2000 Convergent Group Corp ROBERTSON
07/31/2000 Tripath Technology Inc SALOMON
07/31/2000 Virage Logic Corp LEH
07/31/2000 Western Multiplex Corp SALOMON
08/01/2000 Genaissance Pharmaceuticals ALEX BROWN
08/01/2000 Opnet Technologies Inc MSDW
08/01/2000 Speechworks International Inc JPM CHASE
08/02/2000 Deltagen Inc SALOMON

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iAsia Works Inc

Resonate Inc
ScreamingMedia inc
SignalSoft Corp

Versicor Inc

Inspire Pharmaceuticals Inc

Cross wave Communications, Inc.

Rosetta Inpharmatics Inc
3-Dimensional Pharmaceuticals
EXE Technologies Inc
Lantronix Inc

Microtune Inc

Active Power Inc

America Online Latin America
Medicines Co

Pemstar Inc

ChipPAC Inc
TeleCommunication Systems Inc
AtheroGenics Inc

Esperion Therapeutics Inc
Evolve Software Inc

H Power Corp

McData Corp(EMC Corp)
Pharsight Corp

RadView Software Ltd
American Med Sys Holdings Inc
Equinix Inc

Large Scale Biology Corp

Lion Bioscience AG
Regeneration Technologies Inc
Vina Technologies Inc

Telik Inc

Compugen Ltd

Dyax Corp

SynQuest Inc

O2Wireless Solutions Inc
PeoplePC Inc

Avistar Communications Corp
integrated Telecom Express Inc
PECO II Inc

Viasource Communications Inc
WJ Communications Inc

O2 Micro International Limited
ViryaNet LTD

OmniSky Corp

INRANGE Technologies Corp
TTM Technologies Inc

CoSine Communications Inc

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12/04/2000

AvantGo Inc

DURECT Corp

University of Phoenix Online
@Road Inc

Proton Energy Systems, Inc.
Elastic Networks Inc

Vastera Inc

Docent Inc

Simple Technology Inc
Intershop Communications
Wilson Greatbatch Technologies
InforMax, Inc.

Advanced Switching Com Inc
Oplink Communications Inc
Kosan Biosciences Inc
Synplicity Inc

EndWave Corp

IXIA

MediChem Life Sciences Inc
Transmeta Corp

inficon Holding AG

Luminent Inc(MRV Comm)
AeroGen inc

Computer Access Technology
Adolor Corp

Novatel Wireless Inc

Beacon Power Corp

Array Biopharma Inc
Alliance Fiber Optic Products
iMagicTV

Rigel Pharmaceuticals Inc
Telenor AS(Norway)

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CERTIFICATE OF SERVICE

The undersigned, an attorney admitted to practice in this Court, certifies that on the 2nd
day of January, 2002, I caused a true and correct copy of the attached Consolidated Amended

Class Action Complaint to be served by hand and facsimile to counsel listed on the attached

service list.

/

Peter Safirstein// Esq.

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